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        U.S. vs Princess Cruise Lines, Ltd,
                   Case #16-20897-CR-SEITZ Settlement




                            ABSG CONSULTING
                      THIRD PARTY AUDITOR
             YEAR THREE ANNUAL REPORT

                                   July 13, 2020




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   1         Overview
                                  OBJECTIVES                                              NUMBER OF AUDITS


                                                                                     38
  The U.S. Department of Justice (DOJ), approved ABSG Consulting Inc.
  (ABSG) as the designated Third-Party Auditor (TPA) to conduct passenger
  vessel and corporate environmental compliance audits, as a result of the U.S.
  vs. Princess Cruise Lines, Ltd, Case #16-20897 settlement. In the third year
                                                                                                   SHIPS
  of audits, our objectives in accordance with the Environmental Compliance
  Plan (ECP) were to:                                                                17       PRINCESS CRUISE LINE

              Identify and select covered vessels to be audited in accordance with
       1      the ECP requirements during Year Three.
                                                                                     11       CARNIVAL CRUISE LINE

              Assess the adequacy of the Environmental Management System                      HOLLAND AMERICA
                                                                                     7
              (EMS), policies, procedures, current practices, waste management                GROUP
       2      plans and covered vessel pollution prevention equipment as
              required by the ECP.                                                   2        CARNIVAL MARITIME
              Ensure all engineering requirements as stated in the ECP are
       3      implemented on all covered vessels.
                                                                                     1        CARNIVAL UK

              Identify and effectively document any Observations, Non-
       4      Conformities, and Major Non-Conformities found during vessel and
              shore-side audits.
              Notify Carnival Corporation and all Interested Parties as soon as
       5      practicable of any Major Non-Conformity identified during a vessel
              or shore side audit.
              Continue to evaluate current state of Carnival Corporation for all
       6      covered vessels and operating brands in relation to the
              requirements of the ECP.
              Prepare audit reports for each vessel and shore side audit
       7      completed in a narrative form and distribute to Carnival and all
              interested parties.
              Prepare annual report to summarize audit findings for ships and
                                                                                     9        SHORE-SIDE
       8      shore side audits conducted during Year Three.                         2 ALL BRANDS GROUP
                                                                                        • CARNIVAL
                     MOST COMMON AUDIT FINDINGS                                            CORPORATION
                                                                                     5 OPERATING LINES
                                                                                          •    CARNIVAL CRUISE
                                                                                               LINES
           28%                 22%                 20%                   10%              •    CARNIVAL UK
                                                                                          •    CARNIVAL MARITIME
                                                                                          •    HOLLAND AMERICA
                                                                                               GROUP
        Policies &          Waste           Record Keeping                           2 CSMART
                                                                 Training Issues
       Procedures         Management         & Log Issues
                                                                                          •    TRAINING CENTER

                                                                Vessel                           Shore Side
  Major Non-Conformity             TPA Audits                     19                                 0
  Non-Conformity                   TPA Audits                    129                                15
  Observation                      TPA Audits                     48                                 8




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                                               SUMMARY OF AUDIT FINDINGS

                  TECHNICAL APPROACH                                      RECOMMENDATIONS
       Policies and Procedures                               Policies and Procedures
       Many policy updates occur while                       Develop incentives to encourage
       crew are off-contract where                           off-time review of critical procedural
       continuing education is not feasible;                 changes. Identify solutions for
       the update process is slow; and/or                    connectivity issues. Identify
       personnel are not following                           information retention solutions for
       procedure.                                            those with English as a second or
                                                             third language.

       Record Keeping & Logs                                 Record Keeping & Logs
       Documentation, Checklists, Logs,                      Identify and implement measures to
       and other records were found to be                    better ensure entries within logbook
       poorly managed, not following                         and training records are complete,
       proper procedures, and not                            accurate, and timely.
       following proper log entry
       requirements and protocols.

       Pollution Prevention Equipment                        Pollution Prevention Equipment
       Pollution Prevention Equipment                        Re-evaluate critical spare parts for
       found or reported not operational or                  EGCS and incinerator. Work with the
       malfunction.                                          manufacturers to determine the root
                                                             cause of OWS failures.

       Training Issues                                       Training Issues
       Inability to complete training within                 Conduct assessment to implement
       required timeframe” and ineffective                   one tracking system across all
       tracking system in place.                             brands.


       Waste Management                                      Waste Management
       The Garbage Management Plan                           Garbage Management Plan should
       was not being followed regarding                      address all aspects of waste
       garbage and food waste                                management. Continue/complete all
       segregation, hazardous materials                      initiatives/directives and provide
       handling, and proper                                  regular status reports. Carryout
       documentation. Waste vendor                           oversight and implementation of
       verification was not properly                         GMP and waste vendor verification.
       implemented, nor followed.

       Critical Spare Parts                                  Critical Spare Parts
       Critical spare part alerts are not in                 Synchronize spare parts
       place for vessels with redundant                      nomenclature across all brands.
       PPE. Two separate IT solutions for                    Implement a centralized PMS IT
       tracking and procurement are in                       solution across all brands.
       place across all brands.

       Corrective and Preventative                           Corrective and Preventative
       Actions                                               Actions
       Corrective and Preventative actions                   Ensure established procedures to
       are not effectively managed.                          manage corrective and preventative
                                                             actions are followed for all audit
                                                             findings, self-reported
                                                             nonconformities, and those
                                                             identified by Class, Flag, or Port
                                                             State Control.



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   1.1      Year Three Observations
   The Third Party Auditor (TPA) observed that there were significant multiple documented instances of non-compliance
   with the Environmental Compliance Plan (“ECP”), Carnival Corporation & plc (“Carnival” or “The Company’) HESS
   procedures, and Marine Environmental Protection Requirements. Details of these instances are contained in
   Appendices A and B.

   The TPA conducted 38 vessel audits and nine (9) shore-side audits during Year Three of the ECP. Of the 38 vessels
   audited, 17 were Princess vessels which are audited annually, and 21 vessels of the other brands were also audited.
   The TPA audited approximately one-third of the Company’s fleet and continued to find multiple non-compliance
   items in ECP Year Three, a significant portion of which were also identified in years One and Two of the ECP. As
   the Princess vessels make up 45% of the audits conducted in the previous three years, it is concerning to the TPA that
   we continue to find reoccurring non-compliance items in Year Three on a small sample of the Company’s fleet. The
   TPA Audits last about three days with a minimal amount of time spent with each department and we continue to find
   non-compliance issues on each audit. Most of these vessels operate 365 days a year, with the TPA audits amounting
   to less than 1% of the vessels operating profile. As noted in the Common Audit Findings (Section 3.2) of this report,
   the TPA continues to find reoccurring incidents.

   Approximately 90% of the Major Non-Conformities found in ECP Year Three could have potentially created a
   pollution incident, and similar Major Non-Conformities were found in ECP Year Two. The Company addressed the
   specific items in the TPA Year Two report but has not successfully addressed these issues systemically across the fleet
   and needs to address these Major Non-Conformities to prevent them from re-occurring in the future. Additionally,
   approximately 40% of these Non-Conformities and 50% of Observations addressed similar systems and components
   of the Major Non-Conformities. Unless the Company can institute a proper corrective and preventive action program,
   these Non-Conformities, Observations, and any “near misses” may develop into Major Non-Conformities and
   potential pollution incidents.

   The Company continued to make efforts to comply with the requirements of the ECP during Year Three. Although
   Carnival has made strong efforts to comply with the ECP, there still appears to be a lack of commitment within the
   senior management of the Company to bring a sustainable environmental compliance program into the day-to-day
   culture of the Company. Carnival senior management has made great efforts to explain that they want to be good
   stewards of the environment, but there was a lack of verifiable actions during Year Three. A lack of a robust incident
   investigation program was identified in Year One. Although the Company has invested significant time and effort to
   try and implement an Incident Analysis program during Year Three, the TPA has not yet observed any substantial
   improvements in this process. Without a robust Incident Analysis program, identification of root cause to failures is
   not attainable and any corrective or preventative measure implemented without it is suspect to being successful. As
   the Company begins Year Four, the program is still under development and has yet to be fully implemented.

   It is noted that all staff, both ship and shore-side, were very cooperative, courteous, and straightforward during all
   TPA audits.

   During Year Four, the TPA will focus on the systemic issues that have been raised during the first three years of audits.
   There will be a significant focus on, among other things, waste management, incident investigation and corrective and
   preventative actions, as well as senior management’s commitment and specific actions designed to ensure that
   Carnival continuously improves their environmental management system and puts in place efforts that will extend
   support for compliance beyond their probation period as required by the ECP.




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   1.2       Year Three Recommendations
   At the end of year three, the TPA has identified the following recommendations which are supported by our audit
   findings.

   Waste Management:
         •   Provide status reports of all initiatives/directives during lay-up; report to include reason(s) of any non-
             compliance.
         •   Continue/complete all initiatives/directives, i.e., color-coding, drain covers, and food digesters across all
             brands.

   Corrective & Preventative Actions:
         •   Ensure recently established procedures to manage corrective and preventative actions are followed for all
             audit findings, self-reported nonconformities, and systemic and compliance issues identified by Class, Flag,
             or Port State Control. Verify that these actions have been taken and evaluate whether they have resulted in
             preventing these initiating actions from re-occurring.

   Pollution Prevention Equipment:
         •   Re-evaluate critical spare parts for Exhaust Gas Cleaning Systems (EGCS) and incinerator systems.
         •   Work with the manufacturers to determine the root cause of failure for the Oily Water Separator (OWS)
             during system operations.
         •   Assure vessels have full complement of PPE critical spares before leaving port.
         •   Flag State approval for classification of effluent from the food digestors.

   Critical Spare Parts:
         •   No vessel leaves port without a full complement of critical spares.
         •   Complete synchronization of spare parts nomenclature across all brands as part of the MAST program
         •   Complete implementation of a centralized PMS IT solution across all brands as part of the MAST program.
         •   Implement a centralized PMS and spare parts system to streamline and consolidate logistics ordering and
             tracking of parts and required maintenance.

   Policies and Procedures:
         •   Implement measures to provide crew adequate paid time to review and understand updated/revised policies
             and procedures.
         •   Implement information retention solutions for those with English as a second or third language.
         •   Provide a more robust QA/QC system which assures that the procedures are clear, complete, measurable, and
             easily understood by shipboard, with better implementation oversight/management to ensure effectiveness.
         •   Retrain on use of Global HESS with a focus on how to identify relevant changes for all required users.

   Record Keeping & Log Entries:
         •   Add Environmental Officer (EO) and Officer training blocks in Center for Simulator Maritime Training
             (CSMART) for importance of record keeping, including regulatory requirements.
         •   The Company should identify systemic issues that are causing logbook errors, missing signatures, and data.




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   Training:
         •   Fully implement GLADIS or other centralized training tracking systems across the Company.
         •   Incorporate Safe and Well Program, a virtual training implemented at Carnival UK, as a standard across the
             Company, as discussed in Section 3.6 IT Issues.

   1.3       Continuous Improvement
   1.3.1     Progress Year to Year
   The ECP has tasked the TPA with assessing the Company’s continual improvement systems. The Company has made
   strides to enact policies and programs to address the environmental management shortcomings but has been slow to
   act on the underlying issues associated with their continued non-compliance issues.

   The lack of an effective incident investigation program, which has been a finding since year one, was identified as a
   potential contributor to the Company’s non-compliances. As noted above, the Company has invested significant time
   and effort to try and promulgate an Incident Analysis program during year three but has not yet seen any real
   substantial improvements in this process.

   As identified in section 3.1 Analysis of Findings, it is apparent that issues first identified in ECP Year One and Year
   Two TPA audit findings continue to be reported in Year Three TPA audit findings. The reoccurring findings do not
   show a level of continuous improvement in the Companies environmental programs.

   In an effort to help prioritize the recurring issues, findings from years one, two and three, where findings found to be
   systemic (reoccurring) in year four, such as errors in regulatory-required record keeping books, etc., will be deemed
   a systemic issue and addressed in correspondence from the TPA to the Company.

   2         Annual Report
   2.1 Introduction
   The U.S. Department of Justice (DOJ) approved ABSG Consulting Inc. (ABSG) as the designated Third Party Auditor
   (TPA) to conduct environmental audits in accordance with the agreed Environmental Compliance Plan (ECP), which
   is part of the U.S. vs. Princess Cruise Lines, Ltd, Case #16-20897 plea agreement and judgment. This is the third
   annual report of a five (5)-year probation period that is designed to assure the Company meets the requirements of the
   ECP and increases environmental compliance awareness and practices for all covered ships within Carnival
   Corporation’s operating lines. The ECP mandates an audit be conducted for all ships operating under Princess Cruise
   Line. In addition, 20% of other covered ships within Carnival Corporation brands (i.e. Carnival Cruise Lines, Holland
   America Group, Seaborne Cruise Lines, Cunard Cruise lines, P&O Cruise Lines, Aida Cruise Lines and Costa Cruise
   Lines) must be audited. In conjunction with ship audits, shore-side audits of Carnival Corporation headquarters,
   Carnival Corporation brand offices, and the EO training facility must be conducted. The ECP required number of
   audits plus the additional court order unannounced audits shared with the CAM were scheduled for year three in
   coordination with the CCM. The following report is the audit summary for year three.

   2.2 Year Three Timeline
   The TPA Audit Year Three started on April 19, 2019 and ended on April 18, 2020. Preparation of year three began
   before the anniversary date with weekly teleconferences attended by the TPA, with the Carnival Corporation and the
   Court Appointed Monitor (CAM). The first audit of year three began on Monday, May 06, 2019, with a shore-side
   audit of the Carnival Corporation headquarters office in Doral, Florida. This was followed by the first shipboard audit
   aboard the RUBY PRINCESS on Saturday May 11, 2019 in Seattle, Washington. The TPA audit schedule was set for
   year three and continued as planned through most of the ECP audit year.

   Due to travel restrictions stemming from the international pandemic caused by the novel coronavirus, the TPA was
   unable to carry out the final four (4) ship audits for ECP Year Three. Ship audits for SKY PRINCESS, PACIFIC



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   PRINCESS, CARNIVAL MIRACLE, and CARNIVAL SPIRIT have been postponed and will be carried out during
   ECP Year Four (in addition to the required year 4 schedule) as soon as applicable no-sail orders are lifted or remote
   auditing can be arranged.

   A meeting with the CAM was held at ABS Group headquarters in Houston, Texas on August 7, 2019 to discuss the
   progress of the TPA audits and audit findings. All TPA auditors were in attendance throughout the meeting.

   TPA Auditors attended a new Environmental Officer’s (EO) Training Course, developed in conjunction with
   University of West Florida, that was held on August 12-16, 2019 at CSMART in Almere, Netherlands. This 5-day
   training was a combination of EO Training and a Conference that was more interactive than a typical lecture-based
   training.

   The final shore-side audit for year three was conducted on March 12, 2020 at Carnival Corporation headquarters in
   Miami, Florida. The final ship audit for year three was conducted on March 1, 2020, when the TPA auditors boarded
   the NIEUW STATENDAM in Fort Lauderdale, Florida.

   The TPA attended the hearing on June 3, 2019, in the Federal Court before Judge Patricia Seitz, during which there
   was a guilty plea by Carnival Corporation for violating probation. After the hearing, the TPA attended status
   conferences on July 19, 2019, October 2, 2019, and January 8, 2020. With the COVID-19 pandemic, a video status
   conference was held on April 24, 2020. The status conference on October 2, 2019 called for an additional court
   conference on December 19, 2019 regarding Carnival’s compliance efforts. A pre-meeting was held in Washington,
   DC on December 4, 2019 at the law office of Dechert LLP.

   2.3 Number of Ship and Shore-side Audits
   There was a total of 38 ship audits for year three; four audits were not carried out due to the COVID-19 pandemic,
   and two ship audits were follow-up audits. There was a total of 11 shore-side environmental audits, including training
   audits, for year three; two were follow-up audits. Tables 1, 2, and 3, respectively, list the ship, shore-side, and training
   audits conducted, with the date that the audit began and the location where auditors boarded the ship or location of the
   shore-side office. All shipboard audits were unannounced.




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   Table 1
                                                              Ship Audits
                              Ship                                 Date                              Embarkation Port
        1    Ruby Princess                               May 11, 2019                           Seattle, Washington
        2    Carnival Breeze*                            May 11, 2019                           Port Canaveral, Florida
        3    Coral Princess                              May 22, 2019                           Whittier, Alaska
        4    Crown Princess                              June 06, 2019                          Southampton, UK
        5    Volendam                                    June 12, 2019                          Vancouver, Canada
        6    Caribbean Princess                          June 18, 2019                          St. Thomas, Virgin Island
        7    Carnival Magic                              June 22, 2019                          Fort Lauderdale, Florida
        8    Emerald Princess                            June 29, 2019                          Barcelona, Spain
        9    Eurodam                                     July 08, 2019                          Juneau, Alaska
        10   Queen Victoria                              July 14, 2019                          Southampton, UK
        11   Westerdam                                   July 21, 2019                          Seward, Alaska
        12   Carnival Glory                              August 11, 2019                        New Orleans, Louisiana
        13   Island Princess                             August 21, 2019                        Whittier, Alaska
        14   Costa Deliziosa                             August 25, 2019                        Venice, Italy
        15   Carnival Breeze                             September 07, 2019                     Port Canaveral, Florida
        16   Veendam*                                    September 07, 2019                     Boston, Massachusetts
        17   Golden Princess                             September 21, 2019                     Vancouver, Canada
        18   Grand Princess                              September 23, 2019                     San Francisco, California
        19   Carnival Valor                              October 03, 2019                       New Orleans, Louisiana
        20   Carnival Imagination                        October 06, 2019                       Long Beach, California
        21   Majestic Princess                           October 13, 2019                       Sydney, Australia
        22   Royal Princess                              October 26, 2019                       San Pedro, California
        23   Sapphire Princess                           October 31, 2019                       Southampton, UK
        24   Aidadiva                                    November 02, 2019                      New York, New York
        25   Seabourn Quest                              November 06, 2019                      Miami, Florida
        26   Carnival Conquest                           November 16, 2019                      Miami, Florida
        27   Carnival Ecstasy                            November 18, 2019                      Jacksonville, Florida
        28   Regal Princess                              December 01, 2019                      Port Everglades, Florida
        29   Star Princess                               December 04, 2019                      San Pedro, California
        30   Carnival Victory                            December 09, 2019                      Miami, Florida
        31   Carnival Legend                             December 15, 2019                      Tampa, Florida
        32   Nieuw Amsterdam                             January 04, 2020                       Fort Lauderdale, Florida
        33   Carnival Fascination                        January 05, 2020                       San Juan, Puerto Rico
        34   Sun Princess                                January 07, 2020                       Fremantle, Australia
        35   Diamond Princess                            January 15, 2020                       Keelung, Taiwan
        36   Carnival Sensation                          January 27, 2020                       Miami, Florida
        37   Veendam                                     February 05, 2020                      Fort Lauderdale, Florida
        38   Carnival Paradise                           February 06, 2020                      Tampa, Florida
        39   Sea Princess                                February 19, 2020                      Cairns, Australia
        40   Nieuw Statendam                             March 01, 2020                         Fort Lauderdale, Florida
        41   Sky Princess†                               March 14, 2020                         Postponed
        42   Pacific Princess†                           April 01, 2020                         Postponed
        43   Carnival Miracle†                           April 02, 2020                         Postponed
        44   Carnival Spirit†                            April 10, 2020                         Postponed
       (*) Denotes a ship that required a follow-up audit at a later date.
       (†) Denotes a ship audit that is postponed until ECP Year 4 due to the Coronavirus Pandemic




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   Table 2
                                                               Office Audits
                             Facility                                 Date                             Location
        1     Carnival Corporation*                          May 06, 2019                   Doral, Florida
        2     Carnival Maritime                              June 11, 2019                  Hamburg, Germany
        3     Carnival UK                                    August 19, 2019                Southampton, UK
        4     Carnival Cruise Lines*                         September 30, 2019             Doral, Florida
        5     Holland America Group                          January 28, 2020               Seattle, Washington
        6     Princess Cruise Line                           February 03, 2020              Santa Clarita, California
        7     P&O Australia                                  February 17, 2020              Sydney, Australia
        8     Carnival Cruise Line                           March 10, 2020                 Doral, Florida
        9     Carnival Corporation                           March 12, 2020                 Doral, Florida
       (*) Denotes a shore-side facility that required a follow-up audit at a later date.



   Table 3
                                                               Training Audits
                             Facility                                 Date                             Location
        1     Environmental Officer Training*                August 12, 2019                Almere, Netherlands
        2     RAAS Auditors Training                         August 12, 2019                Almere, Netherlands
        3     Environmental Officer Training                 February 23, 2020              Almere, Netherlands
       (*) Denotes a shore-side facility that required a follow-up audit at a later date.



   2.4 Audit Process
   2.4.1 Audit Process
   The Year Three TPA Audit Process was conducted aboard the selected ship or on location at the operating line facility.
   The shore-side audit team coordinated each audit with the Operating Line Compliance Manager (OLCM) to ensure
   all required documentation, personnel, and dates for each audit were understood by all parties. The ship audits were
   all unannounced, and approximately seven days prior to the ship audit start date, a notification was sent to the
   Corporate Compliance Manager (CCM) advising of the audit. The notification was necessary to arrange cabin
   assignments for the auditors. The process worked well, and the ships’ crew appeared to be unaware of the scheduled
   ECP audits.

   Auditors reviewed and observed all areas required by the ECP onboard each ship and during each shore-side audit.
   Auditors began each audit with an Opening Meeting, which was attend by all TPA auditors and key Carnival personnel
   as designated by the ship’s Captain or the OLCM ashore. Each ship’s EO or the OLCMs coordinated with the TPA
   Lead Auditors to ensure the audit schedule was closely followed throughout the course of the audit. Once the audit
   was complete, a Closing Meeting was held, and all findings were briefed to the ship or shore-side office staff. The
   TPA audit team would then deliver an Audit Summary Report listing all findings noted during the audit.

   Ship audits consisted of a two- (2) person audit team, which met the ship at a scheduled port of call and conducted the
   audit while the ship was underway. The audit team would disembark the ship upon completion of the audit, typically
   at a different port than embarkation. The TPA auditors were aboard the ship between four and six days. This was
   based upon the ship’s voyage plan and to have an opportunity at sea to operate pollution prevent equipment and take
   samples of grey, black, and bilge water overboard discharge lines.




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   Shore-side audits generally consisted of a three- (3) person team and were conducted on location at the Carnival
   Corporate Headquarters in Doral, Florida or in the city and country of the respective operating brand’s office. The
   shore-side audits generally took one full week to complete.

   Analysis of findings include: Investigations, IT issues, Training, and Environmental Initiatives. In addition to common
   audit findings, the TPA will continue to focus on these audit areas during Year Four and beyond. Lastly, ship and
   shore-side feedback are provided within this section. Appendices A and B provide detailed ship and shore-side
   findings of those identified in this section.

   3        Year Three Audit Findings
   3.1 Analysis of Findings
   3.1.1 Categories of Findings
   Each TPA audit finding was categorized as either a Major Non-Conformity, Non-Conformity, or Observation as
   defined within “Section 1.D – Definitions” of the ECP. Major Non-Conformity means an observed situation where
   objective evidence indicates a violation of a Marine Environmental Protection Requirement or policies established by
   this ECP that consists of or contributes to the discharge or potential discharge of oil, or oily wastes, or other prohibited
   wastes into the water. It may also include the discovery of pollution prevention equipment determined to be incapable
   in terms of processing and monitoring capabilities or inadequate with respect to the quantities of wastes such
   equipment is required to process.

   Non-Conformity means an observed situation where objective evidence indicates a violation of a Marine
   Environmental Protection Requirement (see Section I.C, above) or a policy or procedure established by this ECP,
   regardless of whether it is immediately repaired or remedied. All audit line items which are not completely compliant
   with the requirements of this ECP are Non-Conformities.

   Observation means a statement of fact made during an audit and substantiated by objective evidence that could lead
   to a Non-Conformity if not addressed. If pollution prevention equipment requires a repair of any kind to be operational
   for a proper test by any auditor, it will be identified as an Observation.

   Overall audit findings are represented by two charts on the following page. Figure 1 identifies audited ships, organized
   by ship brands, while the Figure 2 identifies audited shore-side brands. Both provide a count of findings, per audit, by
   each finding category. Collectively, ships accounted for 196 total findings while shore-side accounted for 23 total
   findings. Descriptions of all ship and shore-side findings can be found in Appendices D and E, respectively.

   In addition to findings identified during audits, the TPA also documented any findings that occurred prior to an audit
   which met the criteria of a Major Non-Conformity. These findings were discovered through reviews of previous audit
   or inspection reports, Carnival incident reporting systems (e.g. Flash Reports, SeaEvent), interview processes, and
   other means. These findings are documented at the request of the Department of Justice (DOJ) during year one.




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                                                  Figure 1




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                                                         Figure 2

   3.1.2 Major Non-Conformities
   Major Non-Conformities identified for ship audits totaled 19. Approximately 90% of the Major Non-Conformities
   could have potentially created a pollution incident. The Company failed to correct these types of findings from year
   two to year three and needs to address these Major Non-Conformities to prevent them from re-occurring in the future.

   Most findings were primarily associated with inoperable Pollution Prevention Equipment (9) followed by Food Waste
   Segregation and Disposal (5). The inoperable Pollution Prevention Equipment included wasted, holed, or cracked
   exhaust gas cleaning systems. Food Waste Segregation and Disposal areas with Major Non-Conformities included
   overboard food waste systems, a bilge tank, an instance of ballast water piping, and a grease trap. The Food Waste
   Segregation and Disposal findings all identified non-food or solid wastes, to include excessive amounts and/or plastics,
   within overboard food waste discharge systems after all procedural steps to segregate non-food items had been taken.

   Other Major Non-Conformity findings included procedural issues associated with missing and improper galley bells
   and scupper covers (2), a Critical Spare Parts issue related to an OWS (1), malfunction of an Azipod seal that resulted
   in a continuous overboard discharge of a Non-Environmental Acceptable Lubricant (EAL) (1), and an overboard
   discharge of runoff from non-EAL grease used with small boat lifting wires (1).

   Figure 3 on the following page identifies Major Non-Conformities by finding group for each ship audited and total
   findings. It is accompanied by Figure 4, which represents Major Non-Conformities by finding group for all ships.




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                                                  Figure 3




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                                                       Figure 4

   3.1.3 Non-Conformities and Observations
   Ship
   Non-Conformities and Observations identified for ship audits totaled 177. Most findings were primarily associated
   with Policies and Procedures (52); Record Keeping and Log Issues (44); and Food Waste Segregation and Disposal
   (28). Policy and Procedure findings identified shipboard actions that were not in alignment with the ECP, Global
   HESS procedures, Class or Flag requirements, and/or compliance regulations. This grouping also identified Global
   HESS procedures found to be incomplete or ineffective. Record Keeping and Log Issues were found across multiple
   recording systems for improper, incomplete, or missing entries. Hazardous waste logs (13), Oil Record Books (7), and
   Environmental Control System (ECS) vulnerability and locks logs (6), accounted for most of these findings. Food
   Waste Segregation and Disposal findings predominantly consisted of identified non-food or solid wastes, including
   plastics, within food waste discharge overboard streams (22). Most of these findings occurred after second or third
   stage segregation steps were completed, but before a last possible check prior to discharge.

   The remainder of the findings also included Training, Pollution Prevention Equipment Malfunctions, Garbage
   Management, and Corrective and Preventative Actions. Training findings involved shipboard supervisors and other
   personnel with environmental responsibilities (e.g. Bosun), who were unaware or unable to access procedures within
   Global HESS, followed by issues with managing environmental awareness training of contractors, vendors, and non-
   ship personnel. Pollution Prevention Equipment malfunctions mainly consisted of failed tests involving an oily water
   separator (OWS), Oil Content Meter, or Bilge Control Discharge Box. Corrective and Preventative Action findings
   recognized incomplete or missing actions from shore-side management relating to previous audit findings or
   investigations. Approximately 40% of these Non-Conformities and 50% of Observations addressed similar systems
   and components of the Major Non-Conformities. Unless the Company can institute a proper corrective and preventive
   action program, these Non-Conformities, Observations, and any “near misses” may develop into Major Non-
   Conformities and potential pollution incidents.




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   Figure 5 on the following page identifies Non-Conformities by finding group for each ship audited. It is accompanied
   by Figure 6, which represents Non-Conformities by finding group for all ships.

   Figure 7 identifies Observations by finding group for each ship audited. It is accompanied by Figure 8, which
   represents Observations by finding group for all ships.




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                                                  Figure 5



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                                                  Figure 6




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                                                  Figure 7



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                                                         Figure 8


   Shore-side
   Non-Conformities and Observations identified for shore-side Carnival brand audits totaled 23. All findings related to
   Training (8); Policies and Procedures (6); Corrective and Preventative Actions (5); Waste Vendors (3); and Critical
   Spare Parts (1).

   Most training findings consisted of environmental awareness courses not being completed within the ECP-required
   seven-day timeframe (6). This finding applies across all brands for shipboard training and most brands for shore-side
   training. Policies and Procedures findings mainly consist of unclear Global HESS procedures (2) relating to an
   overabundance of required shipboard reporting and a redundant reporting process. Compliance Reporting Hotline (2)
   findings included a failed shore-side test and reports missing ship names, essential information needed to investigate.
   Corrective and Preventative Action findings all identified improper or ineffective processes related to developing
   preventative actions and tracking implementation. This finding was found to be applicable across all brands. Waste
   Vendor findings related to brands not managing waste vendors, as described by Global HESS Procedures. Lastly, a
   Critical Spare Parts finding identified reorder points for some ECP spare parts cannot be made manually, a
   functionality which may be necessary. Figure 9 below identifies Non-Conformities and Observations, by finding
   group, for each shore-side brand audited.




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                                                        Figure 9
   3.2 Common Audit Findings
   3.2.1 Policies and Procedures
   Policies and procedures continued to be the prime area where TPA findings were identified. Most of the findings
   related to policies or procedures are reoccurrences from ECP Years One and Two and are directly related to personnel
   not following policies or procedures.

   The Company made significant changes to policies and procedures during ECP Year Three. Fifty-five (55) percent
   (or 19 out of 35) of the ENV policies listed in Global HESS were new or revised in Year Three. Both the volume of
   changes and the length of time to develop and publish changes to existing policies such as HMP 1302 - Incident
   Analysis Procedure (over three years) and ENV 1004 – Environmental Management of Waste Vendors (nearly two
   years) is likely to have led to recurring findings in each ECP year as discussed below.

   The Company continues to develop new or update current policies and procedures, though their approval process
   remains slow and arduous, in some cases, requiring all corporate brands to agree to changes and come to consensus
   on final versions, a process which could take months. The Company’s policy (INT-1005 - Development, Approval,
   Release, and Implementation of Documents) describes the process for publishing new or updated policies or
   procedures and is detailed in part below.

   Working groups are assigned by the operating brands and the Carnival Corporate office to review documents in
   coordination with the corporate compliance staff, each operating brand, key onboard personnel at each brand, and two
   Environmental Officers (EOs) selected by each brand. As part of the process, the review teams assess changes and
   make recommendations to each policy or procedure prior to finalizing and incorporating the changes into the
   Environmental Management System (EMS). It is the Maritime Policy & Analysis (MP&A) Department’s goal to
   review, update and publish no more than 20 documents per month. All approved procedures are published once per
   month; after a new procedure or amendment is published, ships’ personnel are to implement the new changes as soon
   as possible or within 30 days of publishing. If a ship cannot meet the 30-day implementation requirement, the Captain
   or other designated crewmember is to submit a Self-Reported Non-Conformity as required by HMP-1106, Self-
   Reported Non-Conformities.

   The following is a list of publications issued by MP&A, as outlined in INT-1005, Development, Approval, Release
   and Implementation of Documents or publications issued by Carnival Corporation or the Operating Brands found in
   Global HESS. This is not an exhaustive list of all publications found in Global HESS but is provided to highlight the
   different types of documents related to environmental compliance added or changed in ECP Year Three.



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   Company Publications:

       •       All Policies and Procedures published as required.
       •       Advisory Notices (AN) – Published to a wide range of recipients on ships and ashore to provide immediate
               awareness of time-sensitive HESS information. Published as required. Four ANs published in ECP Year
               Three.
       •       Instructional Notices (IN) – Provide shore management immediate instructions that may supersede current
               HESS requirements. If required, an Operational Directive (OD) will be published and sent to the ships with
               specific instructions for the ship to comply with the IN. Published as required. Twelve INs were published
               in ECP Year Three.
       •       Safety and Environmental Awareness Bulletins (SEAB) – Published to deliver information about maritime
               and technical incidents. These publications can be found on Global HESS and are intended to promote
               awareness for shipboard and shore-side employees. Published quarterly. Four (4) published in ECP Year
               Three.
       •       Corporate Standards (CS) – These are HESS standards that apply to all ships to ensure regulatory
               requirements are met or exceeded. Published or updated as required. There were no CSs published or updated
               in ECP Year Three.
       •       Environmental Compliance Notices (ECP-ECN) – ECNs are published to provide guidance on environmental
               procedures that require changes not covered in policy or procedures. Published as required. Seven (7) ECNs
               were published in ECP Year Three.

   Company Documents Published by Operating Lines:

       •       Operational Directives (OD) – ODs are published by operating brands to provide instructions to ships to
               temporarily supersede HESS procedures. ODs are published in Global HESS and captains or department
               heads are to review and take immediate action to implement the OD. The Company reviews ODs semi-
               annually and will either incorporate into HESS or withdraw and archive the OD. Published as required.

   Selected Environmental Policies and Procedures Repeat Findings

   The following is a partial list of policies and procedures that have had repeat findings from ECP Years One and Two,
   and re-occurred during ECP Year Three TPA audits, even after Policy and Procedure changes occurred:

   Policies:

       •       ENV 1001 – Worldwide Cruising Environmental Standards (updated in year three)
                     Example: Observation: It was also mentioned by some Deck officers that Global HESS procedure
                     ENV-1001 – Worldwide Cruising Environmental Standards, though a good tool, is complex and
                     challenging to navigate to find information and in some cases may be missing pertinent information
                     on environmental standards for a certain area the ship may be scheduled to visit.
       •       ENV 1004 – Environmental Management of Waste Vendors (updated in year three)
                  o Example: Non-Conformity: There is no Carnival Cruise Line procedure for due diligence checks
                     of waste vendor operations and associated reception facilities. Currently vendor compliance
                     primarily consisted of monitoring permit expiration dates.
       •       ENV 1102 – Exhaust Gas Cleaning Systems (updated in year three)
                  o Example: Major Non-Conformity: The Exhaust Gas Cleaning System (EGCS) for MDG No. 5 and
                     No. 6 are not operational due to the failure of the exhaust gas SO2/Co2 analyzer. No. 4 MDG ECGS
                     is non-operational due to extensive repairs to the exhaust gas piping (exhaust flue).




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       •    ENV 1201 – Oily Bilge Water Management (updated in year three)
               o Example: Non-Conformity: The Oil Record Book was missing Chief Engineer and 3rd Engineer
                  signatures.
       •    ENV 1202 – Oil-to-Sea Interfaces (updated in year three)
               o Example: Major Non-Conformity: The Port Azipod has been leaking oil externally since December
                  2018. The ship is losing approximately 4-12 liters of oil per month.
       •    ENV 1301 – Garbage Management (updated in year three)
               o Example: Non-Conformity: Waste management practices followed by the ship were not in
                  compliance with the Company’s Garbage Management Plan procedures.
       •    ENV 1302 – Segregation and Disposal of Food Waste (updated in year three)
               o Example: Major Non-Conformity: During an internal inspection of the Recycling Center
                  equipment; shredder/pulper and mixing tank/food waste tank, numerous non-food items were found
                  inside such as metal bottle caps, metal utensils, crayons, glass, cloth rags, pieces of broken dishes
                  and some plastics.
       •    HMP-1302 – Incident Analysis Procedure (updated in year three)
               o Example: Non-Conformity: A draft of the “Investigation Report WESTERDAM Biomass
                  Discharge within 12 NM Japan, 1 April 2019” was on board, however, no report was available in
                  Global HESS. There were no corrective actions on file associated with the incident.
               o Example: Non-Conformity: Some environmental incidents included in the flash reports had been
                  found open for extensive periods of time (between 52 and 211 days) or closed without proper
                  evidence that an ongoing investigation was completed.
               o Example: Observation: There are approximately ninety-six (96) open Sea Event entries waiting for
                  shore-side review or approval.
       •    TRG 2302 – Environmental Awareness (updated in year three)
               o Example: Non-Conformity: Monthly training records were sampled for Shipboard Covered
                  Personnel onboard two (2) ships from October 2018 and March to April 2019 and for Carnival
                  Maritime Group Office Shore-side Covered Personnel from March to June 2019. These records
                  indicated ECP training had not been completed within seven (7) days, as required by the ECP, for
                  the following:
                     • COSTA ATLANTICA – 1 personnel in March 2019 did not complete the training within 7 days.
                     • AIDAVITA – 1 personnel in October 2018 did not complete the training within 7 days.
                     • Carnival Maritime Group Shore-side Office – 29 personnel from March to June 2019 did not
                        complete the training within 7 days.
               o Example: Non-Conformity: Environmental Awareness training for Holland America Group
                  shipboard Covered Personnel completing training beyond seven (7) days of commencing duties has
                  been self-reported and tracked since inception of the ECP, as Non-Compliant events. These
                  reoccurring non-compliant events have not been addressed to determine root cause(s) or action(s)
                  that could prevent recurrence.
       •    TRG 2308 – Workplace Specific Environmental Instruction (updated in year three)
               o Example: Non-Conformity: Some crew members in supervisory roles were not trained on the use
                  of Global HESS and not familiar with the environmental procedures, including recent updates,
                  applicable to their respective departments.




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       Procedures:

       •    ENV/11/2019 – Food Waste Segregation (Published 06 December 2019)
                o Example: Non-Conformity: Upon inspection of the magnetic trap for the food waste system, it was
                    found to have approximately twenty-six (26) metal items and one (1) rag in it. The metal items were
                    spoons, bottle caps, bolts, screws, salt and pepper shaker lids, and hair pins. This finding indicates
                    an inadequate food waste segregation process prior to material entering the food waste system.
       •    ENV/12/2019 – Food Waste Tank Inspection Frequency (Published 18 December 2019)
                o Example: Non-Conformity: The two (2) food waste tanks are not being inspected in accordance
                    with Global HESS requirement ENV-1302.
       •    ENV/01/2019 – Environmental Awareness for Contractors (Published 14 January 2019, Revised 18
            February 2019)
                o Example: Non-Conformity: A record of signatures from vendors, technicians and other non-
                    crewmember representatives to acknowledge their receipt of an Environmental Awareness for
                    Contractors and Vendors brochure was not recorded for eleven (11) representatives that boarded the
                    ship in Tampa, Florida on December 15, 2019.

   The policies and procedures discussed above were selected as they are directly related to environmental compliance
   and all have been newly published, edited, or changed during ECP Year Three. This list does not take into
   consideration any changes that have been published to other Health, Safety or Security policies or procedures within
   the same period. Many of these findings are recurring not only in Year Three but have been identified in the previous
   two years’ audits as well.

   Potential Causes of Repeat Findings

   Many of these policies and procedures were changed or updated directly in response to TPA findings, yet issues
   remain, and associated findings persist as the company has failed to analyze the true root cause of these findings. The
   following is a list of potential causal factors based on TPA interviews and observations that could be directly related
   to recurring findings:

       1.   Statements from the crew indicated the number of policy and procedure changes are overwhelming the work
            force, making it impossible to retain critical changes.

                a.   Changes occur throughout a 12-month cycle, all posted to Global HESS. Most shipboard personnel
                     do not work 12 months of the year; most work anywhere from 3- to 6-month contracts with varying
                     amounts of time off for vacation prior to their next contract but policy and procedural changes occur
                     at a rate of nearly one (1) per month.

                b.   Officers and some supervisors may have access to Global HESS while off contract, providing them
                     the ability to review changes while away from the ship, however, most crewmembers do not have
                     remote access to Global HESS. Most crew members work three- (3) to five- (5) month contracts and
                     the lack of access to Global HESS while away from the ship means they can only review changes
                     once back onboard.

                c.   Crew members have stated to the TPA that there is an expectation that they will review any policy
                     and procedural changes (applicable to their jobs) as well as complete any required recurring
                     computer-based training while on vacation prior to returning to the ship. Some crew members do
                     not have access to the internet in their home countries, making computer-based training nearly
                     impossible to complete.

                d.   Therefore, crewmembers generally review all changes to policies and procedures that have been
                     implemented while they were on vacation within the first seven days of their return to the ship and



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                     assumption of duties. The short time provided for handover given the volume of changes discussed
                     above may potentially lead to human error.

       2.   Cross-cultural communication of an international crew (e.g., comprehension issues due to English being a
            crewmember’s second or third language) is a factor considering the additional amount of information they
            are required to review, understand, and implement in a short period of time.

       3.   Training is not updated to include recent changes to Global HESS Policies and Procedures.

   Recommendations:

       •    Implement measures to provide crew adequate paid time to review and understand updated/revised policies
            and procedures.
       •    Implement information retention solutions for those with English as a second or third language.
       •    Provide a more robust QA/QC system which assures that the procedures are clear, complete, measurable, and
            easily understood by shipboard, with better implementation oversight/management to ensure effectiveness.
       •    Retrain on use of Global HESS with a focus on how to identify relevant changes for all required users.

   3.2.2 Record Keeping & Log Issues
   As with the first two years, improper record keeping continued to be an issue during ECP Year Three shipboard audits.
   Multiple human errors were identified by the lack of attention to detail when making entries into required logs. For
   example, personnel not following current Company policies and procedures; logs showing locks being opened but not
   closed; lack of detailed or missing log entries; missing signatures; and the use of electronic logs when procedures call
   for the use of manual logs. The TPA also noted that many logbooks showed corrected errors, or late entries, especially
   within regulated record books such as the Oil Record Book.

   The following are examples of ship findings related to record keeping during year three of the ECP:

       •    Gray Water and Sewage logbook hardcopies are required under the Alaska Cruise Ship Statute and 33 C.F.R.
            159.315. On board the WESTERDAM, only electronic logs were provided to the TPA auditor.
       •    The Oil Record Book for the CARIBBEAN PRINCESS was missing the Chief Engineer and 3 rd Engineer
            signatures.
       •    On board the COSTA DELIZIOSA, it was noted there were no entries in the ECS lock log for unlocking the
            OWS overboard valve on August 18, August 19, August 23, and August 26, 2019. OWS overboard operations
            were performed on those dates according to ORB entries.
       •    On board the AIDADIVA, start and stop transfer times were not completed on the checklist for sludge and
            water transfers ashore (TEC 1401 A1) for the October 23, 2019 transfer of sludge ashore.
       •    The Carnival Legend log for Oil-to-Sea Interface was missing information in the “Explanation” block to
            account for the loss of oil.

   It cannot be overemphasized the importance of record keeping. Collecting good data in records can effectively aid in
   an investigation and analyzed data can provide cost saving measures. Regulatory required logbooks such as the Oil
   Record Book and Garbage Record Book require signatures from the Chief Engineer and Captain. These signatures
   state they have reviewed the entries and find them acceptable, and they are now becoming a formal requirement. As
   part of company policy, the Environmental Officer is to verify compliance of record keeping daily. With all the checks
   and balances in the Global HESS, there should be no reason why record keeping errors be eliminated. Auditors will
   continue during ECP Year Four to closely review records to ensure ship personnel are following company procedures.




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   Recommendations:

       •    Add Environmental Officer (EO) and Officer training blocks in Center for Simulator Maritime Training
            (CSMART) for importance of record keeping, including regulatory requirements.
       •    The Company should identify systemic issues that are causing logbook errors, missing signatures, and data.


   3.2.3 Pollution Prevention Equipment
   The Exhaust Gas Cleaning System (EGCS) was the most notable failure for a Major Non-Conformity of Pollution
   Prevention Equipment in ECP Year Three audits. The Major Non-Conformity was issued because the EGCS was not
   in operation at the time of the audit, while other EGCS findings were noted with severe water leaks or wastage of the
   exhaust piping. There were also many self-reported EGCS incidents during year three.

   The self-reported incidents of the EGCS showed failure of the gas analyzer, faulty sensors, and other part failures, but
   the most notable are the pollution incidents that followed. An air pollution incident was caused by improper switch-
   over of the fuel to the EGCS, which generated heavy black smoke from the exhaust stacks. The water pollution
   incidents were noted when the discharges of black soot appeared on the surface of the water while the ship was moored
   in port. All these pollution incidents generated Environmental Instructional Notices (ENV 08/2019 and ENV 02/2020).

   There were seven (7) findings related to the OWS. These findings were Observations because one or more attempts
   to conduct the 1-hour operational test failed. Spare parts were onboard to complete repairs and resume a successful
   operation test. Although the TPA audits did not find a Non-Conformity with the operation of the OWS, there are
   numerous self-reported incidents such as weekly flash reports and special condition 13 for failure of the OWS.

   No incinerators were found to be inoperative during year three’s TPA audits, only self-reported by the ships through
   weekly flash reports. The most notable problem with an incinerator was a broken shredder. This part is not considered
   a critical spare and can take several weeks or months to be delivered, which can create a problem for some ships in
   storing waste if the ship only has one incinerator. Ships with two (2) incinerators do not have this issue but are not
   storing critical spare parts since they have a back-up incinerator. Only ships with one (1) incinerator are then required
   to store critical spare parts.

   Food digestors are currently being installed on ships and have not been found by the auditors as non-functioning. The
   only notable deficiency found with the food digestors is the effluent being discharged. It is being discharged directly
   into the grey water tank and then overboard. The food waste is not being logged in the Garbage Record Book as
   discharged food waste. The TPA auditors have asked the Company for Flag State approval of the food waste being
   classified as grey water. The TPA has not received Flag State approval and continue to ask for more testing.

   The following are examples of findings related to failure of pollution Prevention Equipment during year three of the
   ECP but have been since corrected:
       • On board the CARNIVAL VALOR, The Exhaust Gas Cleaning System (EGCS) for MDG No. 5 and No. 6
            are not operational due to the failure of the exhaust gas SO2/Co2 analyzer. No. 4 MDG ECGS is non-
            operational due to extensive repairs to the exhaust gas piping (exhaust flue).
       • On board the AIDADIVA, the waste processing equipment is not operational. Only one (1) food shredder on
            the pulper system is operational. The second shredder broke down on August 28, 2019 and the ship has had
            only one (1) shredder working since then. The expected arrival date for the ordered spare parts’ is November
            30, 2019.
       • On board the CARNIVAL DREAM, the Exhaust Gas Cleaning System (EGCS) have not been operational
            since March 2018. The CARIBBEAN PRINCESS, ZUIDERDAM, CARNIVAL VISTA, and CARNIVAL
            LIBERTY were also noted to have non-working EGCS.



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       •    On board the CARNIVAL CONQUEST, the Exhaust Gas Cleaning System (EGCS) installed for engines
            DG4, DG5, and DG6 are out of service and currently undergoing underway repairs for cracks in the structure
            of the exhaust system. The estimated time for completion of these repairs is mid-December.


   Recommendations:
      • Re-evaluate critical spare parts for Exhaust Gas Cleaning Systems (EGCS) and incinerator systems.
      • Work with the manufacturers to determine the root cause of failure for the Oily Water Separator (OWS)
         during system operations.
      • Assure vessels have full complement of PPE critical spares before leaving port.
      • Flag State approval for classification of effluent from the food digestors.

   3.2.4 Training Issues
   Two primary issues were noted for the program responsible for ECP basic initial training of shipboard and shore-side
   Covered Personnel. See ECP, Attachment 3, at 57. The first issue appears to be a systemic re-occurring involving
   Carnival brands failure to ensure all personnel completed training within the ECP-required seven days from
   commencing their duties. Findings were identified across four Carnival brands for shipboard personnel and within
   three Carnival brands for shore-side personnel. Similar findings were identified at least once during ECP Years One
   and Two for each Carnival brand.

   The following are examples of findings related to training completion during Year Three of the ECP:
       • For Carnival Maritime Group, monthly training records were sampled for shipboard Covered Personnel
            onboard two (2) ships from October 2018 and March to April 2019 and for shore-side Covered Personnel
            from March to June 2019. These records indicated ECP training (TRG-2308) had not been completed within
            seven (7) days, as required by the ECP, for the following personnel:
                o Shipboard Covered Personnel:
                     ▪ COSTA ATLANTICA: 1 person in March 2019.
                     ▪ AIDAVITA: 1 person in October 2018.
                o Shore-side Covered Personnel: 29 people from March to June 2019.

       •    For Holland America Group, Environmental Awareness training records were sampled for shipboard and
            shore-side Covered Personnel that does not include the shipboard personnel listed above. These records
            indicated ECP training had not been completed within the required seven (7) days for the following
            personnel:

                o    Shipboard Covered Personnel: 43 people across 16 ships, from November 2019 to January 2020.
                o    Shore-side Covered Personnel: 13 people, from January to December 2019.

   The second issue is the ineffectiveness of tracking and reporting systems used by Operating Line Training Managers
   (OLTMs) to monitor and track successful completion of training within the ECP-required seven (7) days.
   Technologies that provide tracking and reporting systems differ across Carnival brands (e.g., MAPS, MISTRAL,
   Corner Stone). They serve as stand-alone systems with limited capabilities to effectively monitor on-time ECP training
   completion. As noted above, on-time completion of training continues to be an issue across Carnival brands, especially
   for shipboard Covered Personnel. The inability of these tracking and reporting systems to serve as effective tools for
   OLTMs contributes to this on-going issue. During ECP Year Three, Carnival took steps aimed at addressing this issue
   by implementing the Global Learning and Development System (GLADIS) fleetwide across all brands, as an
   integrated Learning Management System (LMS) and training tracker. The new technology was expected to replace
   existing brand-specific training tracking systems and provide needed capabilities to effectively monitor training
   completion. While GLADIS has been generally implemented across the Company’s brands, the tracking portion of



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   the system has not been implemented due to technical issues. Carnival plans to assess next steps during ECP Year
   Four. Table 4 identifies technologies used across the Carnival brands to track training.

   Table 4
      OLTM Training
                                              Year 3                      Year 2                    Year 1
    Tracking Platforms/
         Systems                      Ships        Shore          Ships       Shore         Ships         Shore
                                                    Corner                     Corner
                                                  Stone “My                  Stone “My
    CARNIVAL CORP &PLC                  N/A                         N/A                       N/A         IGNITE
                                                    Talent                     Talent
                                                   Center”                    Center”
                                      Crew          Corner                     Corner
                                    Personnel     Stone “My                  Stone “My
    Carnival Cruise Line                                            CPS                       CPS         GLADIS
                                     System         Talent                     Talent
                                     (CPS)         Center”                    Center”
    CARNIVAL                        MISTRAL                       MISTRAL                  MISTRAL
                                                   GLADIS                     EXPERT                     EXPERT
    MARITIME Group                    1&2                           1&2                      1&2
                                                   GLADIS
                                                   supported
                                    MISTRAL         by Excel      MISTRAL                  MISTRAL
    CARNIVAL UK                                                               EXPERT                     EXPERT
                                       3          file to track      3                        3
                                                    the 2307
                                                       ILT
                                    Manpower
                                    Analysis
                                                  Cornerstone
                                       and                                     Corner                      Corner
    Holland America Group                         “My Talent       MAPS                      MAPS
                                    Planning                                   Stone                       Stone
                                                   Center”
                                      System
                                     (MAPS)

   Recommendations:
      • Fully implement GLADIS or other centralized training tracking systems across the Company.
      • Incorporate Safe and Well Program, a virtual training implemented at Carnival UK, as a standard across the
         Company, as discussed in Section 3.6 IT Issues.

   3.2.5 Waste Management
   Garbage Management issues were found on ships and shore-side audits during ECP Year Three. The ships had
   numerous findings relating to segregation of food waste while the shore-side findings were primarily related to the
   waste vendor assessment audit program. Both areas contributed to a large segment of the audit findings for ECP Year
   Three. Other findings included storage, handling, and recordkeeping of hazardous waste.

   Ship
   Plastic and other non-food items found in food waste were noted during ECP Year Two audits and continued
   throughout ECP Year Three, despite the Company implementing measures to combat the issue. These preventative
   measures included additional training, inspections of food waste tanks, locking of the pulpers, additional signage,
   second stage segregation process, and color-coded bins. The additional measures have aided improvement with the
   segregation of non-food waste, but Carnival’s Weekly Food Waste Dashboard shows the problem still exists.




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   It was also noted by the auditors during ECP Year Three audits that galley deck drain covers, and their securing screws
   were missing, creating unobstructed drain ways. This practice facilitated plastic entering the galley drainage system
   that flows into the gray water tanks, which discharge directly overboard while at sea. Environmental Compliance
   Notice 3-19 was put in effect to install missing drain covers and securing screws.

   Very little guidance was given by Carnival Corporation to the ships regarding the proper fit-up with the type of deck
   drain cover and securing screws. This led to deck covers being purchased with a slotted feature or with holes of too
   large a diameter, leaving debris able to drain through the deck cover. A notice was sent by Carnival Corporation to
   correct the issue and specified no more than an 8mm opening and two tamper-proof securing screws with each deck
   cover was permitted. At the end of ECP Year Three, not all ships had completed this task.

   The following are examples of findings related to garbage management and waste vendor oversight failures for ships
   during ECP Year Three audits:

       •    Onboard the CARNIVAL BREEZE during an internal inspection of the Recycling Center equipment;
            including the shredder/pulper and mixing tank/food waste tank, numerous non-food items were found inside
            the equipment, such as metal bottle caps, metal utensils, crayons, glass, cloth rags, pieces of broken dishes,
            and some plastics.
       •    The Garbage Management Plan was not followed onboard the ROYAL PRINCESS.
       •    During an internal inspection of the shredder/pulper and mixing tank/food waste tank in the Recycling Center
            onboard the VEENDAM, numerous non-food items were found inside the equipment, such as metal bottle
            caps, metal utensils, crayons, glass, cloth rags, pieces of broken dishes and some plastics.
       •    Carnival Cruise Line procedure for due-diligence checks of waste vendor operations only monitor permit
            expiration dates and do not conduct an audit of the facility.


   Shore-side
   Waste vendor vetting, and shore-side waste facility offload site evaluations continued to be a challenge for the
   Company throughout ECP Year Three. It was identified by the auditors in ECP Year Two that the Company was
   unsure of what happened to any offloaded waste stream after it left the ship, including those waste streams regulated
   by MARPOL. Though the Company has a policy for managing waste vendors, it was neither robust enough nor was
   it followed by the Company closely enough to effectively evaluate and manage its waste vendors and their reception
   facilities. Because of this, the Company has restructured the program and updated its ENV-1004 Environmental
   Management of Waste Vendors policy.

   In its FY2019 Sustainability Report, the Company states that, “as part of our initiatives to continue to reduce waste
   generated by our shipboard operations, we continue to work closely with waste vendors and ports to identify new
   opportunities to reduce waste.” In early 2019, Carnival formed an environmental working group to update ENV‐1004
   – Environmental Management of Waste Vendors. A working group conference was held in Seattle in March 18-21,
   2019. Representatives of each Operating Line and ABG were present, and discussions centered on topics, such as
   waste management and best practices, waste vendor assessment and auditing, and revisions to procedures and
   guidelines. The final update to ENV-1004 was published over a year later in Global HESS on March 25, 2020.

   The updated Company procedure includes a risk-based waste vendor self-assessment questionnaire to be filled out by
   all vendors previous used or potentially could be used and returned to the Company for review. The process includes
   review of vendor-specific local media reports, regulated permits, certifications, and other requested documentation.
   In-person site visits of waste facilities by Company representatives is not referenced in the update of ENV 1004
   Environmental Management of Waste Vendors. The initial phase of the process, the completion of waste vendor self-
   assessment questionnaires, is currently underway and scheduled for completion no later than June 30, 2020.




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   Once vetted, a list of “preferred” or “acceptable” vendors will be developed by the Company and published to Global
   HESS on July 2, 2020. Due to the COVID-19 global pandemic, all cruise ships have been prohibited from operations.
   If Company ships are authorized to begin operations prior to July 1, 2020, or the new vetted list of vendors is published,
   the Company will continue to use waste vendors as required by the current operating line instructions. Vessels are
   required to submit a Self-Reported Non-Conformity if a non-approved waste vendor is used. The TPA will monitor
   the progress of this new process during ECP Year Four.

   Recommendations:

       •    Provide status reports of all initiatives/directives during lay-up; reports to include reason(s) of any non-
            compliance.
       •    Continue/complete all initiatives/directives, i.e., color-coding, drain covers, and food digesters across all
            brands.

   3.2.6 Critical Spare Parts
   TPA audits revealed in year three that Carnival Corporation continues to use two (2) separate IT solutions to track and
   procure critical spare parts: Infoship and AMOS. Though the Company continues to work towards development of
   Maritime Asset Strategy Transformation (MAST) to synergize all preventive maintenance, parts tracking, and
   procurement across the organization, the system is still under development. Tracking, inventory, and procurement of
   critical spare parts issues still exist as described by the findings listed below. In ECP Year Three, there were seven (7)
   findings from ship audits and one (1) finding from Shore-side Audits. The following are some examples of Critical
   Spare Part findings:

   From vessel audits:
       • Major Non-Conformity: During the review of ECP critical spare parts, it was noted that there are no spare
           Faucet OWS cartridge sets onboard as required by the inventory list. Three (3) sets are required according to
           the ECP spare parts list. Only two (2) OWS cartridge sets were found currently on order at the time of the
           audit.
       • Non-Conformity: There were no critical spare parts available for a food shredder that was out of service. The
           food shredder was replaced with a new model, but no spare parts were on board the ship for this model. The
           spares for the original unit were categorized as ECP critical spares.
       • Non-Conformity: There are no critical environmental spare parts identified for incinerators, a piece of
           pollution prevention equipment.

   From shore-side audits:
       • Observation: Some ECP spare parts within the Preventive Maintenance System (PMS) system trigger
           automatic requisitions, therefore bypassing any manual intervention when the number of units in inventory
           reached the reorder point level. For some ECP spares, additional manual requisitions need to be created and
           processed to maintain inventory onboard the ship. This can create confusion in ordering spares.

   The TPA discovered through interviews with ship crewmembers that pollution prevention equipment with redundant
   systems are not required to have critical spare parts listed in the PMS system. This observation was also confirmed by
   shore-side personnel. As an example, SEA PRINCESS has two (2) fully operational incinerators with no critical spare
   parts listed. In contrast, other ships that have only one (1) incinerator have a list of required critical spare parts
   identified in the system. This practice has presented challenges to the Company as evidence by TPA findings that
   identify missing critical spare parts due to the reduction of redundant systems, and the procurement system not
   identifying critical spare parts.

   Each brand has developed dashboards to manage the status and tracking of spare parts requisitions and purchase
   orders. Technical/Ship Managers, Technical/Purchasing Managers and Agents have these dashboards available to
   check and verify status of spare parts for the ships for which they are responsible. Systems are in place to provide
   alerts when stock levels fall below the ECP required minimum numbers. Directors, asset management and



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   environmental team members have general access to the PMS dashboards to back-up and support managers and agents
   when needed.
   Recommendations:
       •    No vessel leaves port without a full complement of critical spares.
       •    Complete synchronization of spare parts nomenclature across all brands as part of the MAST program
       •    Complete implementation of a centralized PMS IT solution across all brands as part of the MAST program.
       •    Implement a centralized PMS and spare parts system to streamline and consolidate logistics ordering and
            tracking of parts and required maintenance.

   3.2.7 Corrective & Preventative Action
   Several TPA audit findings relating to Corrective and Preventative actions were not effectively managed during ECP
   Year Three. The implementation and tracking of action plans in Global HESS identified findings that closed before
   corrective or preventative actions were taken or verified. HMP-1301-Internal Audits describe the process and
   responsibilities to address audit findings. Shipboard HESS Committees and Audit Review Committees collectively
   are responsible for conducting any required Root Cause Analysis, assignment of responsibilities for the completion of
   corrective and preventative actions, tracking and implementation of action plans, and updating the audit tracking
   system within Global HESS. The following are examples of findings identified during ECP Year Three:

       •    Some environmental incidents included in the Flash Reports had been found open for extensive periods of
            time (between 52 and 211 days) or closed without proper evidence that an ongoing investigation was
            completed.
       •    The RAAS audit finding, Item 002 (Garbage Management Plan, Appendix 6) from October 12, 2018 audit is
            still open in Global HESS. The item has been addressed by the ship’s staff, but the Non-Conformity is past
            its due date.
       •    The TPA audit conducted in May 25-30, 2018 had one Non-Conformity (#7) and one Observation (#8) that
            were both closed, however neither had corrective action in place.

   Recommendations:

       •    Ensure recently established procedures to manage corrective and preventative actions are followed for all
            audit findings, self-reported nonconformities, and systemic and compliance issues identified by Class, Flag,
            or Port State Control. Verify that these actions have been taken and evaluate whether they have resulted in
            preventing these initiating actions from re-occurring.

   3.3 Follow-Up Ship Audits
   Compared to ECP Year Two, which had four follow-up ship audits, ECP Year Three had only two (2) ship follow-up
   audits. The two (2) ships, Carnival Breeze and Veendam had several Major Non-conformities that required a TPA
   follow audit to observe any corrective actions that took place.

   The Major Non-Conformities on CARNIVAL BREEZE consisted of numerous non-food items, such as metal, glass,
   cloth, crockery and plastics found in the ship’s magnetic trap, shredder/pulper and the mixing tank/food waste tank;
   28 galley deck drain bells and 137 screws missing from galley drains, and; several non-food items, including plastics,
   floating on the surface of the ship’s galley grey water drain tank.

   All findings were found satisfactory during the follow-up visit. It was observed that deck drain covers were in place
   and secured with four screws. Signs of how and what foods are to be segregated were posted in galleys. Increased
   supervision of galley personnel was noted during galley operations. Inspections of the food waste tank, grease and
   magnetic traps revealed some non-food items. Although non-food items were found during the inspection of the grease
   and magnetic traps, there was an improvement of the process noted onboard. They have installed a food digestor




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   onboard in the Recycle Center to help in the food segregation process. It was also noted sections of the EGCS were
   found repaired and not leaking.

   The VEENDAM Major Non-Conformities involved numerous non-food items, including plastics, paper, metal and
   strips of silicone caulking, found in the metal grill of the overboard food chute; non-food items including plastics,
   paper ad silicone caulking found in the galley grease traps; four missing galley drain covers in the food prep areas and
   numerous covers too small for the drain opening, and; several non-food items, including paper and plastics, floating
   on the surface of the ship’s galley grey water drain tank.

    All findings were found satisfactory during the follow-up visit. It was observed that deck drain covers were in place
   and secured with four screws. Clear waste containers were place in the galleys and pulpers were secured with a
   padlock. A grey water tank was inspected, and no plastic was found. New strainers were installed on all grease traps
   and a food digester was installed in the Recycle Center.

   3.4 Investigations
   In the TPA Year One Annual Report, it was noted the internal investigation program in place at the time was deeply
   flawed. Changes to the investigations program were stagnated during Year Two. During Year Two, DNV-GL released
   a report regarding its thorough review of the existing investigation program and providing recommendations for
   improvement.

   During year three, the Company continued with its review and work from the previous two years on updating their
   investigations program by working to revamp procedures, develop centralized training and reporting processes, and
   hire new investigators. The Company’s original plan for completion of this updated program was September 16, 2019.
   On February 27, 2020, the Company produced and published a revised set of procedures, guidance, report templates
   and appendices that are intended to restructure the investigations program across the corporation.

   The delay of over two (2) years in the Company’s development of a structured investigations and Root Cause Analysis
   (RCA) program and associated training has continued to affect their ability to effectively identify systemic issues.
   Because of this, it appears that the lack of a process to identify preventative actions has contributed to recurring
   findings. The lack of an RCA program is particularly evident in the Company’s ineffective development of preventive
   actions associated with audit and investigations findings, as well as incidents reported and investigated within
   SeaEvent. Preventative actions are not clearly tied to underlying causes or the same types of recurring incidents. One
   of the primary areas where there seems to be a shortfall in the process, is within the follow-up and closeout of identified
   preventive actions related to findings. Many findings are closed in the Global HESS tracking system with no evidence
   of how the findings were resolved and effectively corrected. The new procedures are also unclear as to how they will
   effectively disseminate lessons learned from incidents, near misses, and audit findings.

   On April 1, 2020, IAG released HMP-1302, Incident Analysis Procedure. This new procedure consists of a suite of
   supporting report templates, decision matrices, near miss-criteria worksheet, and report distribution list. The procedure
   now describes three (3) levels of investigations. Level 1 (investigator assigned by the ship Captain) and Level 2
   incidents (investigator assigned by the Operating Line) are investigated by designated Operating Line (OL) shipboard
   or shore-side personnel and reported via SeaEvent and are the responsibility of the Operating Lines. Level 3
   investigations (highest level) are assigned by the VP of IAG to an IAG investigator or team of investigators. The lead
   investigator for Level 2 and 3 investigations is required to submit standard format preliminary and final reports for
   each investigation assigned. There are no written reports required for Level 1 investigations; all associated information
   is gathered and stored in SeaEvent. What is not clear about Level 1 investigations is who is responsible for follow-up
   and close out of these incidents and verification that effective corrective and preventive actions have been taken.

   The Company had or intended to hire 10 investigators to be assigned to IAG for strategic world-wide placement. The
   goal for this world-wide placement is to have personnel near-by for immediate or rapid response in the event of an
   incident. Currently there are IAG investigators located in Miami, Seattle, Santa Clarita, Sydney, Hamburg, and



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   Southampton. Due to the COVID pandemic, the number of investigators has changed from eight (8) to five (5) due to
   layoffs and furloughs.

   With the update of HMP-1302, new training programs have also been instituted for all personnel designated to conduct
   investigations. All investigators and managers assigned to IAG are required to have attended a one-time CSMART
   investigative training or alternative approved by the Vice President of IAG. The intent of this initial training is to
   establish a baseline of process from which all IAG investigators will work. Another required training that has been
   developed is a 30-minute RCA computer-based training (CBT) program designed for shipboard and shore-based
   personnel who will be conducting Level 1 and Level 2 incident investigations and compiling data for SeaEvent. The
   premise for this training is to provide basic RCA fundamentals focusing on the “5 Why” Theory and to provide
   guidance to effectively determine root causes and develop preventive actions. It is not clear whether all shipboard and
   shore-side personnel that will conduct investigations have attended, or are scheduled to attend, these trainings.

   The updated investigations program and future investigations will be followed up on and program effectiveness will
   be evaluated during TPA Year Four and Year Five audits. TPA focus will adhere to incident and near miss report
   clarity, effectiveness of training, effectiveness of RCA, effectiveness of follow-up and implementation of corrective
   and preventive actions, and effectiveness of dissemination of lessons learned.

   3.5 IT Issues
   IT issues continued to be an area of concern during ECP Year Three. Poor connectivity, which remains an issue
   between ships and shore, has resulted in delays in effective tracking of training and, in some cases, the ordering and
   delivery of critical spare parts. The Company is endeavoring to upgrade ship-to shore connectivity.

   Maritime Asset Strategy Transformation (MAST)
   Each brand uses different, non-centralized IT programs has made consolidation of information challenging, especially
   related to tracking ECP-required training, ship route planning, and management of critical spare parts. In fact, the
   Company is developing a program to centralize its spare parts and Preventive Maintenance Systems (PMS) under a
   single paradigm called Maritime Asset Strategy Transformation (MAST). MAST is designed, in part, to streamline
   and consolidate spare parts across the fleet, as well as PMS procedures across all brands; however, this program has
   yet to be implemented.

   MAST, once fully developed and implemented, will, in theory, centralize the PMS program and parts management
   across the fleet. Currently, the brands are using InfoShip and AMOS applications to order parts and manage the PMS
   program. Two (2) brands are using InfoShip and two (2) brands are using AMOS to track current stock on board,
   identify re-order points, develop purchase order requests, and manage the PMS program. Notwithstanding the
   common platforms, though, none of the applications work together, thereby necessitating the move to a single
   application across all brands to functionally support the MAST program and the fleet. The Company is moving to
   AMOS as the single application, which will be the PMS system supporting MAST. The MAST program is in the
   development stage with a possible implementation sometime in 2023.

   Learning Management Systems (LMS)
   The corporate-wide Learning Management System (LMS), Global Learning and Development Information System
   (GLADIS), has been implemented Company-wide as of June 2019. GLADIS, though a centralized LMS, does not
   fully meet the needs of some of the brands tracking requirements. GLADIS is used to identify and deploy required
   training content for an individual person, it does not function as a training tracking tool. Because of this gap, brands
   have continued to use their internal LMS to track ECP training, leading to inconsistency of data reporting and effective
   tracking.

   GLADIS received some negative and positive reviews since its fleetwide implementation. Initially, connectivity issues
   and lack of training in how to use the program were challenges. Positive reviews indicated that going to a centralized
   program eliminates the need, in some cases, for multiple spreadsheets and databases to track, update, and notify




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   individuals when required training is due or required. A challenge with GLADIS as a centralized LMS is that it is
   designed for the single user to manage their own training profile. Access to the GLADIS database is restricted to the
   individual user and HR. HR has access to individual training profiles to manage required training and ensure that
   personnel maintain their required certifications and licenses. Shore-side training managers, though, do not have direct
   access to individual training profiles within GLADIS, making it impossible to track overall ECP-required training
   across the fleet. As a result, the individual brands continue to use brand-specific LMS to monitor and track ECP-
   required training.

   The Company expected GLADIS to provide the training departments with capabilities needed to effectively monitor
   and track training, though it has been reported that this functionality has not yet been fully implemented. The brands
   continue to use independent LMS such as MISTRAL, EXPERT, CORNER STONE, and some applications of
   GLADIS. Multiple brand level non-centralized LMS continue to make corporate-wide tracking of training
   cumbersome, challenging, and inefficient.

   Voyage Planning
   ENV – 1001 Worldwide Cruising Environmental Standards, which is an extensive spreadsheet used by all ships to
   develop voyage plans, is manually updated as environmental standards change throughout the world. This data base
   is required to be used on all ships and is housed on the Company Global HESS platform. It is a difficult document for
   the crews to use, as some standards change sometimes daily. As previously noted, connectivity issues are a challenge,
   leading to crews potentially missing updates when changes are made to the data base.

   The Company is planning to replace ENV-1001 by working with a contractor that has developed a software solution
   which will be a stand-alone system for voyage planning and will be used by all Company ships. The Company’s
   intention, once implemented, is that this software program will be a more efficient voyage planning system that will
   streamline and simplify voyage planning across the fleet. The system is designed to automatically replicate and update
   information every six hours, making the information nearly real time. The Company’s expectation is that the software
   will help reduce the risk of mistakes in planning. Due to regulatory requirements, the system cannot be integrated with
   Electronic Chart Display and Information System (ECDIS) navigation systems. However, the Company plans to
   upload the voyage plans to ECDIS once developed by the contractor’s application. This voyage planning system is in
   the development stages with an expected testing phase to begin sometime in 2020. If implemented, a more efficient
   voyage planning tool would be available to help reduce repetitive findings.

   SeaEvent
   The Company also implemented SeaEvent, a fleetwide accident and incident reporting software. Implemented across
   the fleet as of October 2019, SeaEvent is designed to provide a common event data capture, reporting, tracking and
   analysis across all brands. It was designed to provide a consistent workflow for incident reports, though TPA audit
   observations following the application’s role out have shown that many SeaEvent incident reports (34 and 96 on two
   (2) separate ships) have remained open for a significant amount of time.
   CrewTube
   CrewTube is a mobile application available to all crew members, which is designed to inform them of recommended
   tasks to complete prior to embarkation. The application has been downloaded over 6,000 times since the beginning of
   March 2019, which is a significant increase from previous months. The increase was credited to educating manning
   agencies of the application’s capabilities and providing downloadable update capabilities to crew members. There are
   no Company requirements for crew to use this application.

   Virtual Reality – C-MSART Pilot and CUK Safe & Well Program
   C‐SMART is assessing the feasibility to design virtual reality training for OWS operations. This pilot is in the early
   stages of development but, conceptually, the training would allow personnel to familiarize themselves with specific
   OWS equipment and operations virtually.




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   CUK’s HESS focused “Safe and Well” program and the introduction of the Golden Rules are helping to drive the
   HESS culture across the brand. The advanced virtual reality training program and the use of videos to deliver the
   HESS culture message are well-developed and enhance learning of the Golden Rules and the overall HESS message.
   This program could have a direct positive impact on assisting in effective HESS cultural change if incorporated across
   the corporation. It would deliver the same core message to all employees of the Company.

   3.6 Training
   CSMART Courses

   EO Training
   As in the previous two years, the ECP five (5)-day annual training requirement for EOs was given at the CSMART
   facility in Almere, Netherlands, during ECP Year Three. See ECP § IV.A.4.a. For ECP Year Three training, the format
   changed from a lecture-based, Power Point-intensive training to a case study-based, problem solving interactive format
   that requires students to work in groups and develop solutions using various reference materials that include
   international treaties, Port and Flag State requirements, and Company policies and procedures. The TPA audited the
   first session of the course given to EOs in August 2019; most findings from that audit were related to facilitation,
   facilities, and attendee performance evaluations/assessments. The TPA performed a follow-up audit of the course
   during its fourth session in February 2020. All findings from the August 2019 audit had been addressed and no further
   findings were found. Feedback from students collected by the TPA during the course and while on ship audits was
   positive. Students said that the new format helped them learn to use available references when confronted with “real
   life” problems.

   Operational Excellence
   During the first two years of the ECP, a Compliance “2” Commitment (C2C) course was given to Deck, Technical,
   and Environmental Officers, attending courses at CSMART. During ECP Year Three, the C2C course was replaced
   by the Operational Excellence course. The training format changed from a lecture-intensive approach to an interactive
   workshop approach, where students develop strategies to address scenarios presented to them. These scenarios
   included case studies addressing compliance culture issues and required students to work in groups to develop
   solutions. The TPA audited the first session of the course in August 2019. Most findings from that audit were related
   to facilitation. As a follow-up audit, the course was revisited in February 2020. The course was re-formatted and
   addressed all prior audit findings.

   Shipboard Training
   The content of the initial shipboard training given by EOs under the Company’s TRG-2308 procedure appear to meet
   ECP requirements. The materials and format of the training presentation in ECP Year Three give EOs an opportunity
   to present newly joined crew members with information on Company and ship procedures, initiatives, and goals
   related to environmental compliance, such as waste reduction and management.

   3.7 Environmental Initiatives
   There were many environmental initiatives that were implemented or partially implemented in ECP Year Three. The
   following are some of the notable initiatives:
   Color-Coded Containers to Aid in Segregating Food Waste
   New containers were placed in dining rooms, food prep areas, recycling centers, and sculleries on all ships to assist in
   the food waste segregation process, as required by the Company’s new ENV-1302 procedure. Small containers are
   emptied into larger 40- gallon containers, which are labeled with the place of initial segregation. By labeling the
   containers, it is easier to target problem areas where food waste segregation has failed.




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   Control of Portable Pumps
   Portable pumps are limited to 10 per ship and color-coded to indicate which onboard system they are designated for
   use. This plan follows the new procedure ENV-1203. The hoses are matched with each pump and color-coded as well.
   The pumps and hoses are now stored in secure cages in the machinery spaces. The ships can carry an additional five
   (5) portable pumps as spares. The control of portable pumps will aid to deter the illegal use of pumping waste oil
   overboard.

   Electronic Key Box to Control Locks for Pumps and Vulnerabilities
   The Company is in the process of installing new electronic key box systems on ships. The new electronic key box
   follows the Company’s procedure ENV-1203 and has an implementation date of September 1, 2020. Unlike the old
   key box system, this system tracks the keys electronically and generates notifications via text message. Crewmembers
   can only remove keys in the box by swiping their ID card, which electronically logs the transaction. Keys are checked
   back into the box in the same manner. When keys are not returned within a prescribed amount of time, notification
   via text message reports the missing key to the Chief Engineer or their designee. The new electronic key box system
   would aid to control the use of portable pumps. The system would notify the Chief Engineer, Environmental Officer
   and Staff Chief Engineer when a key is taken to access a portable pump. It would also assist in record keeping when
   the pump is taken and returned.




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   4        Conclusion
   The Company has made strides to enact policies and programs to address the environmental management
   shortcomings but has been slow to act on the underlying or systemic issues associated with their continued non-
   compliance issues. As cited in ECP Year One, the lack of a standard Root Cause Analysis process has led to recurring
   findings in that there is no functional capability of the Company to determine root or systemic causes of findings thus
   leading to the inability to develop preventive actions. In ECP Year Three, though a new system is in place, SEA
   EVENT has not proven itself as a solution to fix the problem of the lack of a Company-wide root cause analysis
   process.

   The Company has agreed with the CAM and the TPA that a Management of Change program would be beneficial for
   addressing the systemic issues the Company has faced, but the TPA has yet to see any real initiative to address such
   a program. We would expect the Company to address this issue early in ECP Year Four to assure that the effectiveness
   of the program could be evaluated later in year four and throughout ECP Year Five to position the Company for
   continuous improvement beyond their probationary period.

   Although the TPA audit findings are addressed with corrective actions, and in most cases, corrected immediately
   where possible, the corrective actions typically only address that particular incident on that particular ship or in that
   particular shore-side facility. There appears to be no fleet-wide look into the corrective actions. In addition, preventive
   actions are not as effective as they could be because of a lack of an analysis of the finding to determine root or systemic
   causes. It was noted during ECP Year Three through TPA findings, that the Company has closed findings when
   corrective and/or preventive actions had not yet occurred or proved ineffective in ensuring the issue does not reoccur.

   Particular attention will be paid by the TPA to the recently initiated investigations procedures as effective
   investigations will be instrumental in the Company building continuous improvement in the near future and after the
   expiration of the ECP.

   The revision of Environmental Control System procedures to reduce the number of seals, locks, and welded tabs was
   noted to have resulted in a reduction of overall findings during ECP Year Three, however, pollution prevention
   equipment and food waste segregation issues continued to result in Major Non-Conformity findings. In ECP Year
   Two it was suggested that Carnival should investigate a Reliability, Availability, and Maintainability (RAM) Analysis
   of pollution prevention equipment. The company has adopted a Reliability Centered Maintenance (RCM) program to
   hopefully address reoccurring issues with these systems and equipment. The TPA will continue to observe if this
   program during Year Four.

   Unless there is a re-focus on compliance with the details of the environmental program initiated by the Company,
   challenges with recurring findings in policies and procedures, attention to detail in record keeping, and tracking
   training are expected to remain a major part of TPA audit findings. Based on many findings from ECP Years One and
   Two reoccurring in ECP Year Three, the TPA plans to evaluate whether findings that reoccur in ECP Year Four should
   be found to be systemic (for example, errors in regulatory-required record keeping books), and categorized as Major
   Non-Conformities.

   In ECP Year Three, Carnival Corporation continued with its attempt to comply with requirements of the ECP but has
   been slow to take effective actions to address issues raised over the past three years of TPA audits. It is apparent that
   the Company must re-double their efforts to address systemic problems across the fleet in the areas identified in this
   report if they are to achieve continuous improvement and plan to maintain a sustainable environmental management
   system beyond the end of their probation period.




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   5        Appendices
       A.   TPA Audit Findings for Ship Audits – Additional Graphics
       B.   TPA Audit Findings for Shore-side Audits – Additional Graphics
       C.   Ship Findings Matrix
       D.   Shore-side Findings Matrix




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              Appendix A – TPA Audit Findings for Ship Audits – Additional Graphics




                                                           Figure 11


      Table 5

                                                         Ship Findings

                                                                     Non-         Major Non-
        Finding Category                     Observations                                       Total
                                                                  Conformities   Conformities
Policies and Procedures                              18                  34           3          55
Record Keeping & Log Issues                          6                   38           0          44
WM: Food Waste Segregation &
                                                     11                  17           5          33
Disposal
Training Issues                                      0                   14           0          14
PPE: Malfunction                                     11                  2            1          14
WM: Garbage Management                               1                   11           0          12
PPE: Inoperable                                      0                   1            9          10
Critical Spare Parts                                 1                   5            1           7
Corrective and Preventative Actions                  0                   7            0           7
Grand Total                                          48                  129          19         196



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    Appendix B – TPA Audit Findings for Shore-Side Findings Graphics – Additional
                                     Graphics




                                                       Figure 12


   Table 6

                                                  Shore-Side Findings
                                                                           Non-
                  Finding Category                     Observations                    Total
                                                                        Conformities
         Training Issues                                     2               6           8
         Policies and Procedures                             4               2           6
         Corrective and Preventative Actions                 1               4           5
         WM: Waste Vendors                                   0               3           3
         Critical Spare Parts                                1               0           1
         Grand Total                                         8               15         23




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                                     Appendix C – Ship Findings Matrix




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                IMO    Audit                                                                                      Component /       Finding Area      Finding Sub-Area      Issue Identified
Vessel Name                  Audit Close Line      Brand      Finding           System           Procedure                                                                                    Finding Group                                                    Finding Description
               Number Year                                                                                           Process            (Ship)              (Ship)            (Procedural)
CARNIVAL      9138850 Year 3 14-May-19 CCL       CCL       Major        Segregation and      Food Waste          Pulper/Food   Ineffective         Non-Food Wastes, Not Procedure(s) -       WM: Food          Major Non-Conformity-01: During an internal inspection of the Recycling Center equipment; shredder/pulper and
BREEZE                                                     Nonconformit Disposal of Food     Segregation         Chute/Manual                      Properly Separated      Inaccurate        Waste             mixing tank/food waste tank, numerous non-food items were found inside such as metal bottle caps, metal utensils,
                                                           y            Waste                Process             Feeding Hatch                                                               Segregation &     crayons, glass, cloth rags, pieces of broken dishes and some plastics.
                                                                                                                                                                                             Disposal
CARNIVAL      9138850   Year 3 14-May-19   CCL   CCL       Major          Sewage and Grey    Galley Grey Water Scupper Covers Ineffective          Multiple Scupper        Procedure(s) -    Policies and      Major Non-Conformity-02: Throughout the ships various galleys and food preparation areas there are
BREEZE                                                     Nonconformit   Water Operations   Scupper Covers                                        Covers and Screws       Not Followed      Procedures        approximately (28) galley deck drain bells and (137) screws missing.
                                                           y              and Management                                                           Missing
CARNIVAL      9138850   Year 3 14-May-19   CCL   CCL       Major          Segregation and    Food Waste          Grey Water       Ineffective      Non-Food Wastes, Not Procedure(s) -       WM: Food          Major Non-Conformity-03: A visual inspection of the ships galley grey water drain tank found several non-food
BREEZE                                                     Nonconformit   Disposal of Food   Segregation         Tanks                             Properly Separated      Inaccurate        Waste             items floating on the surface of the tank contents, including plastics.
                                                           y              Waste              Process                                                                                         Segregation &
                                                                                                                                                                                             Disposal
CARNIVAL      9138850   Year 3 14-May-19   CCL   CCL       Nonconformit Environmental        Assessing           Vulnerability    Incomplete       Vulnerabilities Missed, Procedure(s) -    Policies and      Non-Conformity-01: Found (3) pipe spool pieces in the mixing tank/food waste tank piping that did not have ECS’s,
BREEZE                                                     y            Control System       Overboard Systems Assessment                          Food Waste Tanks        Not Followed      Procedures        nor were they marked as a vulnerability.
                                                                                             for Vulnerabilities

CARNIVAL      9138850   Year 3 14-May-19   CCL   CCL       Nonconformit Waste Stream         TPA ECP Waste       Sample Points    Incomplete       Sample Points, Not       Procedure(s) -   Policies and      Non-Conformity-02: The sample points for the COWS units did not have permanent sample valves in place. They
BREEZE                                                     y            Sampling             Stream Sampling                                       Identified or Fitted     Not Followed     Procedures        removed blank flanges that were locked in place and installed temporary valves to take samples.
CARNIVAL      9138850   Year 3 14-May-19   CCL   CCL       Observation Compliance            Recording or        Hotline          Ineffective      Ineffective, Network     Procedure(s) -   Policies and      Observation-01: Several attempts to test the open reporting hotline were unsuccessful until the following day when
BREEZE                                                                  Reporting Hotline    Logging                                               Connectivity             Incomplete       Procedures        a successful test was conducted. The unsuccessful attempts were because of bad communication connections at
                                                                                                                                                                                                               sea.
CARNIVAL      9138850   Year 3 14-May-19   CCL   CCL       Observation    Exhaust Gas        Operation and       Exhaust Stack    Improper         Stack has Excessive      Pollution        PPE:              Observation-02: The #6 EGCS engine exhaust has many repaired areas and insulation and outer sheet metal covers
BREEZE                                                                    Cleaning Systems   Maintenance                                           Repairs and              Equipment        Malfunction       are deteriorated.
                                                                          (AAQS)                                                                   Deteriorated             Malfunction

RUBY          9378462   Year 3 15-May-19   PCL   HA Group Nonconformit Garbage               Processing and      Hazardous        Improper         Hazardous Waste, Not     Procedure(s) -   WM: Garbage       Non-Conformity-01: The entertainment pyrotechnics are not stored in a sealed metal container as per the Garbage
PRINCESS                                                  y            Management            Storage             Waste                             Stored in Proper         Not Followed     Management        Management plan.
                                                                                                                 Materials                         Container
RUBY          9378462   Year 3 15-May-19   PCL   HA Group Observation     Garbage            Recording or        Hazardous        Improper         Inaccurate Entries,      Procedure(s) -   Record Keeping Observation-01: Between 28 September 2018 and 18 April 2019, a total of 60 liters of barbicide was taken down to
PRINCESS                                                                  Management         Logging             Waste Log                         Barbicide                Not Followed     & Log Issues   the Recycling Center for disposal. The SPA manager stated there should be approximately 20-25 liters of barbicide
                                                                                                                                                                                                            waste generated a month. Therefore, there may be approximately 70 liters of barbicide unaccounted for.

CORAL         9229659   Year 3 25-May-19   PCL   HA Group Nonconformit Chief Engineer        Recording or     Chief Engineer Improper              Signature Missing        Procedure(s) -   Record Keeping Non-Conformity-01: The most recent handover notes for the Chief Engineer and the Staff Chief Engineer do not
PRINCESS                                                  y            Environmental         Logging          and Staff Chief                                               Not Followed     & Log Issues   have proper signature of the incoming Engineer as required by the company procedure “TEC-1002 – Chief Engineer
                                                                       Responsibilities                       Engineer                                                                                      and Staff Chief Engineer’s Handover”.
                                                                                                              Handover
CORAL         9229659   Year 3 25-May-19   PCL   HA Group Nonconformit Staff Captain         Deck Maintenance Scupper Covers Improper              Covers Missing Screws,   Procedure(s) -   Policies and      Non-Conformity-02: Multiple scuppers’ drain covers located on the open deck 7, embarkation deck, deck 14 and 15,
PRINCESS                                                  y            Environmental                                                               Direct Discharge         Not Followed     Procedures        were found missing the screws to secure the covers to the deck. These scuppers have direct connection overboard.
                                                                       Responsibilities                                                            Overboard
CORAL         9229659   Year 3 25-May-19   PCL   HA Group Nonconformit Garbage               Garbage         MARPOL Annex Improper                 Plan Identifies          Procedure(s) -   WM: Garbage       Non-Conformity-03: The MARPOL Annex V simplified overview placards for garbage disposal displayed on board the
PRINCESS                                                  y            Management            Management Plan V Placard(s)                          Outdated Placards        Not Followed     Management        ship does not match with the placards required as per the current Garbage Management Plan, Appendix 3.

CORAL         9229659   Year 3 25-May-19   PCL   HA Group Nonconformit Garbage               Processing and      General Waste Improper            Not Segregated by        Procedure(s) -   WM: Food          Non-Conformity-04: During the inspection of the recycling center, large boxes intended for collection of broken
PRINCESS                                                  y            Management            Storage             Materials                         Type, Receptacles        Not Followed     Waste             crockery were found containing other waste material (plastic containers, plastic bags, broken glass, aluminum foil,
                                                                                                                                                                                             Segregation &     paper boxes). The waste material is not being segregated per HESS procedures.
                                                                                                                                                                                             Disposal
CORAL         9229659   Year 3 25-May-19   PCL   HA Group Nonconformit Garbage               Processing and      Waste Grease     Improper         Storage and Disposal,    Procedure(s) -   WM: Garbage       Non-Conformity-05: The current practice to store and disposes galley greases were found not in compliance with
PRINCESS                                                  y            Management            Storage                                               Not Aligned with Plan    Not Followed     Management        the company procedures as stated in the Garbage Management Plan available onboard.

CORAL         9229659   Year 3 25-May-19   PCL   HA Group Nonconformit Garbage               Recording or        Hazardous        Improper         Inaccurate Entries, Red Procedure(s) -    Record Keeping Non-Conformity-06: Multiple discrepancies were noted between the entries in the hazardous waste log for red bags
PRINCESS                                                  y            Management            Logging             Waste Log                         Bags                    Not Followed      & Log Issues   (Medical/Biohazardous waste) kept in the recycling center and the Medical Department Waste Log, Medical Soft
                                                                                                                                                                                                            Waste (Red Bags), kept in the medical center.
CORAL         9229659   Year 3 25-May-19   PCL   HA Group Observation     Staff Captain      Painting            Hull             Incomplete       No Protective            Procedure(s) -   Policies and   Observation-01: While the vessel was moored alongside in Skagway, AK, on May 25, two crew members were noted
PRINCESS                                                                  Environmental                                                            Measures Used,           Incomplete       Procedures     working on a cherry picker for paint touch ups in some areas on the stern. No canvas or other means of protection
                                                                          Responsibilities                                                         Painting Hull                                            were noted between the cherry picker and the hull side shell to avoid potential dropping of paint in the water
                                                                                                                                                                                                            during the painting.
CROWN         9293399   Year 3 9-Jun-19    PCL   HA Group Nonconformit Environmental         Recording or        ECS              Improper         Missing Entries, Lock    Procedure(s) -   Record Keeping Non-Conformity-01: Over the past 30 days there were eight (8) discrepancies in the ECS padlock log. Entries were
PRINCESS                                                  y            Control System        Logging             Vulnerability                     Log                      Not Followed     & Log Issues   made that showed padlocks being unlocked and or locked, without a corresponding entry indicating the padlock
                                                                                                                 Lists and Logs                                                                             being locked and or unlocked.
CROWN         9293399   Year 3 9-Jun-19    PCL   HA Group Observation     Human Resources Leadership             Trust, Care,     Improper         Fear of Making           Procedure(s) -   Policies and   Observation-01: In the galley, a posted corporate environmental incident notice had; “Serious Consequences” in red
PRINCESS                                                                                  Behavior               Openness                          Mistakes                 Incomplete       Procedures     ink handwritten on it (see photo on page 30 of this report). It was not known who wrote the remark or what the
                                                                                                                                                                                                            “serious consequences” entailed.
VOLENDAM      9156515   Year 3 16-Jun-19   HAL   HA Group Nonconformit Environmental         Responsibilities    Handover         Improper         Handover, Not to         Procedure(s) -   Record Keeping Non-Conformity-01: The last Environmental Officer handover notes prior to this audit, was not conducted in
                                                          y            Officer Roles and                                                           Procedures               Not Followed     & Log Issues   accordance with Global HESS procedures.
                                                                       Responsibilities
VOLENDAM      9156515   Year 3 16-Jun-19   HAL   HA Group Nonconformit Training Program      Training            Environmental Ineffective         Contractor Training      Procedure(s) -   Training Issues   Non-Conformity-02: There is no record of the ship using the HESS Contractor Procedure Checklist.
                                                          y                                  Management          Awareness for                     Checklist, Not Used      Not Followed
                                                                                                                 Contractors
VOLENDAM      9156515   Year 3 16-Jun-19   HAL   HA Group Nonconformit Machinery Space       Recording or        Oil Record Book Improper          Incorrect Entries,       Procedure(s) -   Record Keeping Non-Conformity-03: An OWS discharge overboard of clean bilge water (under 15 ppm) on 06 June 2019 for a total
                                                          y            Operations            Logging                                               Code(s)                  Not Followed     & Log Issues   of 14.4 m3 was miscoded in the ORB as C-15.3; the correct code for OWS overboard operations are C-15.1

VOLENDAM      9156515   Year 3 16-Jun-19   HAL   HA Group Nonconformit Garbage               Recording or        Hazardous        Improper         Missing Signatures, EO Procedure(s) -     Record Keeping Non-Conformity-04: In reviewing the recycling center Hazardous Waste Log, (3) entries on 29 May 2019, (1) on 5
                                                          y            Management            Logging             Waste Log                                                Not Followed       & Log Issues   June 2019 and (1) on 12 June 2019 were missing the Environmental Officers signature for verification confirming
                                                                                                                                                                                                            offload.
VOLENDAM      9156515   Year 3 16-Jun-19   HAL   HA Group Nonconformit Sewage and Grey       Galley Grey Water Scupper Covers Ineffective          Multiple Screws          Procedure(s) -   Policies and   Non-Conformity-05: Throughout the ship’s galleys and food preparation areas there are approximately 164 galley
                                                          y            Water Operations      Scupper Covers                                        Missing                  Not Followed     Procedures     grey water scuppers with a secured scupper cover/drain bell for each. Auditors found 116 screws used to secure
                                                                       and Management                                                                                                                       scupper covers and (1) one cover missing.




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                IMO    Audit                                                                                   Component /      Finding Area      Finding Sub-Area     Issue Identified
Vessel Name                  Audit Close Line      Brand      Finding          System           Procedure                                                                                Finding Group                                                      Finding Description
               Number Year                                                                                       Process            (Ship)              (Ship)           (Procedural)
VOLENDAM      9156515 Year 3 16-Jun-19  HAL      HA Group Nonconformit Sewage and Grey      Inspections       Grey Water   Ineffective         Galley Grey Water Tank Procedure(s) -    WM: Food           Non-Conformity-06: The actions required by Carnival’s ECN #3-2019, specifically the “visual inspection of the galley
                                                          y            Water Operations                       Tank                             and Scuppers, Not      Not Followed      Waste              grey water collecting tank(s) and the urgent requisition of all scupper covers and associated hardware” was not
                                                                       and Management                                                          Inspected                                Segregation &      completed by the 31 May 2019 deadline.
                                                                                                                                                                                        Disposal
VOLENDAM      9156515   Year 3 16-Jun-19   HAL   HA Group Nonconformit Segregation and      Food Waste        Food Waste      Ineffective      Non-Food Wastes, Not Procedure(s) -      WM: Food           Non-Conformity-07: While observing an overboard discharge operation for previously segregated comminuted food
                                                          y            Disposal of Food     Segregation       Storage                          Properly Separated     Inaccurate        Waste              waste, 27 of 42 food waste containers were found to have non-food items in them. Non-food items included small
                                                                       Waste                Process           Receptacles                                                               Segregation &      pieces of plastics, paper, china, wooden stir sticks and aluminum foil. The 27 containers were sent back to the
                                                                                                                                                                                        Disposal           galleys to remove non-food items.
VOLENDAM      9156515   Year 3 16-Jun-19   HAL   HA Group Nonconformit Segregation and      Food Waste        Pulper/Food     Improper         Pulper Station, Not    Procedure(s) -    WM: Food           Non-Conformity-08: During a tour of the main galley, a pulper station that was not being used at the time was
                                                          y            Disposal of Food     System Control    Chute/Manual                     Secured with Lock      Not Followed      Waste              found unlocked with its cover off. The design of the galley pulper station tables allows non-food items to still enter
                                                                       Waste                                  Feeding Hatch                                                             Segregation &      the pulper, regardless if their covers are in place and locked.
                                                                                                                                                                                        Disposal
VOLENDAM      9156515   Year 3 16-Jun-19   HAL   HA Group Nonconformit Refrigerant Gases    Recording or      Refrigerant     Ineffective      Missing Inventory      Procedure(s) -    Record Keeping     Non-Conformity-09: The refrigerant leak records are being recorded on an outdated form “ENV-1402-A2 Example
                                                          y                                 Logging           Record Book                      Entries, Ozone         Not Followed      & Log Issues       Ozone Depleting Form”. The ships refrigerant inventory does not include any ozone depleting substances (ODS).
                                                                                                                                               Depleting Substances
                                                                                                                                               (ODS) and Outdated
                                                                                                                                               Form
VOLENDAM      9156515   Year 3 16-Jun-19   HAL   HA Group Observation    Training Program   Recording or      Environmental Incomplete         Missing, Training      Procedure(s) -    Record Keeping     Observation-01: The HESS Contractor Procedure Checklist does not have a date completed block and it also states
                                                                                            Logging           Awareness for                    Completion Dates,      Incomplete        & Log Issues       that the form should only be retained for one (1) month.
                                                                                                              Contractors                      Incorrect Retention
                                                                                                                                               Time
VOLENDAM      9156515   Year 3 16-Jun-19   HAL   HA Group Observation    Waste Stream       TPA ECP Waste     Sample Points   Ineffective      Two Plans Onboard,     Procedure(s) -    Policies and       Observation-02: The auditor was presented with two separate sample plans, the first sample plan includes a total of
                                                                         Sampling           Stream Sampling                                    Sample Point           Not Followed      Procedures         9 sample points and the second sample plan has a total of 7 sample points.
                                                                                                                                               Differences
CARIBBEAN     9215490   Year 3 21-Jun-19   PCL   HA Group Nonconformit Training Program     Recording or      Environmental Incomplete         Missing, Records of    Procedure(s) -    Record Keeping   Non-Conformity-01: There was only one contractor who had a filled out “Contractor HA Group OHS 1320 DLI-A2
PRINCESS                                                  y                                 Logging           Awareness for                    Training               Not Followed      & Log Issues     March 2019” on file with the technical department since March of 2019. No evidence could be provided for the 3
                                                                                                              Contractors                                                                                different contractor companies that were onboard during the ECP audit to show they had received this
                                                                                                                                                                                                         instruction/training (Ocean Spray, Siemens, and Nordic Made).
CARIBBEAN     9215490   Year 3 21-Jun-19   PCL   HA Group Nonconformit Machinery Space      Recording or      Oil Record Book Improper         Missing Signatures,       Procedure(s) -   Record Keeping Non-Conformity-02: The Oil Record Book was missing Chief Engineer and 3rd Engineer signatures.
PRINCESS                                                  y            Operations           Logging                                            Chief Engineer            Not Followed     & Log Issues

CARIBBEAN     9215490   Year 3 21-Jun-19   PCL   HA Group Nonconformit Garbage              Garbage         Food Waste        Incomplete       Plan, Missing Pulpers     Procedure(s) -   WM: Garbage    Non-Conformity-03: The vessel utilizes pulpers in order to discharge food waste overboard in certain areas. This
PRINCESS                                                  y            Management           Management Plan System                                                       Not Followed     Management     garbage processing equipment is not included in the Garbage Management Plan on board. Additionally, it should be
                                                                                                                                                                                                         noted that the Garbage Management Plan is lacking control numbers.
CARIBBEAN     9215490   Year 3 21-Jun-19   PCL   HA Group Nonconformit Segregation and      Food Waste        Grease Trap     Ineffective      Non-Food Wastes, Not Procedure(s) -        WM: Food       Non-Conformity-04: The galley grease trap was open and inspected and found to have 2 pieces of plastic wrap,
PRINCESS                                                  y            Disposal of Food     Segregation                                        Properly Separated   Inaccurate            Waste          approximately 12” x 12” and 5” x 10” as well as, small pieces of tin foil, two plastic/metal twist ties and what
                                                                       Waste                Process                                                                                       Segregation & seemed to be either a shredded rag or part of a mop head. One of the pulper silos was also inspected and found to
                                                                                                                                                                                          Disposal       include a dime size piece of china.
CARIBBEAN     9215490   Year 3 21-Jun-19   PCL   HA Group Observation    Certificate and    Class, Flag,      Non-Tank        Incomplete       Annual Exercise Did       Procedure(s) -   Record Keeping Observation-01: The Non-Tank Vessel Response Plan (NTVRP) Section 7.2.3 requires a Remote Assessment and
PRINCESS                                                                 Permit             Regulatory        Vessel                           Not Include               Not Followed     & Log Issues   Consultation (RAC) exercise to be completed annually and 7.2.3 requires that the exercise to include firefighting at
                                                                         Management         Requirements      Response Plan                    Firefighting, Annual                                      least once every three years. The RAC exercise was last completed on 09/10/2016 and the type of casualty listed
                                                                                                              (NTVRP)                          Review Not Recorded                                       was collision and did not include firefighting. The required annual review of the plan may have been conducted 17
                                                                                                                                                                                                         December 2018, however, the record of changes does not specifically indicate the annual review of the plan was
                                                                                                                                                                                                         done, as this is not listed in the description of change, which was included in the description of change for previous
                                                                                                                                                                                                         years.
CARNIVAL      9378486   Year 3 25-Jun-19   CCL   CCL       Nonconformit Segregation and     Food Waste        Grease Trap     Ineffective      Non-Food Wastes, Not Procedure(s) -        WM: Food       Non-Conformity-01: The food waste trap was open and inspected and found to contain pieces of broken china,
MAGIC                                                      y            Disposal of Food    Segregation                                        Properly Separated   Inaccurate            Waste          silverware, metal beer cap, piece of aluminum and hard food like bones, oyster and mussel shells. (No plastic was
                                                                        Waste               Process                                                                                       Segregation & found.) The Magnetic trap #2 was opened, and it contained metal beer caps and a few pieces of silverware. This
                                                                                                                                                                                          Disposal       finding indicates an inadequate food waste segregation process prior to material entering the pulper.

CARNIVAL      9378486   Year 3 25-Jun-19   CCL   CCL       Observation   Garbage            Waste Disposal    Landing         Improper         Offloaded Garbage to      Procedure(s) -   WM: Garbage     Observation-01: During the tendering operations at Half Moon Cay, Bahamas, it was witnessed that several lids to
MAGIC                                                                    Management                           Garbage                          Tender Boats,             Inaccurate       Management      the food waste containers were loose and sliding around. It was noted that improper rigging of several loads was
                                                                                                                                               Unsecured Lids                                             causing containers to shift and being pinched as it was lifted from the tender to the vessel.
EMERALD       9333151   Year 3 2-Jul-19    PCL   HA Group Nonconformit Environmental        Managing          Vulnerability   Incomplete       Vulnerabilities Missed,   Procedure(s) -   Policies and    Non-Conformity-01: Two new drain valves installed during the April 2019 yard period on the #5 and #6 engine’s
PRINCESS                                                  y            Control System       Vulnerability     Assessment                       New Drain Valves          Not Followed     Procedures      EGCS overboard lines. These were not identified as vulnerabilities, and the procedures does not address new
                                                                                            Assessment                                                                                                    installations after the initial assessment was done.
EURODAM       9378448   Year 3 12-Jul-19   HAL   HA Group Major        Exhaust Gas          Operation and     Exhaust Gas    Ineffective       EGCS found Inoperable Pollution            PPE: Inoperable Major Non-Conformity-01: The Exhaust Gas Cleaning Systems (EGCS) for MDG No. 1 and No. 6 are not working due
                                                          Nonconformit Cleaning Systems     Maintenance       Cleaning                         Due to Scrubber       Equipment                            to a malfunction of the Variable Frequency Drives (VFD’s) that control the scrubber dilution pumps. The No. 2 MDG
                                                          y            (AAQS)                                 Systems (AAQS)                   Dilution Pump Issues  Inoperable                           is equipped with an EGCS that is fully functional but cannot be run on HFO because it shares the same fuel cell with
                                                                                                                                                                                                          MDG No. 1.
EURODAM       9378448   Year 3 12-Jul-19   HAL   HA Group Nonconformit Training Program     Recording or      Environmental Improper           Use of Outdated           Procedure(s) -   Training Issues Non-Conformity-01: The HESS Contractor Procedure Checklist was updated on 26 March 2019. The ship has been
                                                          y                                 Logging           Awareness for                    Checklist                 Not Followed                     using a previous version.
                                                                                                              Contractors
EURODAM       9378448   Year 3 12-Jul-19   HAL   HA Group Nonconformit Machinery Space      Recording or      Oil Record Book Improper         Incorrect Entries,        Procedure(s) -   Record Keeping Non-Conformity-02: A wrong entry was made in the ORB. The OWS discharge overboard of clean bilge water on 28
                                                          y            Operations           Logging                                            Code(s)                   Not Followed     & Log Issues   June 2019 for a total of 14.1 m3 was miscoded in the ORB as C-15.3. The correct code for OWS overboard
                                                                                                                                                                                                         operations is C-15.1.
EURODAM       9378448   Year 3 12-Jul-19   HAL   HA Group Nonconformit Sewage and Grey      Galley Grey Water Scupper Covers Ineffective       Multiple Scupper          Procedure(s) -   Policies and   Non-Conformity-03: Throughout the ship’s galleys and food preparation areas there are approximately (161) galley
                                                          y            Water Operations     Scupper Covers                                     Covers and Screws         Not Followed     Procedures     grey water scupper drain bells and (2075) galley grey water scupper cover securing screws missing.
                                                                       and Management                                                          Missing
EURODAM       9378448   Year 3 12-Jul-19   HAL   HA Group Nonconformit Segregation and      Food Waste        Food Waste      Ineffective      Non-Food Wastes, Not      Procedure(s) -   WM: Food         Non-Conformity-04: While observing pulper chute operations in the recycling center for previously segregated food
                                                          y            Disposal of Food     Segregation       Storage                          Properly Separated        Inaccurate       Waste            waste, numerous food waste containers from various galleys and food preparation areas were found to have non-
                                                                       Waste                Process           Receptacles                                                                 Segregation &    food items in them, to include several pieces of plastics & paper, aluminum foil packets, metal bottle cap, rubber
                                                                                                                                                                                          Disposal         band and a wooden stir stick.
EURODAM       9378448   Year 3 12-Jul-19   HAL   HA Group Nonconformit Certificate and      Class, Flag,      Letters of      Improper         Letters for 8 Non-EAL     Procedure(s) -   Policies and     Non-Conformity-05: Letters of infeasibility for the 8 non-EAL oil to sea interfaces are not onboard.
                                                          y            Permit               Regulatory        Infeasibility                    Oil-To-Sea Interfaces,    Not Followed     Procedures
                                                                       Management           Requirements                                       Not Onboard




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                IMO    Audit                                                                                     Component /       Finding Area      Finding Sub-Area        Issue Identified
Vessel Name                  Audit Close Line      Brand      Finding         System            Procedure                                                                                      Finding Group                                                 Finding Description
               Number Year                                                                                          Process            (Ship)              (Ship)              (Procedural)
EURODAM       9378448 Year 3 12-Jul-19  HAL      HA Group Observation    Sewage and Grey    Recording or        Sewage and    Improper            Alaska, Unknown if        Procedure(s) -    Policies and   Observation-01: As only electronic logs were provided to the TPA auditor, it is unknown if the ship is using hard
                                                                         Water Operations   Logging             Grey Water                        Manual Form in Use        Not Followed      Procedures     copy Gray Water and Sewage log book required under the Alaska Cruise Ship statute and 33 C.F.R. 159.315.
                                                                         and Management                         Discharge Log
EURODAM       9378448   Year 3 12-Jul-19   HAL   HA Group Observation    Segregation and    Food Waste          Pulper/Food   Ineffective         Non-Food Wastes, Not Procedure(s) -         WM: Food          Observation-02: During an internal inspection of the pulper/magnetic trap (A1) in the recycling center, numerous
                                                                         Disposal of Food   Segregation         Chute/Manual                      Properly Separated   Inaccurate             Waste             metal bottle caps were found, which identifies that the food segregation process is not efficient.
                                                                         Waste              Process             Feeding Hatch                                                                 Segregation &
                                                                                                                                                                                              Disposal
EURODAM       9378448   Year 3 12-Jul-19   HAL   HA Group Observation   Fleet Maintenance Management of         Turbo Charger   Ineffective       Excessive Leak Repairs Procedure(s) -       Policies and      Observation-03: The No. 4 MDG turbo charger intercooler has a crack that is causing jacket water to drain to a
                                                                        Management        Machinery Space       Intercooler                                              Not Followed         Procedures        temporary funnel and drain line that is directing the jacket water to tank 11P “clean water scavenging tank”.
                                                                                          System Water
                                                                                          Leaks
QUEEN         9320556   Year 3 17-Jul-19   Cunard CUK      Major        Garbage           Overboard Food        Pulper/Food     Ineffective       Inoperable Due to Part Pollution            PPE: Inoperable Major Non-Conformity-01: One (1) shredder in the food pulper system located in the Recycling Center was found
VICTORIA                                                   Nonconformit Management        Waste Discharge       Chute/Manual                      Failure                Equipment                            out of service since June 13th, 2019, due to the failure of an internal component. The ECP spare parts carried
                                                           y                              System                Feeding Hatch                                            Inoperable                           onboard at the time of the failure were not compatible with the equipment currently installed, which had been
                                                                                                                                                                                                              recently fitted to replace an obsolete unit. The spare parts onboard were intended for the old unit only.

QUEEN         9320556   Year 3 17-Jul-19   Cunard CUK      Nonconformit Training Program    Training            Introduction to Ineffective       Supervisor(s) Unaware Procedure(s) -        Training Issues   Non-Conformity-01: Some crew members in supervisory roles were not trained on the use of Global HESS and not
VICTORIA                                                   y                                Management          Global HESS                       of Global HESS        Not Followed                            familiar with the environmental procedures, including recent updates, applicable to their respective departments.

QUEEN         9320556   Year 3 17-Jul-19   Cunard CUK      Nonconformit Global HESS         Non-Conformity      Shore           Ineffective       Many Corrective and       Procedure(s) -    Corrective and    Non-Conformity-02: Some environmental incidents included in the flash reports had been found open for extensive
VICTORIA                                                   y            Management          Corrective and      Management                        Preventative Actions,     Not Followed      Preventative      periods of time (between 52 and 211 days) or closed without proper evidence that an ongoing investigation was
                                                                                            Preventative        Reviews                           Not Made In Timely                          Actions           completed.
                                                                                            Actions                                               Manner
QUEEN         9320556   Year 3 17-Jul-19   Cunard CUK      Nonconformit Certificate and     Class, Flag,        Vessel General Improper           Incorrect Lubricants      Procedure(s) -    Policies and   Non-Conformity-03: The Vessel General Permit (VGP) annual report for 2018 submitted by the company as required
VICTORIA                                                   y            Permit              Regulatory          Permit (VGP)                      Identified for Oil-To-    Not Followed      Procedures     by the U.S. EPA was found incorrect with regard to the use of environmental acceptable lubricant for oil-to-sea
                                                                        Management          Requirements                                          Sea Interfaces                                             interfaces.
QUEEN         9320556   Year 3 17-Jul-19   Cunard CUK      Nonconformit Garbage             Recording or        Hazardous       Improper          Inaccurate Entries,       Procedure(s) -    Record Keeping Non-Conformity-04: Some entries in the Garbage Record Books were found incorrect. Recent entries in the
VICTORIA                                                   y            Management          Logging             Waste Log                         Missing Signatures, Red   Not Followed      & Log Issues   “Hazardous Waste Log, Part 1: Red Bag Transfer and Disposal” were found with incomplete entries and missing
                                                                                                                                                  Bags                                                       signatures for receipt of the Recycle Center operator.
QUEEN         9320556   Year 3 17-Jul-19   Cunard CUK      Nonconformit Garbage             Processing and      Hazardous       Improper          Improper Collection       Procedure(s) -    WM: Garbage Non-Conformity-05: The current practices used to collect and store hazardous waste, including biohazard bags
VICTORIA                                                   y            Management          Storage             Waste                             and Storage, Red Bags     Not Followed      Management     (Domestic Hazardous Waste, commonly called Red bags), were found not in compliance with the applicable
                                                                                                                Materials                                                                                    company procedure for the Garbage Management “CUK-ENV-1301-DI1 - CUK Specific Instructions”.

QUEEN         9320556   Year 3 17-Jul-19   Cunard CUK      Nonconformit Garbage             Processing and      Hazardous       Improper          Sharps Receptacles,       Procedure(s) -    Record Keeping Non-Conformity-06: The current practices used to store and dispose the medical sharps was found not in
VICTORIA                                                   y            Management          Storage             Waste                             Uncontrolled, Not         Not Followed      & Log Issues   compliance with the applicable company procedure for the Garbage Management “CUK-ENV-1301-DI1 - CUK
                                                                                                                Materials                         Tracked                                                    Specific Instructions”. Sharp bins are not controlled, they were found not marked with tracking numbers, and the
                                                                                                                                                                                                             ones used in the ship’s SPA are provided externally by a third-party company.
QUEEN         9320556   Year 3 17-Jul-19   Cunard CUK      Nonconformit Fleet Maintenance Maintain Required Spare Parts         Ineffective       Spare Parts, Not     Procedure(s) -         Critical Spare Non-Conformity-07: There were no critical spare parts available for a food shredder that was out of service. The
VICTORIA                                                   y            Management        Spare Parts                                             Onboard, Not Ordered Not Followed           Parts          food shredder was replaced with a new model, but no spare parts were on board the ship for this model. The spares
                                                                                          Onboard - Ship                                                                                                     for the original unit were categorized as ECP critical spares.

WESTERDAM 9226891       Year 3 24-Jul-19   HAL   HA Group Nonconformit Global HESS          Non-Conformity      Shore           Improper          Corrective Actions,       Procedure(s) -    Corrective and    Non-Conformity-01: Internal Audit Nonconformity was closed without corrective action being in place. The internal
                                                          y            Management           Corrective and      Management                        Closed But Not            Not Followed      Preventative      RAAS audit finding 03 Non-Conformance Medium from the June 2018 audit was regarding incorrect garbage log
                                                                                            Preventative        Reviews                           Completed                                   Actions           entries in landing gray water ashore.
                                                                                            Actions
WESTERDAM 9226891       Year 3 24-Jul-19   HAL   HA Group Nonconformit Global HESS          Incident Analysis
                                                                                                            Corrective and Improper               Corrective Actions,       Procedure(s) -    Corrective and    Non-Conformity-02: A draft of the “Investigation Report WESTERDAM Biomass Discharge within 12 NM Japan, 1
                                                          y            Management                           Preventive                            Missing from HESS,        Not Followed      Preventative      April 2019” was on board, however, no report was available in Global HESS. There were no corrective actions on file
                                                                                                            Measures                              Incident Report                             Actions           associated with the incident.
WESTERDAM 9226891       Year 3 24-Jul-19   HAL   HA Group Nonconformit Sewage and Grey      Recording or    Sewage and     Improper               Alaska, Missing Manual    Procedure(s) -    Policies and      Non-Conformity-03: Gray Water and Sewage logbook (hardcopies) are required under the Alaska Cruise Ship statute
                                                          y            Water Operations     Logging         Grey Water                            Form                      Not Followed      Procedures        and 33 C.F.R. 159.315. Only electronic logs were provided to the TPA auditor.
                                                                       and Management                       Discharge Log
WESTERDAM 9226891       Year 3 24-Jul-19   HAL   HA Group Nonconformit Garbage              Garbage         Food Waste     Incomplete             Plan, Missing Systems     Procedure(s) -    WM: Garbage       Non-Conformity-04: The ship utilizes equipment in the recycling center in order to process garbage for discharge
                                                          y            Management           Management Plan System                                and Equipment             Not Followed      Management        ashore, and discharge of food waste overboard in certain areas. This garbage processing equipment is not included
                                                                                                                                                                                                                in the Garbage Management Plan on board. Additionally, parts of the onboard Garbage Management Plan are
                                                                                                                                                                                                                lacking document control.
WESTERDAM 9226891       Year 3 24-Jul-19   HAL   HA Group Nonconformit Sewage and Grey      Galley Grey Water Scupper Covers Ineffective          Multiple Scupper          Procedure(s) -    Policies and      Non-Conformity-05: Drain covers were not secured in three locations onboard. These unsecured drains were
                                                          y            Water Operations     Scupper Covers                                        Covers and Screws         Not Followed      Procedures        located on the Port and Starboard side of the Lido Deck food preparation and dishwashing areas.
                                                                       and Management                                                             Missing
WESTERDAM 9226891       Year 3 24-Jul-19   HAL   HA Group Nonconformit Garbage              Collection by       General Waste Improper            Solid Waste Materials,    Procedure(s) -    WM: Garbage       Non-Conformity-06: Garbage is not sorted at the source, as required by Global HESS and HA Group procedures. The
                                                          y            Management           Departments         Materials                         Not Separated at          Not Followed      Management        housekeeping staff carries all garbage from passenger cabins to the recycling center where it is sorted by recycling
                                                                                                                                                  Source                                                        center crew members.
CARNIVAL      9198367   Year 3 14-Aug-19   CCL   CCL       Nonconformit Global HESS         Incident Analysis   Incident Report Ineffective       79 Incident Reports       Procedure(s) -    Corrective and    Non-Conformity-01: Incident Report and Analysis dated on 01/31/2019 regarding a sheen that occurred when
GLORY                                                      y            Management                              Shoreside                         Awaiting Approval         Incomplete        Preventative      approved chemical was used for deck cleaning remains “open with no action in place.” There was no investigation
                                                                                                                Approvals                                                                     Actions           report and no corrective actions on file associated with the incident. Sea Event has 83 total environmental incident
                                                                                                                                                                                                                reports, 79 are “awaiting shoreside approval,” and 4 are “pending shoreside review.” No reports in Sea Event have
                                                                                                                                                                                                                been closed.
CARNIVAL      9198367   Year 3 14-Aug-19   CCL   CCL       Nonconformit Certificate and     Class, Flag,        NPDES permit    Incomplete        Incorrect Information, Procedure(s) -       Policies and      Non-Conformity-02: The National Pollutant Discharge Elimination System (NPDES) permit has incorrect information
GLORY                                                      y            Permit              Regulatory                                            AAQS Not Listed        Not Followed         Procedures        and does not list AAQS. Items C4, C5 and G7 have incorrect information and item H5 had no answer.
                                                                        Management          Requirements
CARNIVAL      9198367   Year 3 14-Aug-19   CCL   CCL       Observation Oily Bilge Water     Operational Tests   Bilge Control   Ineffective       Faulty Measuring Cell Pollution             PPE:              Observation-01: During the one-hour operational test of the Alfa Laval “Pure Bilge” OWS through the BCDB #1 the
GLORY                                                                   Management                              Discharge Box                     Resulted in Failed Test Equipment           Malfunction       system could not maintain an oil content below 15 ppm. The Alfa Laval OCM display indicated discharge at 1 ppm
                                                                                                                (BCDB)                                                    Malfunction                           but the BCDB # 1 OCM display was consistently above 15 ppm. The test was stopped and the measuring cell in the
                                                                                                                                                                                                                BCDB # 1 was replaced. The test was restarted using BCDB # 1 and a full one-hour test of overboard operations at
                                                                                                                                                                                                                below 15PPM through BCDB # 1 was successfully completed.
CARNIVAL      9198367   Year 3 14-Aug-19   CCL   CCL       Observation   Oily Bilge Water   Operational Tests   Oily Water      Ineffective       OWS Effluent Flow       Pollution           PPE:              Observation-02: During an operational one-hour test of the Alfa Laval “Pure Bilge” OWS, overboard operations
GLORY                                                                    Management                             Separator                         Rate Resulted in Failed Equipment           Malfunction       below 15 ppm through the BCDB # 2 could not be maintained. When OWS effluent was slowed to 1.9 m3/hr and
                                                                                                                                                  Test                    Malfunction                           directed through the “fine filter” the OCM white box display dropped below 15 ppm and the test was successfully
                                                                                                                                                                                                                completed.


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                IMO    Audit                                                                                       Component /       Finding Area      Finding Sub-Area   Issue Identified
Vessel Name                  Audit Close Line       Brand       Finding          System             Procedure                                                                               Finding Group                                                         Finding Description
               Number Year                                                                                            Process            (Ship)              (Ship)         (Procedural)
CARNIVAL      9198367 Year 3 14-Aug-19 CCL         CCL       Observation   Segregation and    Food Waste          Pulper/Food   Ineffective         Non-Food Wastes, Not Procedure(s) -    WM: Food             Observation-03: During an internal inspection of the pulper/magnetic trap in the recycling center, numerous metal
GLORY                                                                      Disposal of Food   Segregation         Chute/Manual                      Properly Separated   Inaccurate        Waste                bottle caps and other metal items were found, which identifies that the food segregation process is not efficient.
                                                                           Waste              Process             Feeding Hatch                                                            Segregation &
                                                                                                                                                                                           Disposal
ISLAND        9230402   Year 3 24-Aug-19   PCL     HA Group Nonconformit Environmental        Recording or        Handover        Improper          Use of Outdated      Procedure(s) -    Policies and         Non-Conformity-01: The EO used an outdated version of EO Handovers notes for the last two turnovers. Global
PRINCESS                                                    y            Officer Roles and    Logging                                               Handover Form        Not Followed      Procedures           HESS procedure ENV-1008-A2 (Environmental Officer Handover End of Contract Self-Assessment) was updated in
                                                                         Responsibilities                                                                                                                       August 2018.
ISLAND        9230402   Year 3 24-Aug-19   PCL     HA Group Nonconformit Segregation and      Food Waste          Grease Trap     Ineffective       Non-Food Wastes, Not Procedure(s) -       WM: Food          Non-Conformity-02: During an inspection of the ships grease trap, plastic was discovered.
PRINCESS                                                    y            Disposal of Food     Segregation                                           Properly Separated   Inaccurate           Waste
                                                                         Waste                Process                                                                                         Segregation &
                                                                                                                                                                                              Disposal
ISLAND        9230402   Year 3 24-Aug-19   PCL     HA Group Nonconformit Certificate and      Class, Flag,        MBR System      Ineffective       Missing, Updated         Procedure(s) -   Policies and    Non-Conformity-03: The MBR’s were replaced in March 2018. Vessel has not yet been provided with updated
PRINCESS                                                    y            Permit               Regulatory          Drawings                          Drawings for MBRs,       Not Followed     Procedures      drawings of sewage treatment system. Vessel recently requested this as a reminder via Email on 11-May-2019. No
                                                                         Management           Requirements                                          Class Approved                                            answer at the time of the audit had been received.
ISLAND        9230402   Year 3 24-Aug-19   PCL     HA Group Observation Human Resources       STCW                Work Hours      Improper          Work Hours and Rest      Procedure(s) -   Policies and    Observation-01: Concerns were raised by the engineer personnel in regard to Instructional Notice TEC/01/2019 –
PRINCESS                                                                                                          and Rest                          Periods, Improper        Not Followed     Procedures      Yellow Manning ECR / Machinery Spaces Requirements. Specifically, proper rest periods and available time for
                                                                                                                  Periods                                                                                     maintenance.
COSTA         9398917   Year 3 29-Aug-19   Costa   CMG       Major        Garbage             Overboard Food      Pulper/Food     Ineffective       Inoperable Due to Part Pollution          PPE: Inoperable Major Non-Conformity-01: One (1) shredder in the food pulper system located in the Recycling Center was found
DELIZIOSA                                                    Nonconformit Management          Waste Discharge     Chute/Manual                      Failure                Equipment                          out of service since August 15, 2019, due to the failure of an internal component. The unit had been sent ashore on
                                                             y                                System              Feeding Hatch                                            Inoperable                         August 18, 2019, to the manufacturer for assessment whether to repair or replace it. The second shredder onboard
                                                                                                                                                                                                              (Pulper B) is working with no deficiencies noted or reported.
COSTA         9398917   Year 3 29-Aug-19   Costa   CMG       Major        Fleet Maintenance Maintain Required Spare Parts         Improper          Spare Parts, Not     Procedure(s) -       Critical Spare  Major Non-Conformity-02: During the review of ECP critical spare parts, it was noted that there are no spare Faucet
DELIZIOSA                                                    Nonconformit Management        Spare Parts                                             Onboard, Not Ordered Not Followed         Parts           OWS cartridge sets onboard as required by the inventory list. Three (3) sets are required according to the ECP spare
                                                             y                              Onboard - Ship                                                                                                    parts list. Only two (2) OWS cartridge sets were found currently on order at the time of the audit.

COSTA         9398917   Year 3 29-Aug-19   Costa   CMG       Nonconformit Training Program    Training            Introduction to Ineffective       Supervisor(s) Unaware Procedure(s) -      Training Issues   Non-Conformity-01: The SPA manager was not trained on the use of Global HESS and was not able to locate the
DELIZIOSA                                                    y                                Management          Global HESS                       of Global HESS        Not Followed                          environmental procedures, including recent updates, applicable to her department.

COSTA         9398917   Year 3 29-Aug-19   Costa   CMG       Nonconformit Environmental       Recording or        ECS            Improper           Missing Entries, Lock    Procedure(s) -   Record Keeping Non-Conformity-02: It was noted there were no entries in the ECS lock log for unlocking the OWS overboard valve
DELIZIOSA                                                    y            Control System      Logging             Vulnerability                     Log                      Not Followed     & Log Issues   on August 18th, August 19th, August 23rd, and August 26th. OWS overboard operations were performed on those
                                                                                                                  Lists and Logs                                                                             dates according to ORB entries.
COSTA         9398917   Year 3 29-Aug-19   Costa   CMG       Nonconformit Exhaust Gas         Operation and       Exhaust Gas    Ineffective        EGCS Water Supply      Pollution          PPE:           Non-Conformity-03: The No. 1 MDG EGCS (AAQS) water supply piping in the stack space is corroded and holed and
DELIZIOSA                                                    y            Cleaning Systems    Maintenance         Cleaning                          Piping found Holed and Equipment          Malfunction    there are minor water leaks in the piping.
                                                                          (AAQS)                                  Systems (AAQS)                    Leaking                Malfunction

COSTA         9398917   Year 3 29-Aug-19   Costa   CMG       Nonconformit Waste Stream        TPA ECP Waste       Sample Points   Incomplete        Sample Points, Not       Procedure(s) -   Policies and      Non-Conformity-04: The sample plan was not correct. The clean bilge pump is a designated sample point on the
DELIZIOSA                                                    y            Sampling            Stream Sampling                                       Identified or Fitted     Not Followed     Procedures        plan. However, the clean bilge pump has been discontinued. In addition, there was no sample point for the Facet
                                                                                                                                                                                                                OWS. The sample plan is to be amended.
COSTA         9398917   Year 3 29-Aug-19   Costa   CMG       Positive      N/A                N/A                 N/A             N/A               N/A                      N/A              N/A               Observation (Positive)-01: As part of a Costa Cruises plan to cut food waste in half by 2020, a food waste
DELIZIOSA                                                    Observation                                                                                                                                        management system had been installed onboard COSTA DELIZIOSA. Once the food waste is segregated, the system
                                                                                                                                                                                                                records all data which is analyzed on a daily basis for review, continuous comparison with the baseline data, and
                                                                                                                                                                                                                implementation of immediate corrective action in a specific area onboard, if needed. This program could have a
                                                                                                                                                                                                                direct positive impact on the food waste reduction plan across Carnival Corporation if implemented by each
                                                                                                                                                                                                                Operating Line.
COSTA         9398917   Year 3 29-Aug-19   Costa   CMG       Observation   Oily Bilge Water   Operational Tests   Oil Content     Ineffective       OWS Effluent Flow       Pollution         PPE:              Observation-02: During the initial one (1) hour operational test of the Facet Static OWS the OCM failed to discharge
DELIZIOSA                                                                  Management                             Meter                             Rate Resulted in Failed Equipment         Malfunction       below 15 ppm. The test was stopped and the OCM measuring cell was chemically cleaned. Resumed the one (1)
                                                                                                                                                    Test                    Malfunction                         hour operational test and successfully completed.

CARNIVAL      9138850   Year 3 10-Sep-19   CCL     CCL       N/A           N/A                N/A                 N/A             N/A               N/A                      N/A              N/A               Supplemental audit conducted to follow-up on findings identified from May 15, 2019.
BREEZE
VEENDAM       9102992   Year 3 11-Sep-19   HAL     HA Group Major        Segregation and      Food Waste          Pulper/Food     Ineffective       Non-Food Wastes, Not Procedure(s) -       WM: Food          Major Non-Conformity-01: While observing an overboard discharge operation for previously segregated
                                                            Nonconformit Disposal of Food     Segregation         Chute/Manual                      Properly Separated   Inaccurate           Waste             comminuted food waste; nonfood items were found on the overboard food chute metal grill. Items included
                                                            y            Waste                Process             Feeding Hatch                                                               Segregation &     several pieces of plastic, paper food wrappers, aluminum foil and a silicone caulking.
                                                                                                                                                                                              Disposal
VEENDAM       9102992   Year 3 11-Sep-19   HAL     HA Group Major        Segregation and      Food Waste          Grease Trap     Ineffective       Non-Food Wastes, Not Procedure(s) -       WM: Food          Major Non-Conformity-02: An inspection of the ships galley grease traps found nonfood items. Items included large
                                                            Nonconformit Disposal of Food     Segregation                                           Properly Separated   Inaccurate           Waste             and small pieces of plastic packaging, pieces of paper, strips of silicone caulking, paper/plastic bottle top seals, and
                                                            y            Waste                Process                                                                                         Segregation &     time control dots for cooking.
                                                                                                                                                                                              Disposal
VEENDAM       9102992   Year 3 11-Sep-19   HAL     HA Group Major        Segregation and      Food Waste          Grey Water      Ineffective       Non-Food Wastes, Not Procedure(s) -       WM: Food          Major Non-Conformity-03: An inspection of the ships galley grey water drain tank found a nonfood item floating on
                                                            Nonconformit Disposal of Food     Segregation         Tanks                             Properly Separated   Inaccurate           Waste             the tanks surface. The item was a paper/plastic bottle top seal.
                                                            y            Waste                Process                                                                                         Segregation &
                                                                                                                                                                                              Disposal
VEENDAM       9102992   Year 3 11-Sep-19   HAL     HA Group Major          Sewage and Grey    Galley Grey Water Scupper Covers Ineffective          Multiple Scupper         Procedure(s) -   Policies and      Major Non-Conformity-04: In ship’s galley(s) and food preparation areas there are four (4) galley drain scupper
                                                            Nonconformit   Water Operations   Scupper Covers                                        Covers and Screws        Not Followed     Procedures        covers missing. Additionally, there is a noticeable air gap around galley grey water drain’s that will allow debris to
                                                            y              and Management                                                           Missing                                                     pass, even if the drain’s hardware is installed properly.
VEENDAM       9102992   Year 3 11-Sep-19   HAL     HA Group Nonconformit   Global HESS        Non-Conformity      Shore           Improper          Corrective Actions,      Procedure(s) -   Corrective and    Non-Conformity-01: The RAAS audit finding, item 002 (Garbage Management Plan, Appendix 6) from October 12,
                                                            y              Management         Corrective and      Management                        Completed by Ship, Not   Not Followed     Preventative      2018 audit is still open in Global HESS. The item has been addressed by ships staff, but nonconformity is passed its
                                                                                              Preventative        Reviews                           Closed in HESS                            Actions           due date.
                                                                                              Actions
VEENDAM       9102992   Year 3 11-Sep-19   HAL     HA Group Nonconformit Certificate and      Class, Flag,        IOPP            Incomplete        Not Updated, Tank        Procedure(s) -   Policies and      Non-Conformity-02: A Lube Oil tank has been converted into a sludge tank and is not listed on the IOPP certificate.
                                                            y            Permit               Regulatory                                            Conversion               Not Followed     Procedures
                                                                         Management           Requirements
VEENDAM       9102992   Year 3 11-Sep-19   HAL     HA Group Observation Global HESS           Maritime Quality    Practical and   Ineffective       Ineffective              Procedure(s) -   Policies and      Observation-01: It was also mentioned by some Deck officers that Global HESS procedure ENV-1001 – Worldwide
                                                                         Management           Assurance (MQA)     Clear HESS                        Procedure(s),            Inaccurate       Procedures        Cruising Environmental Standards, though a good tool, is complex and challenging to navigate to find information
                                                                                              and MP&A            Procedures                        Confusing, ENV-1001                                         and in some cases may be missing pertinent information on environmental standards for a certain area the ship may
                                                                                                                                                                                                                be scheduled to visit.




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                IMO    Audit                                                                                     Component /     Finding Area      Finding Sub-Area       Issue Identified
Vessel Name                  Audit Close Line     Brand       Finding         System            Procedure                                                                                   Finding Group                                                    Finding Description
               Number Year                                                                                          Process         (Ship)               (Ship)             (Procedural)
VEENDAM       9102992 Year 3 11-Sep-19 HAL       HA Group Observation    Human Resources Leadership             Trust, Care, Improper           Fear of Making           Procedure(s) -    Policies and   Observation-02: Auditors were told that some crew members are not receiving the allotted vacation time (3
                                                                                         Behavior               Openness                        Mistakes                 Incomplete        Procedures     months) between their 8-month contracts. During their 3-month scheduled vacation, they may get a call asking
                                                                                                                                                                                                          them to return 1 month early. In addition, they may have 1 month of required STCW training or medical
                                                                                                                                                                                                          evaluations. The time home with family is now reduced causing difficulties of focusing at work while onboard the
                                                                                                                                                                                                          ship. One crew member stated he said “No” to coming back early and afterwards was not called back until 6
                                                                                                                                                                                                          months later causing financial difficulties being out of work so long.

GOLDEN        9192351   Year 3 24-Sep-19   HAL   HA Group Nonconformit Training Program     Training Delivery   Environmental Incomplete        Missing, Court Ordered Procedure(s) -      Training Issues   Non-Conformity-01: The required court order statement to be issued to all employees regarding probation
PRINCESS                                                  y                                                     Awareness for                   Statement to All       Incomplete                            violations was not given to 172 joining crewmembers from the period August 18– Sept 21.
                                                                                                                Shipboard                       Employees

GOLDEN        9192351   Year 3 24-Sep-19   HAL   HA Group Nonconformit Global HESS          Non-Conformity      Shore            Improper       Corrective Actions,      Procedure(s) -    Corrective and    Non-Conformity-02: The TPA audit conducted in May 25-30, 2018 had one nonconformity (#7) and one observation
PRINCESS                                                  y            Management           Corrective and      Management                      Closed But Not           Not Followed      Preventative      (#8) that were both closed, however neither had corrective action in place.
                                                                                            Preventative        Reviews                         Completed                                  Actions
                                                                                            Actions

GOLDEN        9192351   Year 3 24-Sep-19   HAL   HA Group Nonconformit Sewage and Grey      Galley Grey Water Scupper Covers Ineffective        Multiple Scupper         Procedure(s) -    Policies and      Non-Conformity-03: Drain covers were found not secure in the galley on deck 6, 12, and 14.
PRINCESS                                                  y            Water Operations     Scupper Covers                                      Covers and Screws        Not Followed      Procedures
                                                                       and Management                                                           Missing
GOLDEN        9192351   Year 3 24-Sep-19   HAL   HA Group Nonconformit Segregation and      Food Waste          Supervision      Improper       Food Waste               Procedure(s) -    WM: Food          Non-Conformity-04: The ship was not compliant with Instructional Notice ENV 07/2019 as there was no supervision
PRINCESS                                                  y            Disposal of Food     System Control                                      Segregation, Not         Not Followed      Waste             present while crew members were carrying out food waste segregation in the crew mess area.
                                                                       Waste                                                                    Supervised                                 Segregation &
                                                                                                                                                                                           Disposal
GRAND         9104005   Year 3 26-Sep-19   HAL   HA Group Nonconformit Training Program     Recording or   Environmental Improper               Use of Outdated HESS     Procedure(s) -    Training Issues   Non-Conformity-01: The HESS Contractor Procedure Checklist was updated on 26 March 2019. Ship has been using
PRINCESS                                                  y                                 Logging        Awareness for                        Checklist                Not Followed                        a previous version.
                                                                                                           Contractors
GRAND         9104005   Year 3 26-Sep-19   HAL   HA Group Nonconformit Fleet Maintenance Maintain Required Spare Parts   Improper               Spare Parts, Not         Procedure(s) -    Critical Spare    Non-Conformity-02: The audit of ECP critical spare parts noted that three (3) float switches were recently used on
PRINCESS                                                  y            Management        Spare Parts                                            Onboard, Ordered         Not Followed      Parts             September 19, 2019 and zero (0) are remaining in the ECP spares. ECP spare parts inventory requires three (3) to be
                                                                                         Onboard - Ship                                                                                                      on hand. The replacement spare float switches have been ordered and scheduled for delivery on October 20, 23 and
                                                                                                                                                                                                             27, 2019.
GRAND         9104005   Year 3 26-Sep-19   HAL   HA Group Observation    Segregation and    Food Waste          Grease Trap      Ineffective    Non-Food Wastes, Not Procedure(s) -        WM: Food          Observation-01: A food sticker was found during an internal inspection of the galley grease traps.
PRINCESS                                                                 Disposal of Food   Segregation                                         Properly Separated   Not Followed          Waste
                                                                         Waste              Process                                                                                        Segregation &
                                                                                                                                                                                           Disposal
GRAND         9104005   Year 3 26-Sep-19   HAL   HA Group Observation    Oily Bilge Water   Operational Tests   Oil Content      Ineffective    Oil Content Filter       Pollution         PPE:            Observation-02: During the first attempt of a one (1) hour operational test of the No. 2 RWO Static OWS, the
PRINCESS                                                                 Management                             Meter                           Cleaned                  Equipment         Malfunction     transferring unit went into an oil dump cycle and would not return to normal overboard operation. The test was
                                                                                                                                                                         Malfunction                       stopped, and the oil content filter was changed. After changing the filter, the 1-hour operational test was
                                                                                                                                                                                                           successfully completed.
CARNIVAL      9236389   Year 3 6-Oct-19    CCL   CCL       Major        Exhaust Gas         Operation and       Exhaust Gas    Ineffective      Two EGCS found           Pollution         PPE: Inoperable Major Non-Conformity-01: The Exhaust Gas Cleaning System (EGCS) for MDG No. 5 and No. 6 are not operational
VALOR                                                      Nonconformit Cleaning Systems    Maintenance         Cleaning                        Inoperable Due to        Equipment                         due to the failure of the exhaust gas SO2/Co2 analyzer. No. 4 MDG ECGS is non-operational due to extensive repairs
                                                           y            (AAQS)                                  Systems (AAQS)                  Missing Parts and        Inoperable                        to the exhaust gas piping (exhaust flue).
                                                                                                                                                Wasted Exhaust Flue
CARNIVAL      9236389   Year 3 6-Oct-19    CCL   CCL       Observation   Segregation and    Food Waste          Pulper/Food      Ineffective    Non-Food Wastes, Not     Procedure(s) -    WM: Food          Observation-01: Upon inspection of the magnetic trap for the food waste system, 19 metal pieces such as a spoon,
VALOR                                                                    Disposal of Food   Segregation         Chute/Manual                    Properly Separated       Not Followed      Waste             knife, bottle caps, and hair pins were found. This finding indicates an inadequate food waste segregation process
                                                                         Waste              Process             Feeding Hatch                                                              Segregation &     prior to material entering the food waste system.
                                                                                                                                                                                           Disposal
CARNIVAL    9053878     Year 3 9-Oct-19    CCL   CCL       Nonconformit Training Program    Recording or        Workplace     Ineffective       Missing, Training on     Procedure(s) -    Training Issues   Non-Conformity-01: The were no records on file to indicate training on the recently installed ORCA system was
IMAGINATION                                                y                                Logging             Specific                        Use of Digesters         Incomplete                          given to Recycling Center team members.
                                                                                                                Environmental                   (ORCA)
                                                                                                                Instructions
CARNIVAL    9053878     Year 3 9-Oct-19    CCL   CCL       Nonconformit Garbage             Recording or        Hazardous     Improper          Missing Entries, Sharps Procedure(s) -     Record Keeping Non-Conformity-02: Sharps containers were in use at the Boatswain’s storeroom and Recycling Center but were
IMAGINATION                                                y            Management          Logging             Waste Log                       Container Locations     Not Followed       & Log Issues   not on file as in use by Medical Center. The sharps container in use by the Spa was not the same container as
                                                                                                                                                                                                          documented as being in use by the Medical Center.
CARNIVAL    9053878     Year 3 9-Oct-19    CCL   CCL       Observation   Global HESS        Maritime Quality    Practical and   Ineffective     Incomplete               Procedure(s) -    Policies and   Observation-01: There is no specific procedure in Global HESS addressing the disposal of non-narcotic expired
IMAGINATION                                                              Management         Assurance (MQA)     Clear HESS                      Procedure(s), Disposal   Incomplete        Procedures     prescription and non-prescription drugs.
                                                                                            and MP&A            Procedures                      of Non-Narcotic Drugs
MAJESTIC      9614141   Year 3 17-Oct-19   HAL   HA Group Nonconformit Training Program     Training            Introduction to Ineffective     Supervisor(s) Unaware    Procedure(s) -    Training Issues   Non-Conformity-01: The Print Shop Manager was unable to log into Global HESS when asked to retrieve the
PRINCESS                                                  y                                 Management          Global HESS                     of Global HESS           Not Followed                        procedure for disposing of hazardous materials.

MAJESTIC      9614141   Year 3 17-Oct-19   HAL   HA Group Nonconformit Global HESS          Non-Conformity      Shore            Improper       Corrective Actions,   Procedure(s) -       Corrective and    Non-Conformity-02: The RAAS audit finding, Item 06 (Bilge Water and Oily Water Management) from the April
PRINCESS                                                  y            Management           Corrective and      Management                      Completed by Ship But Not Followed         Preventative      2019 audit is still open in Global HESS. The item has been addressed by ship’s staff, but nonconformity is passed its
                                                                                            Preventative        Reviews                         Not Closed                                 Actions           due date.
                                                                                            Actions
MAJESTIC      9614141   Year 3 17-Oct-19   HAL   HA Group Nonconformit Garbage              Recording or        Hazardous        Improper       Inaccurate Entries, Red Procedure(s) -     Record Keeping Non-Conformity-03: Red bags deposited in the Recycle Center are not being properly logged.
PRINCESS                                                  y            Management           Logging             Waste Log                       Bags                    Not Followed       & Log Issues

MAJESTIC      9614141   Year 3 17-Oct-19   HAL   HA Group Nonconformit Garbage              Processing and      Hazardous        Improper       Hazardous Waste          Procedure(s) -    Policies and      Non-Conformity-04: Three full plastic liquid hazmat containers in the Recycle Center for disposal without secondary
PRINCESS                                                  y            Management           Storage             Waste                           Storage Area, No         Not Followed      Procedures        containment.
                                                                                                                Materials                       Containment
MAJESTIC      9614141   Year 3 17-Oct-19   HAL   HA Group Nonconformit Segregation and      Food Waste          Pulper/Food      Ineffective    Non-Food Wastes, Not     Procedure(s) -    WM: Food       Non-Conformity-05: While inspecting pulper station on deck 16 Port, found foil in the pulper.
PRINCESS                                                  y            Disposal of Food     Segregation         Chute/Manual                    Properly Separated       Not Followed      Waste
                                                                       Waste                Process             Feeding Hatch                                                              Segregation &
                                                                                                                                                                                           Disposal
MAJESTIC      9614141   Year 3 17-Oct-19   HAL   HA Group Nonconformit Environmental        Recording or        ECS              Improper       Missing Entries, Lock    Procedure(s) -    Record Keeping Non-Conformity-06: The last three months of the padlock log were found with 11 entries where padlocks were
PRINCESS                                                  y            Control System       Logging             Vulnerability                   Log                      Not Followed      & Log Issues   unlocked or locked without a corresponding entry.
                                                                                                                Lists and Logs




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Vessel Name                  Audit Close Line       Brand      Finding          System              Procedure                                                                                 Finding Group                                                    Finding Description
               Number Year                                                                                           Process            (Ship)              (Ship)            (Procedural)
MAJESTIC      9614141 Year 3 17-Oct-19 HAL        HA Group Observation    Segregation and     Food Waste         Pulper/Food   Ineffective         Non-Food Wastes, Not Procedure(s) -       WM: Food        Observation-01: A plastic sticker was found in the grease trap that services the LIDO Deck Galley.
PRINCESS                                                                  Disposal of Food    Segregation        Chute/Manual                      Properly Separated      Not Followed      Waste
                                                                          Waste               Process            Feeding Hatch                                                               Segregation &
                                                                                                                                                                                             Disposal
MAJESTIC      9614141   Year 3 17-Oct-19   HAL    HA Group Observation    Human Resources STCW                   Work Hours      Improper          Work Hours and Rest Procedure(s) -        Policies and    Observation-02: In several discussions with some ship engineers, it was stated that even though they understand
PRINCESS                                                                                                         and Rest                          Periods, Improper       Not Followed      Procedures      the demands on their time to properly conduct their duties and responsibilities, they sometimes feel the amount of
                                                                                                                 Periods                                                                                     extra work and the related man hours (special projects, retro fits, ECP requirements, etc.) that continues to be
                                                                                                                                                                                                             placed upon them by management is not fully understood. One example given were the requirements of Yellow
                                                                                                                                                                                                             Manning.
MAJESTIC      9614141   Year 3 17-Oct-19   HAL    HA Group Observation  Fleet Maintenance Maintain Required Spare Parts     Ineffective            Spare Parts, Not        Procedure(s) -    Critical Spare  Observation-03: The Circlips are not listed as critical spares for the Westfalia centrifugal oily water separator
PRINCESS                                                                Management        Spare Parts                                              Identified as Critical, Not Followed      Parts           (COWS). Two (2) independent three-way valves installed on the unit have had the same internal component (Circlip)
                                                                                          Onboard -                                                OWS Valves, Not                                           that failed. A new Circlip was manufactured on board out of a stronger material (stainless steel) than what was
                                                                                          Shoreside                                                Ordered                                                   provided through the parts system.
ROYAL         9584712   Year 3 29-Oct-19   PCL    HA Group Nonconformit Training Program Training           Introduction to Ineffective            Supervisor(s) Unaware Procedure(s) -      Training Issues Non-Conformity-01: The Photo Manager was found not trained to use the Global HESS platform and was not able
PRINCESS                                                   y                              Management        Global HESS                            of Global HESS          Not Followed                      to locate the environmental procedures, including recent updates, applicable to her department.


ROYAL         9584712   Year 3 29-Oct-19   PCL    HA Group Nonconformit Garbage               Recording or       Hazardous       Incomplete        Missing Logs, Retention Procedure(s) -    Record Keeping Non-Conformity-02: The Hazardous Waste logs between April 18, 2017 and September 8, 2017 were not found on
PRINCESS                                                   y            Management            Logging            Waste Log                         of Records              Not Followed      & Log Issues   the ship. ECP and company retention policy require to maintain these records onboard for five (5) years.

ROYAL         9584712   Year 3 29-Oct-19   PCL    HA Group Nonconformit Garbage               Processing and   Hazardous      Ineffective          Multiple Processes,      Procedure(s) -   WM: Garbage       Non-Conformity-03: Waste management practices followed by the ship were not in compliance with the company’s
PRINCESS                                                   y            Management            Storage          Waste                               Improper                 Not Followed     Management        Garbage Management Plan procedures.
                                                                                                               Materials
ROYAL         9584712   Year 3 29-Oct-19   PCL    HA Group Nonconformit Staff Captain         Deck Maintenance Scupper Covers Improper             Covers Missing Screws,   Procedure(s) -   Policies and      Non-Conformity-04: Multiple scupper drains covers located in the Aft Mooring station on Deck 5, were found
PRINCESS                                                   y            Environmental                                                              Direct Discharge         Not Followed     Procedures        missing all screws to secure the covers to the deck. These scuppers have direct connection overboard.
                                                                        Responsibilities                                                           Overboard
ROYAL         9584712   Year 3 29-Oct-19   PCL    HA Group Nonconformit Segregation and       Food Waste         Grease Trap     Ineffective       Non-Food Wastes, Not     Procedure(s) -   WM: Food          Non-Conformity-05: During the internal inspection of the Main Galley/Lido Galley grease trap #2, plastic cling film, a
PRINCESS                                                   y            Disposal of Food      Segregation                                          Properly Separated       Not Followed     Waste             plastic bottle cap, pieces of plastic gloves, a rubber band, and stickers were found.
                                                                        Waste                 Process                                                                                        Segregation &
                                                                                                                                                                                             Disposal
ROYAL         9584712   Year 3 29-Oct-19   PCL    HA Group Nonconformit Fuel Bunkering        Recording or       Lube Oil        Improper          Missing and Incorrect    Procedure(s) -   Record Keeping    Non-Conformity-06: Lube Oil Bunkering checklists between March 2019 and September 2019 were not being filled
PRINCESS                                                   y                                  Logging            Bunkering                         Entries                  Not Followed     & Log Issues      out properly.
                                                                                                                 Checklist
ROYAL         9584712   Year 3 29-Oct-19   PCL    HA Group Positive       N/A                 N/A                N/A             N/A               N/A                      N/A              N/A               Observation (Positive)-01: This ship has made a video that shows how to operate the Oily Water Separators and
PRINCESS                                                   Observation                                                                                                                                         how to perform maintenance of their components. This video can be shown on the TV screen located in the
                                                                                                                                                                                                               machinery space where the OWS units are located.
SAPPHIRE      9228186   Year 3 3-Nov-19    PCL    HA Group Nonconformit Training Program      Recording or       Environmental Improper            Use of Outdated HESS     Procedure(s) -   Training Issues   Non-Conformity-01: Ship is using an outdated version of the HESS Contractor Procedure Checklist. The checklist was
PRINCESS                                                   y                                  Logging            Awareness for                     Checklist                Not Followed                       updated on March 26, 2019.
                                                                                                                 Contractors
SAPPHIRE      9228186   Year 3 3-Nov-19    PCL    HA Group Nonconformit Machinery Space       Recording or       Oil Record Book Improper          Inaccurate Entries,      Procedure(s) -   Record Keeping Non-Conformity-02: The Oil Record Book had an incorrect entry on October 13, 2019 that did not correspond to the
PRINCESS                                                   y            Operations            Logging                                              Portable Pump Use        Not Followed     & Log Issues   portable pump log entry written on October 14, 2019.

SAPPHIRE      9228186   Year 3 3-Nov-19    PCL    HA Group Nonconformit Garbage               Recording or       Hazardous       Improper          Missing Dates and        Procedure(s) -   Record Keeping Non-Conformity-03: The Hazardous Waste Log for red bags identified disposals but was missing several dates of
PRINCESS                                                   y            Management            Logging            Waste Log                         Signatures, EO, Red      Not Followed     & Log Issues   disposal and Environmental Officers signature for verification.
                                                                                                                                                   Bags
SAPPHIRE      9228186   Year 3 3-Nov-19    PCL    HA Group Nonconformit Segregation and       Food Waste         Grease Trap     Ineffective       Non-Food Wastes, Not     Procedure(s) -   WM: Food          Non-Conformity-04: A piece of plastic and silicone caulking were found during an internal inspection of the galley
PRINCESS                                                   y            Disposal of Food      Segregation                                          Properly Separated       Not Followed     Waste             grease traps.
                                                                        Waste                 Process                                                                                        Segregation &
                                                                                                                                                                                             Disposal
SAPPHIRE      9228186   Year 3 3-Nov-19    PCL    HA Group Observation    Refrigerant Gases   Recording or       Refrigerant     Improper          Uncontrolled Form,       Procedure(s) -   Policies and      Observation-01: The printed versions of refrigerant logs are uncontrolled.
PRINCESS                                                                                      Logging            Record Book                       Global HESS              Inaccurate       Procedures

AIDADIVA      9334856   Year 3 5-Nov-19    AIDA   CMG       Major        Garbage              Overboard Food     Pulper/Food     Ineffective       Inoperable Due to Part Pollution          PPE: Inoperable Major Non-Conformity-01: The waste processing equipment is not operational. Only one (1) food shredder on the
                                                            Nonconformit Management           Waste Discharge    Chute/Manual                      Failure                Equipment                          pulper system is operational. The second shredder broke down on August 28, 2019 and the ship has had only one (1)
                                                            y                                 System             Feeding Hatch                                            Inoperable                         shredder working since then. The expected arrival date for the ordered spare parts’ is November 30, 2019.

AIDADIVA      9334856   Year 3 5-Nov-19    AIDA   CMG       Nonconformit Sludge and Oily    Recording or         Sludge and Oily Improper          Missing Signature,       Procedure(s) -   Record Keeping Non-Conformity-01: The checklist for sludge and water discharge to port facility (TEC 1401 A1) was not signed by
                                                            y            Water Discharge to Logging              Water                             Chief Engineer           Not Followed     & Log Issues   the Chief Engineer for the October 23, 2019 transfer of sludge ashore.
                                                                         a Port Facility                         Discharge to a
                                                                                                                 Port Facility
                                                                                                                 Checklist
AIDADIVA      9334856   Year 3 5-Nov-19    AIDA   CMG       Nonconformit Sludge and Oily    Recording or         Sludge and Oily Improper          Missing, Time Entries    Procedure(s) -   Record Keeping Non-Conformity-02: Start and stop transfer times were not completed on the checklist for sludge and water
                                                            y            Water Discharge to Logging              Water                                                      Not Followed     & Log Issues   transfers ashore (TEC 1401 A1) for the October 23, 2019 transfer of sludge ashore.
                                                                         a Port Facility                         Discharge to a
                                                                                                                 Port Facility
                                                                                                                 Checklist
AIDADIVA      9334856   Year 3 5-Nov-19    AIDA   CMG       Nonconformit Global HESS          Maritime Quality   QA/QC of HESS Ineffective         Ineffective              Procedure(s) -   Policies and      Non-Conformity-03: The Food Segregation labeling is incorrect and indicates hard food should be placed in soft
                                                            y            Management           Assurance (MQA)    Procedures                        Procedure(s), Hard       Inaccurate       Procedures        food bin. The office was notified of this deficiency; however, no corrective action is in place.
                                                                                              and MP&A                                             Food Collection
AIDADIVA      9334856   Year 3 5-Nov-19    AIDA   CMG       Nonconformit Environmental        Posting            MARPOL Annex Improper             Outdated Placards,       Procedure(s) -   Policies and      Non-Conformity-04: The required Marpol V placard was not in place at each of the four (4) pulpers that were
                                                            y            Signage              Requirements       V Placard(s)                                               Not Followed     Procedures        checked in the galley, nor at the one (1) in the recycling center; no placard was found posted in the Crew Lounge.

AIDADIVA      9334856   Year 3 5-Nov-19    AIDA   CMG       Nonconformit Segregation and      Recording or       Pulper/Food     Ineffective       Not Used, Pulper Log     Procedure(s) -   Record Keeping Non-Conformity-05: The required Pulper Log is not in use at the Recycling Center.
                                                            y            Disposal of Food     Logging            Chute/Manual                                               Not Followed     & Log Issues
                                                                         Waste                                   Feeding Hatch
                                                                                                                 Food Waste
                                                                                                                 Disposal List
                                                                                                                 and Log


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Vessel Name                  Audit Close Line      Brand      Finding          System             Procedure                                                                                  Finding Group                                                   Finding Description
               Number Year                                                                                           Process           (Ship)                 (Ship)         (Procedural)
SEABOURN      9483126 Year 3 10-Nov-19 SCL       HA Group Nonconformit Machinery Space      Recording or        Oil Record Book Improper           Missing Entries, RepairProcedure(s) -    Record Keeping Non-Conformity-01: Flash report incidents dated August 21, 2019 and June 24, 2019 were not accurately recorded
QUEST                                                     y            Operations           Logging                                                of Oil Filtering       Not Followed      & Log Issues    in the Oil Record Book. Both incidents required repairs to the oil filtering equipment and should have been properly
                                                                                                                                                   Equipment                                                recorded in the Oil Record Book.
SEABOURN      9483126   Year 3 10-Nov-19   SCL   HA Group Nonconformit Environmental        Recording or        ECS              Improper          Missing Entries and    Procedure(s) -    Record Keeping Non-Conformity-02: Audited last two months of the padlock log and found multiple entries where padlocks were
QUEST                                                     y            Control System       Logging             Vulnerability                      Signatures, Lock Log   Not Followed      & Log Issues    unlocked or locked without a corresponding entry; missing signatures of persons unlocking the locks; and missing
                                                                                                                Lists and Logs                                                                              signatures of officers on watch.
SEABOURN      9483126   Year 3 10-Nov-19   SCL   HA Group Observation    Segregation and    Food Waste          Grease Trap      Ineffective       Non-Food Wastes, Not Procedure(s) -      WM: Food        Observation-01: While conducting the weekly inspection of the grease trap, small pieces of rubber and plastic were
QUEST                                                                    Disposal of Food   Segregation                                            Properly Separated     Not Followed      Waste           found.
                                                                         Waste              Process                                                                                         Segregation &
                                                                                                                                                                                            Disposal
SEABOURN      9483126   Year 3 10-Nov-19   SCL   HA Group Observation    Oily Bilge Water   Operational Tests   Oily Water       Ineffective       Belt and Friction Pads Pollution         PPE:            Observation-01: During the first attempt of the one (1) hour operational test of the Alpha Laval Centrifugal OWS,
QUEST                                                                    Management                             Separator                          Replaced               Equipment         Malfunction     the OWS triggered an alarm for low RPM and began to shut down. The test was stopped for the day to investigate
                                                                                                                                                                          Malfunction                       what caused the shutdown of the OWS. After changing the belt and friction pads, the one-hour operational test was
                                                                                                                                                                                                            successfully completed the following day.
CARNIVAL      9198355   Year 3 19-Nov-19   CCL   CCL       Major        Exhaust Gas         Operation and       Exhaust Gas    Ineffective         Two EGCS found         Pollution         PPE: Inoperable Major Non-Conformity-01: The Exhaust Gas Cleaning System (EGCS) installed for engines DG4, DG5, and DG6 are
CONQUEST                                                   Nonconformit Cleaning Systems    Maintenance         Cleaning                           Inoperable Due to      Equipment                         out of service and currently undergoing underway repairs for cracks in the structure of the exhaust system. The
                                                           y            (AAQS)                                  Systems (AAQS)                     Exhaust System Cracks Inoperable                         estimated time for completion of these repairs is mid-December.

CARNIVAL      9198355   Year 3 19-Nov-19   CCL   CCL       Nonconformit Segregation and     Food Waste          Pulper/Food      Ineffective       Non-Food Wastes, Not Procedure(s) -        WM: Food        Non-Conformity-01: Upon inspection of the magnetic trap for the food waste system, it was found to have
CONQUEST                                                   y            Disposal of Food    Segregation         Chute/Manual                       Properly Separated   Not Followed          Waste           approximately twenty-six (26) metal items and one (1) rag in it. The metal items were spoons, bottle caps, bolts,
                                                                        Waste               Process             Feeding Hatch                                                                 Segregation &   screws, salt and pepper shaker lids, and hair pins. This finding indicates an inadequate food waste segregation
                                                                                                                                                                                              Disposal        process prior to material entering the food waste system.
CARNIVAL      9198355   Year 3 19-Nov-19   CCL   CCL       Positive     N/A                 N/A                 N/A              N/A               N/A                       N/A              N/A             Observation (Positive)-01: The experience of the Chief Engineer ordered a needed spare part not on the critical
CONQUEST                                                   Observation                                                                                                                                        spare parts list for the Alfa Laval Pure Bilge centrifugal OWS.
CARNIVAL      8711344   Year 3 22-Nov-19   CCL   CCL       Major        Ballast Water       Ballast Water     Ballast System     Improper          Piping Bypasses BWTS, Pollution            PPE: Inoperable Major Non-Conformity-01: The ship reported that the physical layout of ballast system pipes and valves for #8 port
ESCTASY                                                    Nonconformit Management          Treatment Systems Pipes and                            Design Improper       Equipment                            ballast tank bypasses the Ballast Water Treatment System (BWTS) while taking on ballast water.
                                                           y                                                  Valves                                                     Inoperable

CARNIVAL      8711344   Year 3 22-Nov-19   CCL   CCL       Nonconformit Garbage             Processing and      Hazardous        Ineffective       Multiple Processes,       Procedure(s) -   WM: Garbage       Non-Conformity-01: The storing of hazardous waste delivered to the Recycling Center is not in compliance with
ESCTASY                                                    y            Management          Storage             Waste                              Improper                  Not Followed     Management        Global HESS ENV-1301, which requires that all hazardous waste delivered to a waste disposal area be stored in a
                                                                                                                Materials                                                                                       dedicated and secure area. This area must be marked off or physically isolated for the storage of hazardous waste
                                                                                                                                                                                                                and prevention of unauthorized entry.
CARNIVAL      8711344   Year 3 22-Nov-19   CCL   CCL       Nonconformit Environmental       Lock, Seal, and     Lock and Key     Ineffective       Vulnerability             Procedure(s) -   Policies and      Non-Conformity-02: The latest vessel Vulnerability Assessment completed June 13, 2019 designates vulnerability
ESCTASY                                                    y            Control System      Weld                Management                         Assessment Improper       Incomplete       Procedures        points 5.05 and 5.17 as ECR controlled red locks for access to the Bilge Control Discharge Boxes. This conflicts with
                                                                                            Requirements        Controls                           for BCDB Access                                              Carnival policy that states only the Chief Engineer and Environmental Officer will hold the keys for access to the
                                                                                                                                                   Control                                                      BCDBs.
CARNIVAL      8711344   Year 3 22-Nov-19   CCL   CCL       Nonconformit Waste Stream        TPA ECP Waste       Sample Bottles Ineffective         Sample Bottles, Not       Procedure(s) -   Policies and      Non-Conformity-03: There were not sufficient sample bottles onboard to test all the sample points in accordance
ESCTASY                                                    y            Sampling            Stream Sampling                                        Enough Onboard            Not Followed     Procedures        with the current ship sample plan.
CARNIVAL      8711344   Year 3 22-Nov-19   CCL   CCL       Observation Oily Bilge Water     Operational Tests   Oil Content      Ineffective       Line Leading to the       Pollution        PPE:              Observation-01: During the first three (3) attempts of a one (1) hour operational test of the No. 1 Marinefloc 2.0
ESCTASY                                                                 Management                              Meter                              Measuring Cell Cleaned    Equipment        Malfunction       Static OWS, the unit shut down on high PPM content. The line leading to the measuring cell was removed and
                                                                                                                                                                             Malfunction                        cleaned. The OWS was restarted and a successful one (1) hour test was completed.

REGAL         9584724   Year 3 4-Dec-19    PCL   HA Group Nonconformit Training Program     Recording or        Environmental Incomplete           Missing, Records of       Procedure(s) -   Record Keeping Non-Conformity-01: The record logs for training given to contractors were found incomplete and not properly
PRINCESS                                                  y                                 Logging             Awareness for                      Training                  Not Followed     & Log Issues   maintained.
                                                                                                                Contractors
REGAL         9584724   Year 3 4-Dec-19    PCL   HA Group Nonconformit Environmental        Posting             Chemicals and Ineffective          Signs Not Posted          Procedure(s) -   Policies and      Non-Conformity-02: The signs prohibiting disposal of chemicals or oils via sinks, toilets or drains were not posted at
PRINCESS                                                  y            Signage              Requirements        Oils in Sinks and                                            Not Followed     Procedures        sinks located in the main laundry.
                                                                                                                Drains
REGAL         9584724   Year 3 4-Dec-19    PCL   HA Group Nonconformit Garbage              Recording or        Hazardous         Improper         Missing Signatures, EO Procedure(s) -      Record Keeping Non-Conformity-03: The Hazardous waste and cooking waste logs located in the recycle center were found missing
PRINCESS                                                  y            Management           Logging             Waste Log                                                 Not Followed        & Log Issues    signatures by the waste operator for receiving hazardous waste and by the Environmental Officer for entry
                                                                                                                                                                                                              verification.
STAR          9192363   Year 3 8-Dec-19    PCL   HA Group Nonconformit Training Program     Recording or        Environmental Improper             Use of Outdated HESS      Procedure(s) -   Training Issues Non-Conformity-01: Ship is using an outdated version of the HESS Contractor Procedure Checklist. The checklist was
PRINCESS                                                  y                                 Logging             Awareness for                      Checklist                 Not Followed                     updated on March 26, 2019.
                                                                                                                Contractors
STAR          9192363   Year 3 8-Dec-19    PCL   HA Group Nonconformit Certificate and      Class, Flag,        Non-Tank      Incomplete           Annual Exercise to        Procedure(s) -   Policies and      Non-Conformity-02: The Non-Tank Vessel Response Plan (NTVRP) Remote Assessment and Consultation (RAC) drill
PRINCESS                                                  y            Permit               Regulatory          Vessel                             Include Firefighting,     Not Followed     Procedures        was not completed. NTVRP Section 7.1.1 requires a Remote Assessment and Consultation (RAC) exercise to be
                                                                       Management           Requirements        Response Plan                      Not Completed                                                completed annually and 7.2.3 requires that the exercise include firefighting at least once every three years.
                                                                                                                (NTVRP)
STAR          9192363   Year 3 8-Dec-19    PCL   HA Group Nonconformit Garbage              Recording or        Hazardous     Ineffective          Log is Outdated and       Procedure(s) -   Record Keeping Non-Conformity-03: The “Hazardous Waste Log” ENV 1301 in Global HESS is not a controlled log. This log conflicts
PRINCESS                                                  y            Management           Logging             Waste Log                          Uncontrolled              Not Followed     & Log Issues   with “Hazardous Waste Log ENV 1301-A4 form issued Oct 2019”, which is a controlled log, issued for all brand use.




STAR          9192363   Year 3 8-Dec-19    PCL   HA Group Observation    Certificate and    Class, Flag,        Non-Tank         Improper          Incorrect Storage         Procedure(s) -   Policies and      Observation-01: Non-Tank Vessel Response Plan (NTVRP) Appendix 6 “Oil Spill Equipment List” indicates incorrect
PRINCESS                                                                 Permit             Regulatory          Vessel                             Location, Oil Spill       Not Followed     Procedures        storage location for required equipment on board. Equipment is listed as located either inside of, or outside of the
                                                                         Management         Requirements        Response Plan                      Equipment List                                               port bunker station.
                                                                                                                (NTVRP)
CARNIVAL      9172648   Year 3 12-Dec-19   CCL   CCL       Nonconformit Environmental       Lock, Seal, and     Lock and Key     Ineffective       Vulnerability             Procedure(s) -   Policies and      Non-Conformity-01: The latest vessel vulnerability assessment completed designates vulnerability point for access
VICTORY                                                    y            Control System      Weld                Management                         Assessment Improper       Incomplete       Procedures        to the Bilge Control Discharge Boxes (BCDB) as “Red Locks”. This is in conflict with Carnival policy that only the Chief
                                                                                            Requirements        Controls                           for BCDB Access                                              Engineer and Environmental Officer will hold the only keys for access to the BCDBs.
                                                                                                                                                   Control
CARNIVAL      9224726   Year 3 18-Dec-19   CCL   CCL       Nonconformit Training Program    Training            Introduction to Ineffective        Supervisor(s) Unaware     Procedure(s) -   Training Issues   Non-Conformity-01: A crewmember was not aware of his log-in credentials that would allow for access to the
LEGEND                                                     y                                Management          Global HESS                        of Global HESS            Not Followed                       Global HESS platform to view environmental procedures applicable to his department.

CARNIVAL      9224726   Year 3 18-Dec-19   CCL   CCL       Nonconformit Training Program    Recording or        Environmental Incomplete           Missing, Signatures of    Procedure(s) -   Record Keeping Non-Conformity-02: A record of signatures from vendors, technicians and other non-crewmember representatives
LEGEND                                                     y                                Logging             Awareness for                      Contractors               Not Followed     & Log Issues   to acknowledge their receipt of an Environmental Awareness for Contractors and Vendors brochure was not
                                                                                                                Contractors                                                                                  recorded for eleven (11) representatives that boarded the ship in Tampa, Florida on December 15, 2019.



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                IMO    Audit                                                                                 Component /      Finding Area                Finding Sub-Area    Issue Identified
Vessel Name                  Audit Close Line     Brand      Finding           System         Procedure                                                                                         Finding Group                                                 Finding Description
               Number Year                                                                                      Process          (Ship)                         (Ship)          (Procedural)
CARNIVAL      9224726 Year 3 18-Dec-19 CCL       CCL       Nonconformit Fleet Maintenance Maintain Required Spare Parts   Improper                     Spare Parts for EGCS, Procedure(s) -    Critical Spare Non-Conformity-03: Nonconformity #4 from the RAAS audit conducted on March 13, 2019 addressing manufacturer
LEGEND                                                     y            Management        Spare Parts                                                  Not Onboard, Ordered, Not Followed      Parts          required spare parts for the Exhaust Gas Cleaning Systems (EGCS) has been closed in Global HESS by shoreside
                                                                                          Onboard -                                                    Closed in Global HESS                                  personnel, however none of the spare parts have been delivered to the ship.
                                                                                          Shoreside
CARNIVAL      9224726   Year 3 18-Dec-19   CCL   CCL       Nonconformit Staff Captain     Deck Maintenance Scupper Covers Improper                     Covers Missing Screws, Procedure(s) -      Policies and      Non-Conformity-04: Multiple scupper covers located on weather decks were found not secured to the deck or were
LEGEND                                                     y            Environmental                                                                  Improper Size, Direct Not Followed         Procedures        not properly sized to adequately block solid waste materials from entering scuppers with direct connections
                                                                        Responsibilities                                                               Discharge Overboard                                          overboard.

CARNIVAL      9224726   Year 3 18-Dec-19   CCL   CCL       Nonconformit Oil-to-Sea          Recording or       Oil-to-Sea         Improper             Missing Information in Procedure(s) -      Record Keeping Non-Conformity-05: The Oil-to-Sea Interface Log (ENV-1202-A2) is missing information in the “Explanation” block
LEGEND                                                     y            Interfaces          Logging            Interface Log                           Explanation Block      Incomplete          & Log Issues   on the form.

NIEUW     9378450       Year 3 7-Jan-20    HAL   HA Group Major        Oil-to-Sea           Systems to be      Azipod             Pollution Incident   Port Azipod, Pollution   Pollution Incident PPE:             Major Non-Conformity-01: The Port Azipod has been leaking oil externally since December 2018. The ship is losing
AMSTERDAM                                                 Nonconformit Interfaces           Monitored                                                  Incident                                    Malfunction      approximately 4-12 liters of oil per month.
                                                          y

NIEUW     9378450       Year 3 7-Jan-20    HAL   HA Group Nonconformit Machinery Space      Recording or       Oil Record Book Improper                Missing Signatures,      Procedure(s) -    Record Keeping Non-Conformity-01: In the Oil Record Book, the on-coming EO signed a page for the off-going EO and put the
AMSTERDAM                                                 y            Operations           Logging                                                    Chief Engineer           Not Followed      & Log Issues   follow statement at the bottom of the page with an asterisk by his name. “Signed for compliance but not
                                                                                                                                                                                                                 responsibility” and backdated his signature.
NIEUW     9378450       Year 3 7-Jan-20    HAL   HA Group Nonconformit Garbage              Recording or       Hazardous          Improper             Missing Entries,         Procedure(s) -    Record Keeping Non-Conformity-02: The Hazardous Material Waste Log had numerous entries that did not list where the waste
AMSTERDAM                                                 y            Management           Logging            Waste Log                               Landing Locations and    Not Followed      & Log Issues   was offloaded or incinerated and/or a date of offloading or incineration.
                                                                                                                                                       Dates
NIEUW     9378450       Year 3 7-Jan-20    HAL   HA Group Nonconformit Segregation and      Food Waste         Pulper/Food        Ineffective          Non-Food Wastes, Not     Procedure(s) -    WM: Food          Non-Conformity-03: Conducted an inspection of the magnetic trap for the food waste system and found
AMSTERDAM                                                 y            Disposal of Food     Segregation        Chute/Manual                            Properly Separated       Not Followed      Waste             approximately 34 metal items in it. The metal items included; bottle caps, hair pins and a battery.
                                                                       Waste                Process            Feeding Hatch                                                                      Segregation &
                                                                                                                                                                                                  Disposal
NIEUW     9378450       Year 3 7-Jan-20    HAL   HA Group Nonconformit Environmental        Recording or       Critical Valves,   Incomplete           Current Seal Numbers     Procedure(s) -    Record Keeping    Non-Conformity-04: The master list of vulnerability seals did not have the current seal numbers listed. The column
AMSTERDAM                                                 y            Control System       Logging            Fittings, Tank                          Missing                  Not Followed      & Log Issues      designated for the seal number only listed the number of seals that each vulnerability is required to be secure.
                                                                                                               Hatches List,
                                                                                                               Lock Log, and
                                                                                                               Seal Log
NIEUW     9378450       Year 3 7-Jan-20    HAL   HA Group Observation    Ballast Water      Recording or       Ballast Water      Incomplete           Plan Review              Procedure(s) -    Record Keeping Observation-01: The vessel Ballast Plan requires all officers involved in ballasting to review the plan and sign an
AMSTERDAM                                                                Management         Logging            Management                              Acknowledgement, Not     Incomplete        & Log Issues   acknowledgement. The ship currently does not require returning officers to repeat the review. An
                                                                                                               Plan                                    being Signed by                                           acknowledgement of plan amendments added during the officer’s absence is not in place.
                                                                                                                                                       Returning Crew
NIEUW     9378450       Year 3 7-Jan-20    HAL   HA Group Observation    Segregation and    Food Waste         Food Waste         Ineffective          Non-Food Wastes, Not     Procedure(s) -     WM: Food         Observation-02: The inspection of Food Waste Tank 2, a tea bag package was found.
AMSTERDAM                                                                Disposal of Food   Segregation        Tank                                    Properly Separated       Not Followed       Waste
                                                                         Waste              Process                                                                                                Segregation &
                                                                                                                                                                                                   Disposal
NIEUW     9378450       Year 3 7-Jan-20    HAL   HA Group Observation    Segregation and    Food Waste         Work Areas         Ineffective          Limited Space to         Procedure(s) -     WM: Food         Observation-03: There is limited and constricted food waste segregation areas in sculleries, restaurants and buffet.
AMSTERDAM                                                                Disposal of Food   Segregation                                                Conduct Segregation      Not Followed       Waste
                                                                         Waste              Process                                                                                                Segregation &
                                                                                                                                                                                                   Disposal
CARNIVAL    9041253     Year 3 9-Jan-20    CCL   CCL       Major        Staff Captain       Emissions and      Weather Deck       Pollution Incident   Oily Water, Washed       Pollution Incident Policies and   Major Non-Conformity-01: Oily water was noted in the stringer plates on exposed deck #10, port and starboard
FASCINATION                                                Nonconformit Environmental       Discharges         Cleaning                                Overboard, Wirefalls                        Procedures     which drains directly overboard. The water seems coming from the draining pipes of the drip trays located on deck
                                                           y            Responsibilities                                                               Grease                                                     11 that collect grease used for the lifeboat hosting/fall wires. The grease (Mobilgrease XHP 222) is not an eco-
                                                                                                                                                                                                                  friendly type.
CARNIVAL    9041253     Year 3 9-Jan-20    CCL   CCL       Major        Oily Bilge Water    Oily Bilge Water   Bilge Water        Ineffective          Bottom Plate, Holed      Pollution         PPE: Inoperable Major Non-Conformity-02: The bottom plate of the Bilge Water Tank (M8) is temporarily patched after a couple of
FASCINATION                                                Nonconformit Management          Equipment          Tank                                                             Equipment                         holes were discovered by the crew after routine tank cleaning. It is unknown if any oily bilge water leaked into the
                                                           y                                                                                                                    Inoperable                        #8 Starboard ballast water tank, but the ballast water was discharged ashore.

CARNIVAL    9041253     Year 3 9-Jan-20    CCL   CCL       Nonconformit Training Program    Training           Introduction to Ineffective             Supervisor(s) Unaware Procedure(s) -       Training IssuesNon-Conformity-01: Multiple crew members were found not trained on the use of Global HESS and didn’t review
FASCINATION                                                y                                Management         Global HESS                             of Global HESS        Not Followed                        new procedures or changes/updates to existing ones, including environmental, within the section “My Primary
                                                                                                                                                                                                                 Document Updates” on Global HESS.
CARNIVAL    9041253     Year 3 9-Jan-20    CCL   CCL       Nonconformit Garbage             Recording or       Hazardous          Improper             Missing Entries, Sharps Procedure(s) -     Record Keeping Non-Conformity-02: One (1) sharps container in the SPA was found without a tracking number nor accounted for.
FASCINATION                                                y            Management          Logging            Waste Log                               Container Locations     Not Followed       & Log Issues   The source of this sharp’s container is not clear, and it is not like the sharps containers managed and distributed
                                                                                                                                                                                                                 onboard by the medical center.
CARNIVAL    9041253     Year 3 9-Jan-20    CCL   CCL       Nonconformit Garbage             Collection by      General Waste Improper                  Solid Waste Materials    Procedure(s) -    WM: Garbage Non-Conformity-03: Some trash items (plastic cup, party supplies from New Year Eve, a piece of plastic, a plastic
FASCINATION                                                y            Management          Departments        Materials                               Found on Weather         Not Followed      Management     feather) were found in drip trays below the lifeboat hosting/fall wires located on deck 11, starboard side, aft.
                                                                                                                                                       Decks
CARNIVAL    9041253     Year 3 9-Jan-20    CCL   CCL       Observation   Garbage            Recording or       Garbage Record Improper                 Captain Review, Slow     Procedure(s) -    Record Keeping Observation-01: A review of the sections “Exceptional Discharge or Loss of Garbage” of the Garbage Record Book
FASCINATION                                                              Management         Logging            Book                                    Process                  Not Followed      & Log Issues   revealed a slow review process by the Captain, of his portion of the record book.

CARNIVAL    9041253     Year 3 9-Jan-20    CCL   CCL       Observation   Global HESS        Maritime Quality   QA/QC of HESS Ineffective               Ineffective              Procedure(s) -    Policies and      Observation-01: A HESS Feedback Station where crew members can report near misses, make suggestions, or
FASCINATION                                                              Management         Assurance (MQA)    Procedures                              Procedure(s), HESS       Incomplete        Procedures        nominate a fellow team member for reward, was found located in the crew hallway on Deck 4. When the Captain
                                                                                            and MP&A                                                   Feedback Station                                             was asked about the initiative, he said that so far the crew participation is low and not many comment cards have
                                                                                                                                                                                                                    been collected.
SUN PRINCESS 9000259    Year 3 10-Jan-20   PCL   HA Group Nonconformit Compliance           Recording or       Hotline            Ineffective          Ineffective, Ship Not    Procedure(s) -    Policies and      Non-Conformity-01: The test of the hotline system (Open Reporting System) indicated the vessel SUN PRINCESS
                                                          y            Reporting Hotline    Logging                                                    Identified in Database   Incomplete        Procedures        was not listed in the call center’s database and a report could not be made under the ship’s name. The test call was
                                                                                                                                                                                                                    made under the STAR PRINCESS with notes indicating the test was actually for the SUN PRINCESS.

SUN PRINCESS 9000259    Year 3 10-Jan-20   PCL   HA Group Nonconformit Environmental        Lock, Seal, and    Lock and Key       Ineffective          Vulnerability            Procedure(s) -    Policies and      Non-Conformity-02: ENV 1204-A2 master list of vulnerabilities indicates access to the Bilge Control Discharge Box
                                                          y            Control System       Weld               Management                              Assessment Improper      Incomplete        Procedures        (BCDB) as being controlled with “red locks”. This conflicts with ENV-1201, Oily Bilge Water Management, that the
                                                                                            Requirements       Controls                                for BCDB Access                                              Chief Engineer and Environmental Officer will hold the only keys for access to the BCDB’s.
                                                                                                                                                       Control




                                                                                                                                                        Page 8 of 10
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               IMO    Audit                                                                                     Component /      Finding Area      Finding Sub-Area      Issue Identified
 Vessel Name                Audit Close Line     Brand       Finding         System            Procedure                                                                                   Finding Group                                                     Finding Description
              Number Year                                                                                          Process          (Ship)               (Ship)            (Procedural)
SUN PRINCESS 9000259 Year 3 10-Jan-20  PCL      HA Group Nonconformit Environmental        Managing            Vulnerability Incomplete         Vulnerabilities Missed, Procedure(s) -    Policies and   Non-Conformity-03: Vulnerability Assessment (VA) dated April 19, 2019 to May 4, 2019, and a revision dated
                                                         y            Control System       Vulnerability       Assessment                       Updated Assessment      Not Followed      Procedures     November 29, 2019, has not been accurately completed as of December 31, 2019; per ENV 1204. Specifically: on the
                                                                                           Assessment                                           Incomplete                                               master list for seals, seal points 10.23.1, 10.23.2 and 10.23.3 are not included in the current VA. In addition, the VA
                                                                                                                                                                                                         identifies three (3) vulnerability points; 13.7.10, 13.39.1 and 16.9.1 as controlled by locks but they are not included
                                                                                                                                                                                                         on the locks master list.
SUN PRINCESS 9000259   Year 3 10-Jan-20   PCL   HA Group Observation    BioFouling         Management of       Hull              Improper       Invasive Species,       Procedure(s) -    Policies and   Observation-01: During the audit, the audit team was informed that while alongside in Fremantle, divers discovered
                                                                                           Biofouling                                           Attached to Hull        Not Followed      Procedures     invasive mussels attached to the hull.

DIAMOND     9228198    Year 3 19-Jan-20   PCL   HA Group Nonconformit Training Program     Training            Introduction to Ineffective      Supervisor(s) Unaware Procedure(s) -       Training Issues   Non-Conformity-01: The Bosun was not aware of his credentials that would allow for login to the Global HESS
PRINCESS                                                 y                                 Management          Global HESS                      of Global HESS        Not Followed                           platform to access environmental procedures applicable to his department.

DIAMOND     9228198    Year 3 19-Jan-20   PCL   HA Group Nonconformit Oil-to-Sea           Systems to be       Stabilizer        Ineffective    Two Stabilizers Leaking, Pollution         PPE:              Non-Conformity-02: The through hull shaft seals for the port and starboard stabilizers are leaking on the internal
PRINCESS                                                 y            Interfaces           Monitored                                            Internally               Equipment         Malfunction       side.
                                                                                                                                                                         Malfunction

DIAMOND     9228198    Year 3 19-Jan-20   PCL   HA Group Nonconformit Fleet Maintenance Maintain Required Spare Parts            Improper       Spare Parts, Ordered,    Procedure(s) -    Critical Spare    Non-Conformity-03: Two (2) ECP critical spare part orders were found to have excessive lead times (+90 days).
PRINCESS                                                 y            Management        Spare Parts                                             Excessive Lead Time      Not Followed      Parts
                                                                                        Onboard -
                                                                                        Shoreside
DIAMOND     9228198    Year 3 19-Jan-20   PCL   HA Group Observation Segregation and    Food Waste        Grease Trap            Ineffective    Non-Food Wastes, Not Procedure(s) -        WM: Food        Observation-01: Two (2) small pieces of plastic were found during an internal inspection of a galley grease trap.
PRINCESS                                                              Disposal of Food  Segregation                                             Properly Separated   Not Followed          Waste
                                                                      Waste             Process                                                                                            Segregation &
                                                                                                                                                                                           Disposal
DIAMOND     9228198    Year 3 19-Jan-20   PCL   HA Group Observation    Segregation and    Food Waste          Food Waste        Ineffective    Non-Food Wastes, Not Procedure(s) -        WM: Food        Observation-02: A small non-food item (piece of foil) was found during an internal inspection of a food waste tank.
PRINCESS                                                                Disposal of Food   Segregation         Tank                             Properly Separated   Not Followed          Waste
                                                                        Waste              Process                                                                                         Segregation &
                                                                                                                                                                                           Disposal
CARNIVAL    8711356    Year 3 31-Jan-20   CCL   CCL       Major        Sewage and Grey     Advanced Waste      Grease Trap       Ineffective    Out of Service for Four Pollution          PPE: Inoperable Major Non-Conformity-01: The port side grease tank/trap is currently out of service. The galley grey water drains
SENSATION                                                 Nonconformit Water Operations    Water Treatment                                      Weeks at Time of Audit Equipment                           feeding this tank/trap are being re-routed via a portable pump and hoses to the starboard side grease tank/trap.
                                                          y            and Management      System (AWWTS)                                                               Inoperable                         This portable pump arrangement has been in continuous operation since January 4, 2020. The volume of grey water
                                                                                                                                                                                                           fed into starboard grease tank/trap causes grey water overflows out of the tank and into the bilges. The bilges are
                                                                                                                                                                                                           pumped into the ship’s designated tanks and off-loaded ashore.
CARNIVAL    8711356    Year 3 31-Jan-20   CCL   CCL       Nonconformit Machinery Space     Recording or        Daily Sounding Improper          Missing Signatures       Procedure(s) -    Record Keeping Non-Conformity-01: The Daily Sounding Log (ENV-1201- A1) is missing the required signature of the person that
SENSATION                                                 y            Operations          Logging             Log                                                       Not Followed      & Log Issues    preformed the sounding on January 4 and 5, 2020.

CARNIVAL    8711356    Year 3 31-Jan-20   CCL   CCL       Nonconformit Garbage             Recording or        Garbage Record Improper          Digester Waste, Not      Procedure(s) -    Record Keeping Non-Conformity-02: Food waste discharge from the Orcas is piped to the Galley Grey Water Tanks via the galley
SENSATION                                                 y            Management          Logging             Book                             Logged                   Not Followed      & Log Issues   deck scuppers. The Galley Grey Water Tanks are not logged in the Garbage Record Book for food waste as required
                                                                                                                                                                                                          by ENV-1301-A2 and MARPOL Annex 5.
CARNIVAL    8711356    Year 3 31-Jan-20   CCL   CCL       Nonconformit Environmental       Assessing           Marking and       Improper       Vulnerability Placard,   Procedure(s) -    Policies and   Non-Conformity-03: The Vulnerability Assessment identification placard (8.19) is missing on the blackwater
SENSATION                                                 y            Control System      Overboard Systems Color Coding                       Missing                  Not Followed      Procedures     overboard valve.
                                                                                           for Vulnerabilities

CARNIVAL    8711356    Year 3 31-Jan-20   CCL   CCL       Nonconformit Environmental       Assessing           Vulnerability     Incomplete     Vulnerabilities Missed, Procedure(s) -     Policies and      Non-Conformity-04: The Environmental Control Systems (ECS) for securing overboard valves is not in accordance
SENSATION                                                 y            Control System      Overboard Systems Assessment                         Overboard Valves        Incomplete         Procedures        with Global HESS procedure ENV-1204. Additionally, the new Vulnerability Assessment does not list overboard
                                                                                           for Vulnerabilities                                                                                               valves.

CARNIVAL    8711356    Year 3 31-Jan-20   CCL   CCL       Nonconformit Environmental       Lock, Seal, and     Lock, Seal, or    Ineffective    Multiple Hoses,          Procedure(s) -    Policies and      Non-Conformity-05: Multiple types and lengths of portable hoses were found uncontrolled aboard the ship.
SENSATION                                                 y            Control System      Weld                Weld                             Uncontrolled             Not Followed      Procedures
                                                                                           Requirements



CARNIVAL    8711356    Year 3 31-Jan-20   CCL   CCL       Observation   Global HESS        Incident Analysis   Incident Report Ineffective      96 Incident Reports      Procedure(s) -    Policies and      Observation-01: There are approximately ninety-six (96) open Sea Event entries waiting for shore side review or
SENSATION                                                               Management                             Shoreside                        Awaiting Approval        Incomplete        Procedures        approval.
                                                                                                               Approvals

CARNIVAL    8711356    Year 3 31-Jan-20   CCL   CCL       Observation   Global HESS        Environmental       Carnival Core     Ineffective    Core Values Missing      Procedure(s) -    Policies and      Observation-02: The 2020 Carnival Calendar which is based on Carnival Core Values does not include anything about
SENSATION                                                               Management         Aspects and         Values                           Environmental Aspect     Incomplete        Procedures        the environment.
                                                                                           Objectives
CARNIVAL    8711357    Year 3 31-Jan-20   CCL   CCL       Observation   Ballast Water      Ballast Water       Ballast Water     Ineffective    Slow Pace Operation      Pollution         PPE:              Observation-03: The Alpha Laval Ballast Water Treatment System appears to operate at a slower pace while
SENSATION                                                               Management         Treatment Systems   Treatment                        for Port Discharge       Equipment         Malfunction       discharging in port.
                                                                                                               System                                                    Malfunction

CARNIVAL    8711356    Year 3 31-Jan-20   CCL   CCL       Observation   Oily Bilge Water   Operational Tests   Oily Water        Ineffective    Valve Leak Repaired      Pollution         PPE:              Observation-04: The first attempt of a one (1) hour operational test of the Marinfloc CD 2.0 Oily Water Separator
SENSATION                                                               Management                             Separator                                                 Equipment         Malfunction       (OWS) failed due to an air valve leak to the unit’s control panel. The leaking valve was removed, repaired, and
                                                                                                                                                                         Malfunction                         replaced. The OWS was restarted and a successful one (1) hour test was completed.

CARNIVAL    8711356    Year 3 31-Jan-20   CCL   CCL       Observation   Environmental      Recording or       Critical Valves,   Improper       Identification Numbers Procedure(s) -      Record Keeping Observation-05: The ship’s new Vulnerability Assessment identification numbers are not on the Sample Plan to
SENSATION                                                               Control System     Logging            Fittings, Tank                    Not Updated in Log,    Not Followed        & Log Issues   facilitate identification.
                                                                                                              Hatches List,                     New Vulnerability
                                                                                                              Lock Log, and                     Assessment
                                                                                                              Seal Log
CARNIVAL    9120877    Year 3 9-Feb-20    CCL   CCL       Nonconformit Refrigerant Gases   Leak Prevention    Fixed Leak         Ineffective    Inoperable and           Pollution         PPE: Inoperable Non-Conformity-01: The Air Conditioning Compressors fixed leak detection unit has been out of commission for
PARADISE                                                  y                                and Leak Detection Detection                         Obsolete                 Equipment                         approximately one (1) year.
                                                                                                              Equipment                                                  Inoperable




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                IMO    Audit                                                                                     Component /       Finding Area      Finding Sub-Area        Issue Identified
Vessel Name                  Audit Close Line      Brand        Finding         System           Procedure                                                                                     Finding Group                                               Finding Description
               Number Year                                                                                          Process            (Ship)              (Ship)              (Procedural)
CARNIVAL      9120877 Year 3 9-Feb-20   CCL      CCL       Nonconformit Global HESS          Maritime Quality   QA/QC of HESS Ineffective         Inaccurate                Procedure(s) -    Policies and   Non-Conformity-02: Garbage log for January 27, 2020 addressing discharge of electronic waste (code I) was not
PARADISE                                                   y            Management           Assurance (MQA)    Procedures                        Procedure(s),             Inaccurate        Procedures     entered due to “Waste Offload Tracking Form” ENV 1301 A9 CCL template missing formulas for calculation.
                                                                                             and MP&A                                             Calculations of Waste
                                                                                                                                                  Offload Form
CARNIVAL      9120877   Year 3 9-Feb-20    CCL   CCL       Nonconformit Certificate and      Class, Flag,       Bilge Piping    Improper          Missing, Bilge Water      Procedure(s) -    Policies and     Non-Conformity-03: A current, Class stamped “approved” drawing of the daily bilge water drainage system piping
PARADISE                                                   y            Permit               Regulatory         Plan Drawings                     Piping Diagram            Not Followed      Procedures       diagram was not available.
                                                                        Management           Requirements
CARNIVAL      9120877   Year 3 9-Feb-20    CCL   CCL       Observation Exhaust Gas           Operation and      Exhaust Stack   Improper          Stack has Excessive       Pollution         PPE:             Observation-01: The number six (6) Exhaust Gas Cleaning System (EGCS) has extensive wastage in way of its exhaust
PARADISE                                                                Cleaning Systems     Maintenance                                          Wastage                   Equipment         Malfunction      manifold.
                                                                        (AAQS)                                                                                              Malfunction

SEA PRINCESS 9150913    Year 3 22-Feb-20   PCL   HA Group Nonconformit Garbage               Recording or       Hazardous       Improper          Improper Entries,         Procedure(s) -    Record Keeping Non-Conformity-01: Administrative errors were noted in recordkeeping logs. Whiteout was used in the Hazardous
                                                          y            Management            Logging            Waste Log                         White Out Used            Not Followed      & Log Issues   Waste log, and pump logs had blank pages and/or white space that was not lined out in order to complete log
                                                                                                                                                                                                             entries.
SEA PRINCESS 9150913    Year 3 22-Feb-20   PCL   HA Group Nonconformit Machinery Space       Recording or       Oil Record Book Improper          Missing Entries, Bilge    Procedure(s) -    Record Keeping Non-Conformity-02: Missing entries were noted in the Oil Record Book (ORB) for transfer of bilge water to drums
                                                          y            Operations            Logging                                              Water Transfers           Not Followed      & Log Issues   on April 3 and 5, 2019 and May 3 and 16, 2019.

SEA PRINCESS 9150913    Year 3 22-Feb-20   PCL   HA Group Nonconformit Garbage               Processing andHazardous       Improper               General Waste in          Procedure(s) -    WM: Garbage      Non-Conformity-03: Plastic and plastic bottles were found in the oily rag waste bins.
                                                          y            Management            Storage       Waste                                  Hazardous Waste           Not Followed      Management
                                                                                                           Materials                              Receptacles
SEA PRINCESS 9150913    Year 3 22-Feb-20   PCL   HA Group Nonconformit Fleet Maintenance Maintain Required Spare Parts     Ineffective            Spare Parts, Not          Procedure(s) -    Critical Spare   Non-Conformity-04: There are no critical environmental spare parts identified for incinerators, a piece of pollution
                                                          y            Management        Spare Parts                                              Identified as Critical,   Not Followed      Parts            prevention equipment.
                                                                                         Onboard -                                                Incinerators, Not
                                                                                         Shoreside                                                Ordered
SEA PRINCESS 9150913    Year 3 22-Feb-20   PCL   HA Group Observation Global HESS        Incident Analysis Incident Report Ineffective            34 Incident Reports       Procedure(s) -    Policies and     Observation-01: There are 34 outstanding SeaEvent incidents that have been pending shoreside review since
                                                                       Management                          Shoreside                              Awaiting Approval         Incomplete        Procedures       October 2019.
                                                                                                           Approvals

SEA PRINCESS 9150913    Year 3 22-Feb-20   PCL   HA Group Observation     Segregation and    Food Waste         Grease Trap     Ineffective       Non-Food Wastes, Not Procedure(s) -         WM: Food         Observation-02: A plastic food sticker and food temperature sticker were found in the forward and aft grease traps.
                                                                          Disposal of Food   Segregation                                          Properly Separated   Not Followed           Waste
                                                                          Waste              Process                                                                                          Segregation &
                                                                                                                                                                                              Disposal
SEA PRINCESS 9150913    Year 3 22-Feb-20   PCL   HA Group Observation     Oil-to-Sea         Systems to be      Stabilizer      Ineffective       Two Stabilizers Leaking, Pollution          PPE:             Observation-03: Internal oil leaks were noted in way of the port and starboard stabilizers.
                                                                          Interfaces         Monitored                                            Internally               Equipment          Malfunction
                                                                                                                                                                           Malfunction
NIEUW         9767106   Year 3 4-Mar-20    HAL   HA Group Nonconformit Segregation and       Food Waste         Inspections     Ineffective       Inspections of Food      Procedure(s) -     WM: Food         Non-Conformity-01: The two (2) food waste tanks are not being inspected in accordance with Global HESS
STATENDAM                                                 y            Disposal of Food      Discharge System                                     Waste Tanks, Not         Not Followed       Waste            requirement ENV-1302.
                                                                       Waste                 Requirements                                         Conducted                                   Segregation &
                                                                                                                                                                                              Disposal
NIEUW         9767106   Year 3 4-Mar-20    HAL   HA Group Nonconformit Segregation and       Food Waste         Inspections     Ineffective       Inspections of Grease     Procedure(s) -    WM: Food         Non-Conformity-02: The ships grease traps were being inspected on an alternating basis, only one grease trap
STATENDAM                                                 y            Disposal of Food      Discharge System                                     Traps, Not Conducted      Not Followed      Waste            being inspected every week. Grease separation systems are not being inspected in accordance with Global HESS
                                                                       Waste                 Requirements                                                                                     Segregation &    requirement ENV-1302.
                                                                                                                                                                                              Disposal
NIEUW         9767106   Year 3 4-Mar-20    HAL   HA Group Nonconformit Segregation and       Food Waste         Grease Trap     Ineffective       Non-Food Wastes, Not Procedure(s) -         WM: Food         Non-Conformity-03: Internal inspections of the ships three (3) grease traps found non-food items such as pieces of
STATENDAM                                                 y            Disposal of Food      Segregation                                          Properly Separated   Not Followed           Waste            paper and plastic material.
                                                                       Waste                 Process                                                                                          Segregation &
                                                                                                                                                                                              Disposal


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                                 Appendix D – Shore-side Findings Matrix




   ABSG Consulting Inc.
   Third Party Auditor Year Three Annual Report
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                                                                                                      TPA Year 2 Findings

                                     Audit                                                                                                      Component /   Finding Area    Finding Sub-Area              Issue Identified
    Brand      Location     PID              Audit Close        Auditor        Finding      ECP Ref #         System             Procedure                                                                                      Finding Group                                                          Finding Description
                                      Year                                                                                                         Process       (Shore)            (Shore)                   (Procedural)
CARNIVAL      Doral, FL   3955570   Year 3   10-May-19     Robert Iddins    Nonconformit VIII.F.1 and   Global HESS        Non-Conformity      Shore        Ineffective    Preventative Actions,          Procedure(s) - Not   Corrective and    Non-Conformity-01: Most Preventive actions related to TPA ECP findings and as articulated in Global HESS, do not reflect
CORPORATION                                                Marco Carbone    y            VIII.F.3       Management         Corrective and      Management                  Multiple, Ineffective          Followed             Preventative      preventive actions that address the finding, nor do they effectively eliminate recurrence.
&PLC                                                       Charles Isetts                                                  Preventative        Reviews                                                                         Actions
                                                                                                                           Actions
CARNIVAL      Doral, FL   3955570   Year 3   10-May-19     Robert Iddins    Nonconformit Attach 2,      Environmental      Process for         Duty of Care Self Ineffective     Waste Vendors            Procedure(s) - Not   WM: Waste         Non-Conformity-02: The Company’s published Sustainability Report states “that shore side waste facilities are evaluated prior to
CORPORATION                                                Marco Carbone    y            EMS            Management of      Carrying Out Duty   Assessment                        Approved, Assessment     Followed             Vendors           offloading the waste from the ships”. No evidence was provided to document these evaluations are conducted.
&PLC                                                       Charles Isetts                               Waste Vendors      of Care                                               Records Not Available
                                                                                                                           Assessments
CARNIVAL      Doral, FL   3955570   Year 3   10-May-19     Robert Iddins    Observation   III.D.1       Corporate          Communications      Compliance        Ineffective     Hotline Reports,       Procedure(s) - Not     Policies and      Observation-01: Some hotline reports were found without the minimum necessary information (vessel name) that would allow
CORPORATION                                                Marco Carbone                                Compliance         and Reporting       Reporting                         Inadequate Information Followed               Procedures        for follow-up or to initiate an investigation.
&PLC                                                       Charles Isetts                               Manager                                Hotline
                                                                                                        Responsibilities
                                                                                                        and Authority
CARNIVAL      Doral, FL   3955570   Year 3   10-May-19     Robert Iddins    Observation   Attach 3,     Training           Environmental       Training          Improper        Not Completed Within     Procedure(s) - Not   Training Issues   Observation-02: A shore-side covered personnel, Analyst Sr, Asset Performance - Marine Technology (ABG), who was recently
CORPORATION                                                Marco Carbone                  Training      Management         Awareness           Conducted                         Seven Days               Followed                               transferred over to a covered position did not complete the training program within the 7 days of commencing their duties.
&PLC                                                       Charles Isetts                                                  Training            within Seven
                                                                                                                                               Days
CARNIVAL      Hamburg, 3995362      Year 3   14-Jun-19     Robert Iddins    Nonconformit III.A.6        Global HESS        Non-Conformity      Shore             Improper        Corrective or            Procedure(s) - Not   Corrective and    Non-Conformity-01: During the review of TPA Year two ECP audit Findings for Carnival Maritime Group, it was found that the
MARITIME      Germany                                      Marco Carbone    y                           Management         Corrective and      Management                        Preventative Actions,    Followed             Preventative      Nonconformity-002 was marked closed within Global HESS. However, the implementation of the corrective and preventive
GmbH                                                       Charles Isetts                                                  Preventative        Reviews                           Closed Before Actions                         Actions           action required the GLADIS Learning Management System be online and functional, which has not occurred. The finding remains
                                                                                                                           Actions                                               Implemented                                                     uncorrected.
CARNIVAL      Hamburg, 3995362      Year 3   14-Jun-19     Robert Iddins    Nonconformit Attach 3,      Training           Environmental       Training          Improper        Not Completed Within     Procedure(s) - Not   Training Issues   Non-Conformity-02: Monthly training records were sampled for Shipboard Covered Personnel onboard two (2) ships from
MARITIME      Germany                                      Marco Carbone    y            Training       Management         Awareness           Conducted                         Seven Days               Followed                               October 2018 and March to April 2019 and for CMG Office Shore-side Covered Personnel from March to June 2019. These
GmbH                                                       Charles Isetts                                                  Training            within Seven                                                                                      records indicated ECP training had not been completed within seven (7) days, as required by the ECP, for the following:
                                                                                                                                               Days                                                                                              •COSTA ATLANTICA – 1 personnel in March 2019 did not complete the training within 7 days.
                                                                                                                                                                                                                                                 •AIDAVITA – 1 personnel in October 2018 did not complete the training within 7 days.
                                                                                                                                                                                                                                                 •CMG Shoreside Oﬃce – 29 personnel from March to June 2019 did not complete the training within 7 days.

CARNIVAL UK   Southampt 3972537     Year 3   22-Aug-19     Robert Iddins    Nonconformit Attach 2,      Global HESS        Non-Conformity      Shore             Improper        Corrective or            Procedure(s) - Not   Corrective and    Non-Conformity-01: Finding 02 in Global HESS for the TPA audit of QUEEN ELIZABETH from January 07, 2019, was closed.
              on, UK                                       Marco Carbone    y            EMS            Management         Corrective and      Management                        Preventative Actions,    Followed             Preventative      However, the root cause analysis and corrective action provided in Global HESS did not apply to the issued finding. No
                                                           Charles Isetts                                                  Preventative        Reviews                           Not Appliable to Finding                      Actions           preventive action was provided or addressed within Global HESS. This finding should be re-opened.
                                                                                                                           Actions
CARNIVAL UK   Southampt 3972537     Year 3   22-Aug-19     Robert Iddins    Nonconformit V.B.2          Global HESS        Non-Conformity      Shore             Improper        Corrective or            Procedure(s) - Not   Corrective and    Non-Conformity-02: There is no evidence of proper implementation of the Preventive Action Plan for Non-Conformity-05 issued
              on, UK                                       Marco Carbone    y                           Management         Corrective and      Management                        Preventative Actions,    Followed             Preventative      at the completion of the year 2 TPA ECP audit. Specifically, The Critical Spare part list was not uploaded to Global HESS, no
                                                           Charles Isetts                                                  Preventative        Reviews                           Actions Completed Not                         Actions           person had been assigned, and no timeline had been set for the review.
                                                                                                                           Actions                                               Available
CARNIVAL UK   Southampt 3972537     Year 3   22-Aug-19     Robert Iddins    Nonconformit Attach 3,      Training           Environmental       Training          Improper        Not Completed Within     Procedure(s) - Not   Training Issues   Non-Conformity-03: Training records were sampled for Shipboard Covered Personnel onboard two (2) ships from June to July
              on, UK                                       Marco Carbone    y            Training       Management         Awareness           Conducted                         Seven Days               Followed                               2019 and for CUK Office Shore-side Covered Personnel from May to August 2019. Records indicated ECP training had not been
                                                           Charles Isetts                                                  Training            within Seven                                                                                      completed within seven (7) days, as required by the ECP, for the following:
                                                                                                                                               Days                                                                                              •“QUEEN VICTORIA” – Five (5) personnel in July 2019 did not complete the training within seven (7) days.
                                                                                                                                                                                                                                                 •“ARCADIA” – One (1) personnel in June 2019 did not complete the training within seven (7) days.
                                                                                                                                                                                                                                                 •CUK Shoreside Oﬃce – One (1) personnel from January to August 2019 did not complete the new-hire training within seven (7)
                                                                                                                                                                                                                                                 days.
CARNIVAL UK   Southampt 3972537     Year 3   22-Aug-19     Robert Iddins    Nonconformit Attach 3,      Training           Environmental       Training          Improper        Not Completed Within     Procedure(s) - Not   Training Issues   Non-Conformity-04: Since the August 15, 2019, Self-Report for 2018 Re-Occurring Training, 23 of 56 personnel remain to
              on, UK                                       Marco Carbone    y            Training       Management         Awareness           Conducted                         Seven Days               Followed                               complete Computer Based Training Module (CBT).
                                                           Charles Isetts                                                  Training -          within Seven
                                                                                                                           Reoccurring         Days
                                                                                                                           Shoreside
CARNIVAL UK   Southampt 3972537     Year 3   22-Aug-19     Robert Iddins    Positive      N/A           N/A                N/A                 N/A               N/A             N/A                      N/A                  N/A               Observation Positive-01: CUK has visibly posted, trained and embodied Core Values throughout their organization. These Core
              on, UK                                       Marco Carbone    Observation                                                                                                                                                          Values are discussed in videos by the brand leadership. This appears to be CUK initiated and not at the ABG level.
                                                           Charles Isetts
CARNIVAL UK   Southampt 3972537     Year 3   22-Aug-19     Robert Iddins    Positive      N/A           N/A                N/A                 N/A               N/A             N/A                      N/A                  N/A               Observation Positive-02: CUK’s HESS focused “Safe and Well” program and the introduction of the Golden Rules that are applied
              on, UK                                       Marco Carbone    Observation                                                                                                                                                          may help drive the HESS culture across the brand. This program is designed to instill HESS culture across all areas of Health,
                                                           Charles Isetts                                                                                                                                                                        Environment, Safety and Security. This program may have positive impact on assisting in effective HESS culture change if
                                                                                                                                                                                                                                                 incorporated across the corporation. This program appears to be CUK initiated and not at the ABG level.

CARNIVAL UK   Southampt 3972537     Year 3   22-Aug-19     Robert Iddins    Positive      N/A           N/A                N/A                 N/A               N/A             N/A                      N/A                  N/A               Observation Positive-03: CUK has implemented a new training procedure for new hires whereby, they only have two (2) days
              on, UK                                       Marco Carbone    Observation                                                                                                                                                          per month when new hires begin employment. On each training day, in coordination with HR, all required new hire training is
                                                           Charles Isetts                                                                                                                                                                        conducted to include ECP required training. This training is to be logged, tracked and completed prior to any new hire beginning
                                                                                                                                                                                                                                                 their assigned work.
CARNIVAL      Doral, FL   4003946   Year 3   4-Oct-19      Robert Iddins    Nonconformit III.D.1        Corporate          Communications      Compliance        Ineffective     Hotline Report Test      Procedure(s) -       Policies and      Non-Conformity-01: The OLCM contacted the hotline (International Number 305-406-5863 - NAVEX GLOBAL) and was unable to
CRUISE LINE                                                Marco Carbone    y                           Compliance         and Reporting       Reporting                         Failure, Shoreside       Incomplete           Procedures        file a test report by identifying as a shore-side facility.
                                                           Charles Isetts                               Manager                                Hotline                           Brand/Line Not
                                                                                                        Responsibilities                                                         Identified
                                                                                                        and Authority
CARNIVAL      Doral, FL   4003946   Year 3   4-Oct-19      Robert Iddins    Nonconformit Attach 2,      Environmental      Process for         Duty of Care Self Ineffective     Waste Vendors            Procedure(s) - Not   WM: Waste         Non-Conformity-02: There is no CCL procedure for due diligence checks of waste vendor operations and associated reception
CRUISE LINE                                                Marco Carbone    y            EMS            Management of      Carrying Out Duty   Assessment                        Approved, Tracked by     Followed             Vendors           facilities. Currently vendor compliance primarily consisted of monitoring permit expiration dates.
                                                           Charles Isetts                               Waste Vendors      of Care                                               Certs Only
                                                                                                                           Assessments
CARNIVAL      Doral, FL   4003946   Year 3   4-Oct-19      Robert Iddins    Nonconformit Attach 3       Training           Environmental    Training             Improper        Not Completed Within     Procedure(s) - Not   Training Issues   Non-Conformity-03: Training records were sampled for Shipboard Covered Personnel onboard three (3) ships from April to May
CRUISE LINE                                                Marco Carbone    y            Training       Management         Awareness        Conducted                            Seven Days               Followed                               2019. Records indicated ECP training had not been completed within seven (7) days, as required by the ECP, onboard the
                                                           Charles Isetts                                                  Training         within Seven                                                                                         CARNIVAL FANTASY for crewmembers that embarked on April 29, 2019. Training completion occurred on May 7, 2019 or (9) days
                                                                                                                                            Days                                                                                                 after embarkation.
CARNIVAL      Doral, FL   4003946   Year 3   4-Oct-19      Robert Iddins    Observation   Attach 2 EMS Global HESS         Maritime Quality Practical and        Ineffective     Redundant Reporting      Procedure(s) -       Policies and      Observation-01: The use of the monthly HESS report found in “COM-1302-F1 - HESS MANAGEMENT REPORT”, submitted by the
CRUISE LINE                                                Marco Carbone                               Management          Assurance (MQA) Clear HESS                            Requirements,            Incomplete           Procedures        ships to the shore office, may be redundant information that may be found on other reports sent to shore, such as immediate
                                                           Charles Isetts                                                  and MP&A         Procedures                           Unnecessary                                                     reports sent to the FOC, SeaEvent, weekly flash reports, and Food Waste Dashboard.

CARNIVAL      Doral, FL   4003946   Year 3   4-Oct-19      Robert Iddins    Observation   V.B.3         Shore              Maintain            Spare Parts       Ineffective     ECP Reorder Manual       Procedure(s) -       Critical Spare    Observation-02: Some ECP spare parts within the PMS system were found to automate requisitions with no manual intervention
CRUISE LINE                                                Marco Carbone                                Management         Minimum Stock                                         Controls, Ineffective    Inaccurate           Parts             when the number of units reach the reorder point level. For some ECP spares, additional manual requisitions need to be created
                                                           Charles Isetts                               Environmental      Levels of Spare                                                                                                       and processed to maintain inventory onboard the ship. This can create confusion in ordering spares.
                                                                                                        Responsibilities   Parts



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                                                                                                TPA Year 2 Findings

                                  Audit                                                                                                    Component /     Finding Area    Finding Sub-Area           Issue Identified
   Brand    Location      PID             Audit Close        Auditor        Finding      ECP Ref #         System          Procedure                                                                                      Finding Group                                                           Finding Description
                                   Year                                                                                                       Process         (Shore)           (Shore)                 (Procedural)
HOLLAND    Seattle,    3990307   Year 3   21-Feb-20     Robert Iddins    Nonconformit III.B.1        Human Resources Manning             Internal Audits Ineffective    RAAS Auditors,              Procedure(s) - Not   Policies and      Non-Conformity-01: The RAAS team located at HA Group are challenged to maintain scheduled audits during surge periods.
AMERICA    WA                                           Marco Carbone    y                                                                                              Undermanned During          Followed             Procedures
GROUP                                                   Charles Isetts                                                                                                  Surge Periods
HOLLAND    Seattle,    3990307   Year 3   21-Feb-20     Robert Iddins    Nonconformit Attach 2,      Environmental   Process for       Duty of Care Self Ineffective    Waste Vendors               Procedure(s) - Not   WM: Waste         Non-Conformity-02: Global HESS procedure “ENV-1004 Environmental Management of Waste Vendors” is being updated.
AMERICA    WA                                           Marco Carbone    y            EMS            Management of   Carrying Out Duty Assessment                       Approved, Assessment        Followed             Vendors           Actions to ensure waste vendors are managed in alignment with the current procedure, dated December 18, 2014, have not
GROUP                                                   Charles Isetts                               Waste Vendors   of Care                                            Records Not Available                                              occurred since November 2018.
                                                                                                                     Assessments
HOLLAND    Seattle,    3990307   Year 3   21-Feb-20     Robert Iddins    Nonconformit Attach 2 -     Training        Environmental     Training          Improper       Not Completed Within        Procedure(s) - Not   Training Issues   Non-Conformity-03: Environmental Awareness training records for Holland America Group shoreside and shipboard Covered
AMERICA    WA                                           Marco Carbone    y            Training       Management      Awareness         Conducted                        Seven Days                  Followed                               Personnel indicated awareness training had been completed beyond the required seven (7) days for the following personnel:
GROUP                                                   Charles Isetts                                               Training          within Seven                                                                                        • Shoreside Covered Personnel: 13 Personnel, from January to December 2019.
                                                                                                                                       Days                                                                                                • Shipboard Covered Personnel: 43 personnel across 16 ships, from November 2019 to January 2020.

HOLLAND    Seattle,    3990307   Year 3   21-Feb-20     Robert Iddins    Nonconformit Attach 2 -     Global HESS     Non-Conformity      Shore             Improper        Corrective or         Procedure(s) - Not      Training Issues   Non-Conformity-04: Environmental Awareness training for Holland America Group shipboard Covered Personnel completing
AMERICA    WA                                           Marco Carbone    y            Prevent        Management      Corrective and      Management                        Preventative Actions, Followed                                  training beyond seven (7) days of commencing duties has been self-reported and tracked since inception of the ECP, as Non-
GROUP                                                   Charles Isetts                Actions                        Preventative        Reviews                           Not Developed for                                               Compliant events. These reoccurring non-compliant events have not been addressed to determine root cause(s or actions that
                                                                                                                     Actions                                               Repeat Non-Conformity                                           could prevent recurrence).

HOLLAND    Seattle,    3990307   Year 3   21-Feb-20     Robert Iddins    Observation   Attachment    Global HESS     Maritime Quality Practical and        Ineffective     Excessive Reporting      Procedure(s) -       Policies and      Observation-01: An overabundance of shipboard paperwork and reporting requirements within limited timeframes is significant
AMERICA    WA                                           Marco Carbone                  4: EMS        Management      Assurance (MQA) Clear HESS                            Requirements,            Incomplete           Procedures        and a primary challenge for shipboard personnel with HESS responsibilities.
GROUP                                                   Charles Isetts                                               and MP&A         Procedures                           Shipboard Personnel

HOLLAND    Seattle,    3990307   Year 3   21-Feb-20     Robert Iddins    Observation   XII           Global HESS     Management          Shore             Improper        Safety Focus Decline     Procedure(s) - Not   Policies and      Observation-02: Several interviewees stated that HESS Management shifts to focus on ECP environmental compliance has been
AMERICA    WA                                           Marco Carbone                                Management      Reviews - Overall   Management                        Since ECP                Followed             Procedures        consequential to safety-related programs. These programs have not received the same levels of attention that were typical prior
GROUP                                                   Charles Isetts                                               HESS                Reviews                           Implementation                                                  to ECP implementation. It was suggested oversight is needed to balance HESS priorities.
HOLLAND    Seattle,    3990307   Year 3   21-Feb-20     Robert Iddins    Observation   Attach 2: CAP Global HESS     Non-Conformity      Shore             Improper        Corrective or            Procedure(s) -       Corrective and    Observation-03: Actions plans must be developed within a 3-week timeframe by SMEs tasked to complete. It was suggested this
AMERICA    WA                                           Marco Carbone                  PAP           Management      Corrective and      Management                        Preventative Actions,    Incomplete           Preventative      timeframe does not accurately assess time needed to complete action plans while considering time needed to manage day-to-
GROUP                                                   Charles Isetts                                               Preventative        Reviews                           Ineffective Time To                           Actions           day responsibilities. An extended timeframe should allow for a more in-depth, concise, and/or actionable root cause analysis
                                                                                                                     Actions                                               Complete Plan                                                   and action planning.
HOLLAND    Seattle,    3990307   Year 3   21-Feb-20     Robert Iddins    Observation   Attach 2:     Training        Root Cause          Awareness Level Improper          Level of Training, 30-   Procedure(s) -       Training Issues   Observation-04: TRG-1101 Root Cause Analysis Training was implemented December 1, 2019. The module is computer-based,
AMERICA    WA                                           Marco Carbone                  Training,     Management      Analysis Training                                     Minutes, May Not Be      Incomplete                             available on GLADIS, with a duration of 30-minutes. Target audiences are both shipboard and shoreside personnel with Global
GROUP                                                   Charles Isetts                 Awareness,                                                                          Effective                                                       HESS investigative, incident, or audit follow-up responsibilities. Training must be completed by new personnel within 45 days of
                                                                                       Comp                                                                                                                                                joining a ship or employment, or 60 days for existing personnel. It was suggested that all Audit Review Committee (ARC)
                                                                                                                                                                                                                                           members and RAAS personnel would complete training within this timeframe.
HOLLAND    Seattle,    3990307   Year 3   21-Feb-20     Robert Iddins    N/A           N/A           N/A             N/A                 N/A               N/A             N/A                      N/A                  N/A               Observation Positive-05: Two (2) RAAS Team members had completed Environmental Officer CSMART training courses.
AMERICA    WA                                           Marco Carbone                                                                                                                                                                      Although not required, these individuals completed training to increase their knowledge of EO responsibilities, apply the training
GROUP                                                   Charles Isetts                                                                                                                                                                     when conducting internal audits, and to better serve as an EO SME within RAAS.
HOLLAND    Seattle,    3990307   Year 3   21-Feb-20     Robert Iddins    N/A           N/A           N/A             N/A                 N/A               N/A             N/A                      N/A                  N/A               Observation Positive-06: RAAS identified EO knowledgebases to be the most substantial improvement to environmental
AMERICA    WA                                           Marco Carbone                                                                                                                                                                      compliance since the ECP was implemented. Overall, their actions have contributed to mitigating environmental compliance
GROUP                                                   Charles Isetts                                                                                                                                                                     issues which has resulted in fewer, significant ECP findings




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